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            Exhibit 1
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                                                                              Plaintiffs' Counsel Table
                                                                In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                                 Case No. 1:17-md-2800-TWT
                                                                                         MDL No. 2800
     Case Name                 Case Number        Original             Local Counsel            Plaintiffs' Counsel & Contact Information      Email Addresses             Consumer,        Transfer
                                & Original         Court                                                                                                                   Financial or      Status
                                  Court                                                                                                                                   Small Business
    Abraham v. Equifax          1:17-cv-03453   Northern District     Evangelista Worley, LLC                 James M. Evangelista               jme@ewlawllc.com            Consumer           Yes
                                                  of Georgia                                                    David J. Worley                  david@ewlawll.com
                                                                                                            Kristi Stahnke McGregor              kristi@ewlawll.com
                                                                                                         EVANGELISTA WORLEY, LLC
                                                                                                         8100 A Roswell Road, Suite 100         wbf@federmanlaw.com
                                                                                                               Atlanta, GA 30350                clm@federmanlaw.com
                                                                                                                  404-205-8400                  jdw@federmanlaw.com

                                                                                                                William Federman
                                                                                                               Carin L. Marcussen
                                                                                                                Joshua D. Wells
                                                                                                           FEDERMAN & SHERWOOD
                                                                                                         10205 North Pennsylvania Avenue
                                                                                                         Oklahoma City, Oklahoma 73120
                                                                                                                  405-235-1560

Abramowitz et al. v. Equifax    7:17-cv-07642   Southern District                                               Paul C. Whalen                  paul@paulwhalen.com          Consumer      Yes by CTO - 1
           Inc.                                   of New York                                        LAW OFFICES OF PAUL C. WHALEN, P.C.
                                                                                                              768 Plandome Road
                                                                                                             Manhasset, NY 11030
                                                                                                                 516-627-5610

   Ahmed v. Equifax Inc.        2:17-cv-06576   Eastern District of                                          Edward B. Geller                        epbh@aol.com            Consumer      Yes by CTO - 1
                                                    New York                                            EDWARD B. GELLER, ESQ., P.C.
                                                                                                             15 Landing Way
                                                                                                             Bronx, NY 10464
                                                                                                              914-473-6783

Alabama Teachers Credit         1:17-cv-04942   Northern District     POPE MCGLAMRY, P.C.                     Michael Lee McGlamry             mmcglamry@pmkm.com             Financial
Union v. Equifax, Inc. et al                      of Georgia                                                     N. Kirkland Pope               kirkpope@pmkm.com
                                                                                                               Pope McGlamry, P.C.
                                                                                                                 P.O. Box 191625
                                                                                                        3391 Peachtree Road, N.E., Suite 300
                                                                                                              Atlanta, GA 31119-1625
                                                                                                                   404-523-7706                chrish@pittmandutton.com
                                                                                                                                               jonm@pittmandutton.com
                                                                                                                  Chris T. Hellums
                                                                                                                   Jonathan Mann
                                                                                                          Pittman, Dutton & Hellums, P.C.
                                                                                                               2001 Park Place North
                                                                                                           Park Place Tower, Suite 1100
                                                                                                               Birmingham, AL 35203
                                                                                                                    205-322-8880




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                                                                          Plaintiffs' Counsel Table
                                                                In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                                 Case No. 1:17-md-2800-TWT
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      Case Name                 Case Number        Original           Local Counsel      Plaintiffs' Counsel & Contact Information         Email Addresses                Consumer,        Transfer
                                 & Original         Court                                                                                                                 Financial or      Status
                                   Court                                                                                                                                 Small Business
 Alcoa Community Federal         1:17-cv-04480   Northern District                                        Karen Sharp Halbert           karenhalbert@robertslawfirm.us       Financial
Credit Union v. Equifax, Inc.                      of Georgia                                          Roberts Law Firm, P.A.
                                                                                                           P.O. Box 241790
                                                                                                           20 Rahling Circle
                                                                                                     Little Rock, AR 72223-1790              rkhayatlawfirm.com
                                                                                                             501-821-5575

                                                                                                         Robert C. Khayat , Jr.
                                                                                                         The Khayat Law Firm              cbarrett@nealharwell.com
                                                                                                        75 Fourteenth Street NE
                                                                                                              Suite 2750
                                                                                                          Atlanta, GA 30309
                                                                                                            404-978-2750

                                                                                                          Charles Barrett
                                                                                                      NEAL & HARWELL, PLC
                                                                                                   1201 Demonbreun St., Suite 1000
                                                                                                        Nashville, TN 37203
                                                                                                           615-238-3647




Alexander et al. v. Equifax,     4:17-cv-00788   Western District                                             Jason Barnes                  jaybarnes5@zoho.com             Consumer      Yes by CTO - 1
           Inc.                                   of Missouri                                         BARNES & ASSOCIATES                   rod.chapel@gmail.com
                                                                                                     219 E. Dunklin Street, Suite A
                                                                                                       Jefferson City, MO 65101
                                                                                                             573-634-8884

                                                                                                        Nimrod T. Chapel, Jr.
                                                                                                   THE CHAPEL LAW GROUP LLC
                                                                                                      219 E. Duklin St., Suite A
                                                                                                      Jefferson City, MO 65101
                                                                                                            573-634-8884



 Alexander v. Equifax, Inc.      5:17-cv-05230   Northern District                                         Nicholas A. Carlin                   nac@phillaw.com             Consumer
                                                 of California (San                           PHILLIPS ERLEWINE GIVEN & CARLIN LLP
                                                   Jose Division)                                       39 Mesa Street, Suite 201
                                                                                                              The Presidio
                                                                                                        San Francisco, CA 94129
                                                                                                             415-398-0900




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                                                                        Plaintiffs' Counsel Table
                                                            In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                             Case No. 1:17-md-2800-TWT
                                                                                     MDL No. 2800
     Case Name                 Case Number       Original         Local Counsel           Plaintiffs' Counsel & Contact Information                                         Email Addresses              Consumer,       Transfer
                                & Original        Court                                                                                                                                                  Financial or     Status
                                  Court                                                                                                                                                                 Small Business
Allen et al v. Equifax, Inc.    1:17-cv-04544   Northern District BARNES LAW GROUP, LLC                          Roy E. Barnes                                              roy@barneslawgroup.com         Consumer
                                                  of Georgia                                                     John R. Bevis                                             bevis@barmeslawgroup.com
                                                                                                              J. Cameron Tribble                                          ctribble@barneslawgroup.com
                                                                                                            Barnes Law Group, LLC
                                                                                                               31 Atlanta Street                                             kcanfield@dsckd.com
                                                                                                              Marietta, GA 30060
                                                                                                                 770-227-6375                                               siegel@stuevesiegel.com
                                                                                                                                                                            vahle@stuevesiegel.com
                                                                                                           Kenneth S. Canfield                                              moore@stuevesiegel.com
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                                                                                                  1355 Peachtree Street, N.E., Suite 1900                                  jpizzirusso@hausfeld.com
                                                                                                           Atlanta, GA 30309
                                                                                                              404-881-8900

                                                                                                            Norman E. Siegel
                                                                                                             Barrett J. Vahle
                                                                                                             J. Austin Moore
                                                                                                     Stueve Siegel Hanson, LLP -MO
                                                                                                       460 Nichols Road, Suite 200
                                                                                                         Kansas City, MO 64112
                                                                                                              816-714-7100

                                                                                                           James J. Pizzirusso
                                                                                                          Hausfeld, LLP - DC
                                                                                                      1700 K. Street, NW, Suite 650
                                                                                                         Washington, DC 20006
                                                                                                             202-540-7200




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                                                                    Plaintiffs' Counsel Table
                                                            In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                             Case No. 1:17-md-2800-TWT
                                                                                     MDL No. 2800
    Case Name               Case Number      Original           Local Counsel   Plaintiffs' Counsel & Contact Information                                            Email Addresses                 Consumer,       Transfer
                             & Original       Court                                                                                                                                                  Financial or     Status
                               Court                                                                                                                                                                Small Business
                                                                                                  Archie I. Grubb, II                                             archie.grubb@beasleyallenn.com
                                                                                              W. Daniel "Dee" Miles, III                                             dee.miles@beasleyallen.com
                                                                                                  Andrew E. Brashier                                             andrew.brashier@beasleyallen.com
                                                                                                     Leslie Pescia                                                 leslie.pescia@beasleyallen.com
                                                                                      Beasley Allen Crow Mathvin Portis & Miles
                                                                                                    P.O. Box 4160                                                  afriedman@cohenmilstein.com
                                                                                                 218 Commerce Street                                              dmcnamara@cohenmilstein.com
                                                                                               Montgomery, AL 36103                                               shandmaker@cohenmilstein.com
                                                                                                    334-269-2343                                                  eberelovich@cohenmilstein.com

                                                                                               Andrew N. Friedman                                                      alevitt@dlcfirm.com
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                                                                                                  Sally Hanmaker                                                       akeller@dlcfirm.com
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                                                                                        Cohen, Milstein, Sellers & Toll PLLC
                                                                                       1100 New York Avenue, N.W., Suite 500
                                                                                              Washington, DC 20005
                                                                                                   202-408-4600

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                                                                                                    Amy E. Keller
                                                                                                   Daniel R. Ferri
                                                                                             DiCello Levitt & Casey LLC
                                                                                         Ten North Dearborn Street, 11th Floor
                                                                                                  Chicago, IL 60602
                                                                                                    312-214-7900


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                                                                                               Marisa K. Glassman                                                  mglassman@forthepeople.com
                                                                                     Morgan & Morgan Complex Litigation Group
                                                                                          201 N. Franklin Street, 7th Floor                                        pcipollone@steinmitchell.com
                                                                                                 Tampa, FL 33602                                                    rgilmore@steinmitchell.com
                                                                                                   813-223-5505

                                                                                                    Pat A. Cipollone
                                                                                                   Robert B. Gilmore
                                                                                     Stein Mitchell Cipollone Beato & Missner LLP
                                                                                             1100 Connecticut Ave., N.W.
                                                                                                Washington, DC 20036
                                                                                                     202-737-7777

 Amadick et al. v Equifax    0:17-cv-04196    District of                                          Thomas J. Lyons                                                   tlyons@lyonslawfirm.com           Consumer
Information Services, LLC                     Minnesota                                          Thomas J. Lyons, Jr.                                            tommy@consumerjusticecenter.com
                                             (Minnesota                                        LYONS LAW FIRM, P.A.
                                              Division)                                          367 Commerce Court
                                                                                              Vadnais Heights, MN 55127
                                                                                                    651-294-3960




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                                                                           Plaintiffs' Counsel Table
                                                                 In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                 Case Number        Original            Local Counsel    Plaintiffs' Counsel & Contact Information                                          Email Addresses                 Consumer,        Transfer
                                 & Original         Court                                                                                                                                                  Financial or      Status
                                   Court                                                                                                                                                                  Small Business
   Amuial v. Equifax, Inc.       1:17-cv-23405   Southern District                                    Scott Adam Edelsberg                                                 edelsberg@kolawyers.com           Consumer      Yes by CTO - 1
                                                    of Florida                                          Robert Cecil Gilbert                                                  robert@gilbertpa.com
                                                                                                       Avi Robert Kaufman                                                  akaufman@kolawyers.com
                                                                                                       Jeffrey Miles Ostrow                                                 ostrow@kolawyers.com
                                                                                                     Jonathan Marc Streisfeld                                              streisfeld@kolawyers.com
                                                                                       KOPELOWITZ OSTROW FERGUSON WEISELBERG GILBERT
                                                                                               One West Las Olas Boulevard, Suite 500
                                                                                                     Ft. Lauderdale, FL 33301
                                                                                                           954-525-4100



Anderson et al v. Equifax Inc    2:17-cv-02825   District of South                                      Kevin Hunter Sharp                                                 ksharp@sanfordheisler.com         Consumer      Yes by CTO - 1
            et al                                    Carolina                                    SANFORD HEISLER SHARP LLP                                              reecewilliams@callisontighe.com
                                                                                                  611 Commerce Street, Suite 3100
                                                                                                       Nashville, TN 37203
                                                                                                          615-434-7001

                                                                                                     David Reece Williams, III
                                                                                              CALLISON TIGHE AND ROBINSON, LLC
                                                                                                          PO Box 1390
                                                                                                    Columbia, SC 29202-1390
                                                                                                          803-256-2371


 Anderson v. Equifax, Inc.       2:17-cv-00156   Eastern District of                                       Alex C. Davis                                                     alex@jonesward.com              Consumer      Yes by CTO - 1
                                                     Kentucky                                            Jasper D. Ward IV                                                  jasper@jonesward.com
                                                    (Covington                                               The Pointe
                                                     Division)                                    1205 E. Washington St., Suite 111
                                                                                                     Louisville, Kentucky 40206
                                                                                                           502-882-6000
                                                                                                                                                                          steppler@abbottlawpa.com
                                                                                                             Steven Teppler
                                                                                                         Abbott Law Group, P.A.
                                                                                                        2929 Plummer Cove Road
                                                                                                         Jacksonville, FL 32223
                                                                                                             904-292-1111




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                                                                          Plaintiffs' Counsel Table
                                                                  In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                                   Case No. 1:17-md-2800-TWT
                                                                                           MDL No. 2800
      Case Name                 Case Number        Original           Local Counsel   Plaintiffs' Counsel & Contact Information                                         Email Addresses               Consumer,        Transfer
                                 & Original         Court                                                                                                                                             Financial or      Status
                                   Court                                                                                                                                                             Small Business
ANECA Federal Credit Union       1:17-cv-05473   Northern District                                  Michael L. McGlamry                                                 mmcglamry@pmkm.com               Financial
 v. Equifax, Inc. and Equifax                      of Georgia                                         N. Kirkland Pope                                                   kirkpope@pmkm.com
  Information Services, Inc.                                                                      POPE McGLAMRY, P.C.
                                                                                              3391 Peachtree Road, NE, Suite 300
                                                                                                      Atlanta, GA 30326
                                                                                                        404-523-7706                                                   chrish@pittmandutton.com
                                                                                                                                                                       jonm@pittmandutton.com
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                                                                                                        Jonathan S. Mann
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                                                                                                     Birmingham, AL 35203
                                                                                                          205-322-8880

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                                                                                                  4200 Northside Parkway
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                                                                                                    Atlanta, GA 30327
                                                                                                       404-809-2591

                                                                                                      Robert N. Kaplan
                                                                                                       KAPLAN FOX
                                                                                                 850 Third Avenue, 14th Floor
                                                                                                    New York, NY 10022
                                                                                                        212-687-1980


 Appel et al v. Equifax Inc.     0:17-cv-04488      District of                                       Joseph C. Bourne                                                 jbourne@gustafsongluek.com       Consumer      Yes by CTO - 1
                                                    Minnesota                                       Kaitlyn Leeann Dennis                                              kdennis@gustafsongluek.com
                                                                                                     Daniel E. Gustafson                                             dgustafson@gustafsongluek.com
                                                                                                      Daniel C. Hedlund                                               dhedlund@gustafsongluek.com
                                                                                                        Eric S. Taubel                                                 etaubel@gustafsongluek.com
                                                                                                 GUSTAFSON GLUEK PLLC
                                                                                                120 South 6th Street, Suite 2600
                                                                                                   Minneapolis, MN 55402
                                                                                                        612-333-8844




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                                                                               Plaintiffs' Counsel Table
                                                                In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                                 Case No. 1:17-md-2800-TWT
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      Case Name                 Case Number        Original             Local Counsel               Plaintiffs' Counsel & Contact Information                                          Email Addresses                Consumer,       Transfer
                                 & Original         Court                                                                                                                                                             Financial or     Status
                                   Court                                                                                                                                                                             Small Business
   Army Aviation Center          1:17-cv-03892   Northern District         Anthony C. Lake                           Bryan Bleichner                                               bbleichner@chesnutcambronne.com       Financial
Federal Credit Union et al v.                      of Georgia              Thomas Withers                          Chestnut Cambronne
        Equifax Inc.                                                 Gillen Withers & Lake, LLC            17 Washington Avenue North, Suite 300                                        cvanhorn@bfvlaw.com
                                                                      3490 Piedmont Road, N.E.                   Minneapolis, MN 55401
                                                                     One Securities Centre, Suite                      612-339-7300                                                     ecomite@scott-scott.com
                                                                                 1050                                                                                                 jguglielmo@scott-scott.com
                                                                          Atlanta, GA 30305                              Erin Green Comite
                                                                            404-842-9700                                  Joseph Guglielmo                                             Khriebel@locklaw.com
                                                                                                                             Scott + Scott                                           kmbaxter-kauf@locklaw.com
                                                                        Charles H. Van Horn                             156 South Main Street
                                                                     Berman Fink Van Horn P.C.                              P.O. Box 192                                                aclake@gwllawfirm.com
                                                                     3475 Piedmont Road, Suite                          Colchester, CT 06415                                           twithers@gwllawfirm.com
                                                                                1100                                        860-537-5537
                                                                         Atlanta, GA 30305                                                                                           smurray@murray-lawfirm.com
                                                                           404-261-7711                            Karen Hanson Riebel                                               amurray@murray-lawfirm.com
                                                                                                                    Kate Baxter-Kauf                                                 cthomas@murray-lawfirm.com
                                                                                                             Lockridge Grindal Nauen P.L.L.P.
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                                                                                                                     Caroline Thomas
                                                                                                                     Murray Law Firm
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                                                                                                                       505-525-8100


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                                                                                                              Zimmerman Reed, P.L.L.P. -MN
                                                                                                                     1100 IDS Center                                                   glynch@carlsonlynch.com
                                                                                                                   80 South 8th Street
                                                                                                                 Minneapolis, MN 55402
                                                                                                                      612-341-0400

                                                                                                                       Gary F. Lynch
                                                                                                                   Carlson Lynch Sweet
                                                                                                                  Kilpela & Carpenter LLP
                                                                                                                1133 Penn Avenue, 5th Floor
                                                                                                                   Pittsburgh, PA 15222
                                                                                                                       412-322-9243




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                                                                              Plaintiffs' Counsel Table
                                                                    In re: Equifax, Inc., Customer Data Security Breach Litigation
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       Case Name                    Case Number        Original           Local Counsel   Plaintiffs' Counsel & Contact Information                                        Email Addresses               Consumer,        Transfer
                                     & Original         Court                                                                                                                                            Financial or      Status
                                       Court                                                                                                                                                            Small Business
Astor et al. v. Equifax Inc. et      6:17-cv-01653   Middle District of                                  Denise B. Crockett                                              dcrockett@stackfernandez.com      Consumer      Yes by CTO - 1
               al                                        Florida                                            Brian J. Stack
                                                                                                 STACK, FERNANDEZ & HARRIS, PA
                                                                                                   1001 Brickell Bay Dr., Suite 2650
                                                                                                        Miami, FL 33131-3255
                                                                                                            305-371-0001                                                 bstack@stackfernandez.com
                                                                                                                                                                         jheisler@sanfordheisler.com
                                                                                                           Jeremy Heisler                                                amelzer@sanfordheisler.com
                                                                                                           Andrew Melzer                                                  ksharp@sanfordheisler.com
                                                                                                  SANFORD HEISLER SHARP, LLP
                                                                                                1350 Avenue of the Americas, Suite 3100
                                                                                                      New York, NY 10019-1004
                                                                                                            646-402-5650

                                                                                                            Kevin Sharp
                                                                                                  SANFORD HEISLER SHARP, LLP
                                                                                                   611 Commerce Street, Suite 3100
                                                                                                      Nashville, TN 37203-7117
                                                                                                           615-434-7001


Atiles et al. v. Equifax, Inc. et    7:17-cv-07493   Southern District                                  Wesley Martin Mullen                                               wmullen@mullenpc.com            Consumer      Yes by CTO - 1
                al.                                    of New York                                         MULLEN P.C.
                                                                                                     200 Park Avenue, Suite 1700
                                                                                                        New York, NY 00000
                                                                                                            646-632-3718




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                                                                                  Plaintiffs' Counsel Table
                                                                  In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                  Case Number        Original               Local Counsel               Plaintiffs' Counsel & Contact Information                                           Email Addresses                Consumer,       Transfer
                                  & Original         Court                                                                                                                                                                Financial or     Status
                                    Court                                                                                                                                                                                Small Business
Atlantic City Federal Credit      1:17-cv-05065   Northern District           Anthony C. Lake                           Bryan Bleichner                                                bbleichner@chesnutcambronne.com       Financial      Yes
Union, et al. v. Equifax, Inc.                      of Georgia                Thomas Withers                          Chestnut Cambronne
                                                                        Gillen Withers & Lake, LLC            17 Washington Avenue North, Suite 300                                         cvanhorn@bfvlaw.com
                                                                         3490 Piedmont Road, N.E.                   Minneapolis, MN 55401
                                                                        One Securities Centre, Suite                      612-339-7300                                                      ecomite@scott-scott.com
                                                                                    1050                                                                                                  jguglielmo@scott-scott.com
                                                                             Atlanta, GA 30305                              Erin Green Comite
                                                                               404-842-9700                                  Joseph Guglielmo                                              Khriebel@locklaw.com
                                                                                                                                Scott + Scott                                            kmbaxter-kauf@locklaw.com
                                                                           Charles H. Van Horn                             156 South Main Street
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                                                                            Atlanta, GA 30305                                                                                            smurray@murray-lawfirm.com
                                                                              404-261-7711                            Karen Hanson Riebel                                                amurray@murray-lawfirm.com
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                                                                                                                    Minneapolis, MN 55402
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                                                                                                                     Kilpela & Carpenter LLP
                                                                                                                   1133 Penn Avenue, 5th Floor
                                                                                                                      Pittsburgh, PA 15222
                                                                                                                          412-322-9243


Austin v. Equifax, Inc. and       2:17-cv-04045   Eastern District of                                                   Jerry Desiderato                                                 JDeSiderato@dilworthlaw.com        Consumer
Equifax Credit Information                          Pennsylvania                                                       Joshua D. Wolson                                                    jwolson@dilworthlaw.com
      Services, Inc.                                (Philadelphia                                                 DILWORTH PAXSON LLP
                                                      Division)                                                  1500 Market Street Suite 3500E
                                                                                                                    Philadelphia, PA 19102
                                                                                                                         215-575-7000




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                                                                                                               Case 1:17-md-02800-TWT Document 94-1 Filed 01/10/18 Page 11 of 104




                                                                                Plaintiffs' Counsel Table
                                                                  In re: Equifax, Inc., Customer Data Security Breach Litigation
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     Case Name                 Case Number        Original                Local Counsel             Plaintiffs' Counsel & Contact Information                                         Email Addresses                Consumer,        Transfer
                                & Original         Court                                                                                                                                                             Financial or      Status
                                  Court                                                                                                                                                                             Small Business
   Avise v. Equifax Inc.        8:17-cv-01563   Central District of                                                Daniel S. Robinson                                               drobinson@robinsonfirm.com         Consumer
                                                   California                                                 ROBINSON CALCAGNIE INC.
                                                    (Southern                                                   19 Corporate Plaza Drive
                                                 Division - Santa                                               Newport Beach, CA 92660
                                                      Ana)                                                           888-701-1288


  Ayala et al. v. Equifax       4:17-cv-00462       District of       Rusing Lopez & Lizardi PLLC                 J. William Brammer, Jr.                                               wbrammer@rllaz.com             Consumer      Yes by CTO - 1
   Incorporated et al.                               Arizona                                                        Michael John Rusing                                                  mrusing@rllaz.com
                                                                                                             RUSING LOPEZ & LIZARDI PLLC                                            echapin2@sanfordheisler.com
                                                                                                               6363 N. Swan Rd., Suite 151                                          dfuschetti@sanfordheisler.com
                                                                                                                     Tucson, AZ 85718                                                ksharp@sanfordheisler.com
                                                                                                                       520-792-4800

                                                                                                                  Edward Dewey Chapin
                                                                                                      SANFORD HEISLER SHARP LLP - SAN DIEGO, CA
                                                                                                               655 W Broadway, Suite 1700
                                                                                                                  San Diego, CA 92101
                                                                                                                     619-577-4253

                                                                                                                 Danielle Anne Fuschetti
                                                                                                    SANFORD HEISLER SHARP LLP - SAN FRANCISCO, CA
                                                                                                                 111 Sutter St., Suite 975
                                                                                                                San Francisco, CA 94104
                                                                                                                      415-795-2022

                                                                                                                      Kevin Sharp
                                                                                                      SANFORD HEISLER SHARP LLP - NASHVILLE, TN
                                                                                                              611 Commerce St., Suite 3100
                                                                                                                  Nashville, TN 37203
                                                                                                                     615-434-7001
Bahnmaier v. Equifax Inc.       4:17-cv-00512   Northern District                                                    Joshua D. Wells                                                   jdw@federmanlaw.com             Consumer
                                                  of Oklahoma                                                      William B. Federman                                                 wbf@federmanlaw.com
                                                (Tulsa Division)                                               FEDERMAN & SHERWOOD
                                                                                                                10205 N. Pennsylvania Ave.
                                                                                                                 Oklahoma City, OK 73120
                                                                                                                      405-235-1560


Bailey v. Equifax Inc. et al    3:17-cv-04211   Southern District         The Segal Law Firm                     Charles Edward Amos, II                                            edward.amos@segal-law.com          Consumer      Yes by CTO - 1
                                                of West Virginia                                                     Jason P. Foster                                                 jason.foster@segal-law.com
                                                                                                                      Scott S. Segal                                                  scott.segal@segal-law.com
                                                                                                                 THE SEGAL LAW FIRM                                                  ksharp@sanfordheisler.com
                                                                                                               810 Kanawha Boulevard, East
                                                                                                                  Charleston, WV 25301
                                                                                                                      304-344-9100

                                                                                                                       Kevin Sharp
                                                                                                               SANFORD HEISLER SHARP
                                                                                                               611 Commerce St., Suite 3100
                                                                                                                   Nashville, TN 37203
                                                                                                                      615-434-7001




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                                                                                 Plaintiffs' Counsel Table
                                                                    In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                                     Case No. 1:17-md-2800-TWT
                                                                                             MDL No. 2800
      Case Name                 Case Number         Original              Local Counsel            Plaintiffs' Counsel & Contact Information                                       Email Addresses           Consumer,        Transfer
                                 & Original          Court                                                                                                                                                   Financial or      Status
                                   Court                                                                                                                                                                    Small Business
   Baker v. Equifax, Inc.        0:17-cv-04655        District of                                                    Marisa C. Katz                                                   katz@tkkrlaw.com         Consumer      Yes by CTO - 1
                                                      Minnesota                                                     Vildan A. Teske                                                  teske@tkkrlaw.com
                                                                                                        TESKE, KATZ, KITZER & ROCHEL, PLLP
                                                                                                             222 S. Ninth Street, Suite 4050
                                                                                                                Minneapolis, MN 55402
                                                                                                                     612-746-1558


Bakken et al v. Equifax, Inc.    1:17-cv-03676    Northern District     Conley Griggs Partin LLP                     G. John Cento                                                 ranse@conleygriggs.com      Consumer
                                                    of Georgia                                                      Cento Law, LLC
                                                                                                          5915 North College Avenue, Suite 100
                                                                                                                Indianapolis, IN 46220                                             vesades@heinsmills.com
                                                                                                                     765-280-3272

                                                                                                                    K. Scott Wagner
                                                                                                                Kerkman Wagner & Dunn
                                                                                                           839 North Jefferson Street, Suite 400
                                                                                                                 Milwaukee, WI 53202
                                                                                                                      512-338-4605

                                                                                                                    Ranse M. Partin
                                                                                                             Conley Griggs Partin, LLP- GA
                                                                                                                Building One, Suite 300
                                                                                                             4200 Northside Parkway, NW
                                                                                                                  Atlanta, GA 30327
                                                                                                                     404-467-1155

                                                                                                                    Vincent J. Esades
                                                                                                                Heins Mills & Olson P.L.C.
                                                                                                                   310 Clifton Avenue
                                                                                                                 Minneapolis, MN 55403
                                                                                                                      612-338-4605


   Bakko v. Equifax, Inc.        2:17-cv-013992   Eastern District of                                            Sharon S. Almonrode                                                ssa@millerlawpc.com        Consumer      Yes by CTO - 3
                                                      Michigan                                                      Emily E. Hughes                                                eeh@millerlawpc.com
                                                                                                                    E. Powell Miller                                               epm@millerlawpc.com
                                                                                                               The Miller Law Firm, P.C.
                                                                                                           950 West University Drive, Suite 300
                                                                                                                 Rochester, MI 48307
                                                                                                                     248-841-2200

 Bandoh-Aidoo v. Equifax,        2:17-cv-06658    Central District of                                               Torin A. Dorros                                                tdorros@dorroslaw.com       Consumer           Yes
Inc. and Does 1 Through 10                            California                                                    DORROS LAW
                                                  (Western Division                                        8730 Wilshire Boulevard, Suite 350
                                                   - Los Angeles)                                            Beverly Hills, California 90211
                                                                                                                     310-997-2050




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                                                                            Plaintiffs' Counsel Table
                                                             In re: Equifax, Inc., Customer Data Security Breach Litigation
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    Case Name                Case Number        Original             Local Counsel               Plaintiffs' Counsel & Contact Information                                           Email Addresses                Consumer,       Transfer
                              & Original         Court                                                                                                                                                              Financial or     Status
                                Court                                                                                                                                                                              Small Business
Bank of Louisiana et al v.    1:17-cv-03715   Northern District         Anthony C. Lake                           Bryan Bleichner                                                bbleichner@chesnutcambronne.com       Financial
      Equifax Inc.                              of Georgia              Thomas Withers                          Chestnut Cambronne
                                                                  Gillen Withers & Lake, LLC            17 Washington Avenue North, Suite 300                                         cvanhorn@bfvlaw.com
                                                                   3490 Piedmont Road, N.E.                   Minneapolis, MN 55401
                                                                  One Securities Centre, Suite                      612-339-7300                                                      ecomite@scott-scott.com
                                                                              1050                                                                                                  jguglielmo@scott-scott.com
                                                                       Atlanta, GA 30305                              Erin Green Comite
                                                                         404-842-9700                                  Joseph Guglielmo                                              Khriebel@locklaw.com
                                                                                                                          Scott + Scott                                            kmbaxter-kauf@locklaw.com
                                                                     Charles H. Van Horn                             156 South Main Street
                                                                  Berman Fink Van Horn P.C.                              P.O. Box 192                                                 aclake@gwllawfirm.com
                                                                  3475 Piedmont Road, Suite                          Colchester, CT 06415                                            twithers@gwllawfirm.com
                                                                             1100                                        860-537-5537
                                                                      Atlanta, GA 30305                                                                                            smurray@murray-lawfirm.com
                                                                        404-261-7711                            Karen Hanson Riebel                                                amurray@murray-lawfirm.com
                                                                                                                 Kate Baxter-Kauf                                                  cthomas@murray-lawfirm.com
                                                                                                          Lockridge Grindal Nauen P.L.L.P.
                                                                                                         100 Washington Ave. S., Suite 2200
                                                                                                              Minneapolis, MN 55401
                                                                                                                   612-339-6900

                                                                                                                 Stephen Murray, Sr.
                                                                                                                  Arthur M. Murray
                                                                                                                  Caroline Thomas
                                                                                                                  Murray Law Firm
                                                                                                            650 Poydras Street, Suite 2150
                                                                                                               New Orleans, LA 70130
                                                                                                                    505-525-8100

                                                                                                               Brian C. Gudmundson                                               brian.gudmundson@zimmreed.com
                                                                                                           Zimmerman Reed, P.L.L.P. -MN
                                                                                                                  1100 IDS Center                                                    glynch@carlsonlynch.com
                                                                                                                80 South 8th Street
                                                                                                              Minneapolis, MN 55402
                                                                                                                   612-341-0400

                                                                                                                    Gary F. Lynch
                                                                                                                Carlson Lynch Sweet
                                                                                                               Kilpela & Carpenter LLP
                                                                                                             1133 Penn Avenue, 5th Floor
                                                                                                                Pittsburgh, PA 15222
                                                                                                                    412-322-9243




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                                                                    In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                  Case Number        Original              Local Counsel          Plaintiffs' Counsel & Contact Information                                           Email Addresses               Consumer,        Transfer
                                  & Original         Court                                                                                                                                                         Financial or      Status
                                    Court                                                                                                                                                                         Small Business
Bank of Ripley v. Equifax Inc.    1:17-cv-04763   Northern District     Complex Law Group, LLC                   David Michael Cohen                                                 dcohen@complexlaw.com            Financial
                                                    of Georgia                                                 Complex Law Group, LLC
                                                                                                                40 Powder Springs Street
                                                                                                                  Marietta, GA 30064
                                                                                                                     770-335-9322
                                                                                                                                                                                       acarney@cbplaw.com
                                                                                                                    Allen Carney                                                        hbates@cbplaw.com
                                                                                                              James Allen Carney, Jr.
                                                                                                                 Joseph H. Bates III
                                                                                                           Carney Bates & Pulliam, PLLC
                                                                                                                  519 W. 7th Street
                                                                                                               Little Rock, AR 72201
                                                                                                                    501-312-8500
Barker v. Equifax, Inc. Does      8:17-cv-01560   Central District of                                            Jerusalem F. Beligan                                                jbeligan@bisnarchase.com        Consumer
      1-10, inclusive                                California                                                     Brian D. Chase                                                    bchase@bisnarchase.com
                                                      (Southern                                                 BISNAR CHASE LLP
                                                   Division - Santa                                           1301 Dove Street, Suite 120
                                                        Ana)                                                  Newport Beach, CA 92660
                                                                                                                    949-752-2999


   Barone v. Equifax, Inc.        5:17-cv-05958   Northern District                                                 J. Benjamin Blakeman                                            ben@lifeinsurance-law.com        Consumer      Yes by CTO - 1
                                                   of California                                                   ATTORNEY AT LAW
                                                                                                                   1259 S. Camden Dr. 2E
                                                                                                                   Los Angeles, CA 90017
                                                                                                                        213-629-9922


    Beck v. Equifax, Inc.         1:17-cv-03359       District of                                               Jonathan Barry Nace                                                     jon@nidellaw.com             Consumer      Yes by CTO - 1
                                                      Maryland                                                NIDEL & NACE, PLLC
                                                                                                         5335 Wisconsin Ave., NW, Suite 440
                                                                                                              Washington, D.C. 20015
                                                                                                                   202-478-9677


 Becker et al v. Equifax Inc.     5:17-cv-00900   Western District                                             Eric Andrew Campolo                                                     eacampolo@gmail.com           Consumer      Yes by CTO - 1
                                                    of Texas                                                      Paul E. Campolo                                                pcampolo@maloneyandcampolo.com
                                                                                                                   Tim Maloney                                                        timmaloney@yahoo.com
                                                                                                    LAW OFFICES OF MALONEY & CAMPOLO, LLP
                                                                                                                   926 S. Alamo
                                                                                                              San Antonio, TX 78205
                                                                                                                   210-219-0412




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                                                                            Plaintiffs' Counsel Table
                                                              In re: Equifax, Inc., Customer Data Security Breach Litigation
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    Case Name                Case Number        Original             Local Counsel               Plaintiffs' Counsel & Contact Information                                        Email Addresses             Consumer,        Transfer
                              & Original         Court                                                                                                                                                        Financial or      Status
                                Court                                                                                                                                                                        Small Business
Beekman et al. v. Equifax,    1:17-cv-03492    Northern District Law Offices of David A. Bain,                    David A. Bain                                                    dbain@bain-law.com           Consumer           Yes
         Inc.                                     of Georgia                 LLC                       LAW OFFICES OF DAVID A. BAIN, LLC
                                              (Atlanta Division)                                              1230 Peachtree St, NW
                                                                                                                Atlanta, GA 30309
                                                                                                                  404-724-9990

                                                                                                                Timothy G. Blood                                                    tblood@bholaw.com
                                                                                                              Thomas J. O'Reardon II                                              toreardon@bholaw.com
                                                                                                        BLOOD HURST & O'REARDON, LLP
                                                                                                          501 West Broadway, Suite 1490
                                                                                                               San Diego, CA 92101
                                                                                                                  619-338-1100

                                                                                                                Janine L. Pollack                                                  pollack@whafh.com
                                                                                                                Correy A. Kamin                                                     kamin@whafh.com
                                                                                                               Carl V. Malmstrom                                                  malmstrom@whafh.com
                                                                                                 WOLF HALDENSTEIN ADLER FREEMAN & HERZ LLP
                                                                                                                270 Madison Ave
                                                                                                              New York, NY 10016
                                                                                                                  212-545-4600
  Belden v. Equifax Inc.      5:17-cv-05260   Northern District                                                Mark C. Molumphy                                                  mmolumphy@cpmlegal.com         Consumer
                                              of California (San                                       COTCHETT, PITRE & MCCARTHY LLP
                                                Jose Division)                                             840 Malcolm Road Suite 200
                                                                                                             Burlingame, CA 94010
                                                                                                                  650-697-6000

  Belfon v. Equifax Inc.      2:17-cv-06577   Eastern District of                                             Edward B. Geller                                                        epbh@aol.com              Consumer      Yes by CTO - 1
                                                  New York                                               EDWARD B. GELLER, ESQ., P.C.
                                                                                                              15 Landing Way
                                                                                                              Bronx, NY 10464
                                                                                                               914-473-6783


Benavidez et al v. Equifax    4:17-cv-04279   Central District of                                                       Gregory S. Otsuka                                         gotsuka@hjlawfirm.com         Consumer      Yes by CTO - 1
       Inc. et al.                                 Illinois                                                            Hellmuth & Johnson
                                                                                                                      8050 West 78th Street
                                                                                                                        Edina, MN 55439
                                                                                                                          952-941-4005


 Benson v. Equifax Inc.       3:17-cv-00564    Western District                                                   Jason T. Ams                                                      jams@bgdlegal.com           Consumer      Yes by CTO - 1
                                                of Kentucky                                                    V. Brandon McGrath                                                 bmcgrath@bgdlegal.com
                                                                                                  BINGHAM GREENEBAUM DOLL LLP - LEXINGTON                                        brett@bluegrassinjury.com
                                                                                                           300 W. Vine Street, Suite 1100
                                                                                                            Lexington, KY 40507-1665
                                                                                                                  859-231-8500

                                                                                                              Brett H. Oppenheimer
                                                                                                         BRETT H. OPPENHEIMER, PLLC
                                                                                                            401 Waterfront Park Place
                                                                                                           222 East Witherspoon Street
                                                                                                              Louisville, KY 40202
                                                                                                                  502-749-5700




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                                                                      In re: Equifax, Inc., Customer Data Security Breach Litigation
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                                    & Original         Court                                                                                                                                              Financial or      Status
                                      Court                                                                                                                                                              Small Business
   Benway v. Equifax, Inc.          1:17-cv-03360       District of                                    Benjamin Howard Carney                                                bcarney@GWCfirm.com            Consumer      Yes by CTO - 1
                                                        Maryland                                          Richard S. Gordon                                                  rgordon@GWCfirm.com
                                                                                                         Martin Eugene Wolf                                                   mwolf@GWCfirm.com
                                                                                                 GORDON, WOLF & CARNEY, CHTD
                                                                                                   100 W. Pennsylvania Ave, Ste 100
                                                                                                         Towson, MD 21204
                                                                                                            410-825-2300

Bethea et al v. Equifax, Inc. et    3:17-cv-00648   Eastern District of                                Leonard Anthony Bennett                                               lenbennet@clalegal.com         Consumer      Yes by CTO - 1
               al                                        Virginia                                      Matthew James Erausquin                                                   matt@clalegal.com
                                                                                                          Elizabeth W. Hanes                                                  elizabeth@clalegal.com
                                                                                                       Craig Carley Marchiando                                                  craig@clalegal.com
                                                                                                CONSUMER LITIGATION ASSOCIATES
                                                                                                  763 J. Clyde Morris Blvd., Suite 1A
                                                                                                      Newport News, VA 23601
                                                                                                             757-930-3660



    Biles v. Equifax, Inc.          1:17-cv-08224   Northern District                                 Elizabeth Christine Chavez                                               ecc@fmcolaw.com              Consumer      Yes by CTO - 1
                                                       of Illinois                                     Kathleen Currie Chavez                                                  kcc@fmcolaw.com
                                                                                                           Robert M. Foote                                                     rmf@fmcolaw.com
                                                                                                          Matthew J. Herman                                                    mjh@fmcolaw.com
                                                                                               FOOT, MIEKEM CHAVEZ & O'NEIL, LLC
                                                                                                     10 W. State Street, Suite 200
                                                                                                           Geneva, IL 60134
                                                                                                            630-232-7450


    Biorn v. Equifax Inc.           2:17-cv-00071       District of                                         John L. Amsden                                                  amsden@becklawyers.com          Consumer      Yes by CTO - 1
                                                        Montana                                              Monte D. Beck                                                   mbeck@becklawyers.com
                                                                                                          Anthony F. Jackson                                                anthony@becklawyers.com
                                                                                                            Justin P. Stalpes                                                justin@becklawyers.com
                                                                                                       BECK & AMSDEN, PLLC
                                                                                                       1946 Stadium Drive, Suite 1
                                                                                                          Bozeman, MT 59717
                                                                                                             406-586-8700

Bitton v. Equifax Information       1:17-cv-05126   Northern District                                          Amir J. Goldstein                                          ajg@consumercounselgroup.com      Consumer
        Services, LLC                                 of Georgia                                            591 Broadway Suite 3A
                                                                                                             New York, NY 10012
                                                                                                                212-966-5253


 Blake et al. v Equifax Inc et      7:17-cv-06946   Southern District                                   Esther E. Berezofsky                                                eberezofsky@eblawllc.com        Consumer      Yes by CTO - 1
               al                                     of New York                                 BEREZOFSKY LAW GROUP, LLC
                                                     (White Plains                                  201 Lake Drive East, Suite 101
                                                        Division)                                       Cherry Hill, NJ 08002
                                                                                                           856-667-0500




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                                                                                Plaintiffs' Counsel Table
                                                                 In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                  Case Number        Original             Local Counsel            Plaintiffs' Counsel & Contact Information                                             Email Addresses                   Consumer,        Transfer
                                  & Original         Court                                                                                                                                                                Financial or      Status
                                    Court                                                                                                                                                                                Small Business
 Block v. Equifax, Inc. et al     1:17-cv-07121    District of New                                                 Erik S. Syverson                                                     esyverson@raineslaw.com             Consumer      Yes by CTO - 1
                                                        Jersey                                                 RAINES FELDMAN LLP
                                                                                                          1800 Avenue of the Stars, 12th Floor
                                                                                                                Los Angeles, CA 90067
                                                                                                                    310-440-4100

Bologna et al v. Equifax, Inc.    1:17-cv-03578   Northern District    Jonathan W. Johnson, LLC                  Benjamin Jared Meiselas                                                 geragos@geragos.com                Consumer
                                                    of Georgia                                                       Lori G. Feldman                                                     feldman@geragos.com
                                                                                                                     Mark G. Geragos
                                                                                                                    Geragos & Geragos
                                                                                                                644 South Figueroa Street
                                                                                                                Historic Engine Co. No. 28
                                                                                                                 Los Angeles, CA 90017                                            jwj@jonathanjohnsonatlantalawyer.com
                                                                                                                       213-625-3900

                                                                                                               Jonathan Wesley Johnson
                                                                                                              Jonathan W. Johnson, LLC
                                                                                                          2296 Henderson Mill Rd., Suite 304
                                                                                                                  Atlanta, GA 30345
                                                                                                                    404-298-0795


Boundy et al v. Equifax, Inc.      5:17-05367     Northern District       Herman Gerel, LLP                           Andrea S. Hirsch                                                                                      Consumer           Yes
                                                    of Georgia                                                       Leonard A. Davis
                                                                                                                       Steve Herman
                                                                                                                   HERMAN GEREL, LLP                                                    ahirsch@hermangerel.com
                                                                                                                      60 Lenox Pointe
                                                                                                                     Atlanta, GA 30324
                                                                                                                       404-880-9500

                                                                                                                    Arnold Levin
                                                                                                                   Daneil C. Levin                                                        alevin@lfsblaw.com
                                                                                                                 Charles E. Schaffer
                                                                                                            LEVIN SEDRAN & BERMAN
                                                                                                             510 Walnut Street, Suite 500
                                                                                                               Philadelphia, PA 19106
                                                                                                                    215-592-1500
                                                                                                                                                                                           azarf@fdazar.com
                                                                                                                 Franklin D. Azar
                                                                                                                  Keith Scranton
                                                                                                                  Hugh Z. Balkin
                                                                                                         FRANKLIN D. AZAR & ASSOCIATES
                                                                                                             14426 East Evans Avenue
                                                                                                                Aurora, CO 80014
                                                                                                                  303-900-5595
  Bradley v. Equifax, Inc.        1:17-cv-03480    Northern District                                                 Julio C. Gomez                                                      jgomez@gomezllc.com                Consumer      Yes by CTO - 1
                                                      of Georgia                                                      GOMEZ LLC
                                                  (Atlanta Division)                                               The Stucke Building
                                                                                                                111 Quimby Street, Suite 8
                                                                                                                   Westfield, NJ 07090
                                                                                                                      908-789-1080




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                                                                              Plaintiffs' Counsel Table
                                                                 In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                  Case Number        Original           Local Counsel            Plaintiffs' Counsel & Contact Information                                        Email Addresses              Consumer,        Transfer
                                  & Original         Court                                                                                                                                                    Financial or      Status
                                    Court                                                                                                                                                                    Small Business
   Branch v. equifax Inc.         1:17-cv-07257   District of New                                               Richard Alexander Saveri                                             rick@saveri.com            Consumer      Yes by CTO - 1
                                                       Jersey                                                     Saveri & Saveri, Inc.
                                                                                                                   706 Sansome Street
                                                                                                                San Francisco, CA 94111
                                                                                                                     415-217-6810

     Brandon v. Equifax           1:17-cv-03454   Northern District   Evangelista Worley, LLC                 James M. Evangelista                                                 jme@ewlawllc.com             Consumer           Yes
                                                    of Georgia                                                  David J. Worley                                                    david@ewlawll.com
                                                                                                            Kristi Stahnke McGregor                                                kristi@ewlawll.com
                                                                                                         EVANGELISTA WORLEY, LLC
                                                                                                         8100 A Roswell Road, Suite 100                                           wbf@federmanlaw.com
                                                                                                               Atlanta, GA 30350                                                  clm@federmanlaw.com
                                                                                                                  404-205-8400                                                    jdw@federmanlaw.com

                                                                                                                William Federman
                                                                                                                Carin L. Marcussen
                                                                                                                 Joshua D. Wells
                                                                                                           FEDERMAN & SHERWOOD                                                  cdukelow@abingtonlaw.com
                                                                                                           10205 N. Pennsylvania Avenue
                                                                                                               Oklahoma, OK 73120
                                                                                                                  405-235-1560

                                                                                                               Cornelius P. Dukelow
                                                                                                              Abington Cole + Ellery
                                                                                                        320 South Boston Avenue, Suite 1130
                                                                                                                 Tulsa, OK 74103
                                                                                                                   918-588-3400


Brannan et al v. Equifax, Inc.    1:17-cv-03708   Northern District    The Finley Firm, P.C.                       James Benjamin Finley                                        bfinley@thefinleyfirm.com       Consumer
                                                    of Georgia                                                      MaryBeth V. Gibson                                          mgibson@thefinleyfirm.com
                                                                                                                      Robert W. Garrett                                         wgarrett@thefinleyfirm.com
                                                                                                                    The Finley Firm, P.C.
                                                                                                                   Building 14, Suite 230
                                                                                                                    3535 Piedmont Road
                                                                                                                     Atlanta, GA 30305
                                                                                                                    404-320-9979 ext 241




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                                                                              Plaintiffs' Counsel Table
                                                                In re: Equifax, Inc., Customer Data Security Breach Litigation
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     Case Name                 Case Number        Original             Local Counsel            Plaintiffs' Counsel & Contact Information                                         Email Addresses              Consumer,        Transfer
                                & Original         Court                                                                                                                                                       Financial or      Status
                                  Court                                                                                                                                                                       Small Business
  Broder v. Equifax, Inc.       1:17-cv-03587   Northern District                                               Andrea Bierstein                                                 dmiceli@simmonsfirm.com         Consumer
                                                  of Georgia                                                    David F. Miceli
                                                                                                                 Jayne Conroy
                                                                                                             Simmons Hanly Conroy
                                                                                                          112 Madison Avenue, 7th Floor
                                                                                                              New York, NY 10016
                                                                                                                 212-784-6403

                                                                                                                Emily C. Aldridge
                                                                                                                 Lelsey A. Weaver
                                                                                                                Matthew S. Weiler
                                                                                                           Bleichmar Fonti & Auld LLP
                                                                                                          1999 Harrison Street, Suite 670
                                                                                                                Oakland, CA 94612
                                                                                                                  415-445-4003

Brodsky v. Equifax, Inc., et    2:17-cv-05528   Eastern District of                                                     PRO SE                                                  demcointerexport@yahoo.com       Consumer      Yes by CTO - 1
            al.                                     New York                                                          Jay Brodsky
                                                                                                               1585 Round Swamp Road
                                                                                                                 Plainview, NY 11803
                                                                                                                     973-568-1666

Brown et al. v. Equifax Inc.    1:17-cv-03449   Northern District     Evangelista Worley, LLC                   David J. Worley                                                     jim@ewlawllc.com             Consumer           Yes
   and TrustedID, Inc.                            of Georgia                                                  James M. Evangelista                                                  david@ewlawll.com
                                                                                                            Kristi Stahnke McGregor                                                 kristi@ewlawll.com
                                                                                                         EVANGELISTA WORLEY, LLC
                                                                                                          8100 A Roswell Rd, Suite 100                                           b.barnow@barnowlaw.com
                                                                                                               Atlanta, GA 30350                                                 e.schork@barnowlaw.com
                                                                                                                  404-205-8400

                                                                                                                   Ben Barnow
                                                                                                                 Erich P. Schork
                                                                                                        BARNOW AND ASSOCIATES, P.C.
                                                                                                           1 North LaSalle Street #4600
                                                                                                               Chicago, IL 60602
                                                                                                                  312-621-2000
Brumfield v. Equifax, Inc.      1:17-cv-06459   Eastern District of                                                  Gaitri Boodhood                                            gboodhoo@brualdilawfirm.com      Consumer      Yes by CTO - 1
                                                    New York                                                      The Brualdi Law Firm
                                                                                                                 29 Broadway, Suite 2400
                                                                                                                  New York, NY 10006
                                                                                                                      212-952-0602


 Bussey v. Equifax Credit       7:17-cv-00158   Middle District of                                                           PRO SE                                               ronnniebusse@yahoo.com         Consumer      Yes by CTO - 1
         Bureau                                     Georgia                                                               Ronnie Bussey
                                                                                                                         303 Alunza Street
                                                                                                                        Douglas, GA 31533
                                                                                                                           912-292-6522




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                                                                              Plaintiffs' Counsel Table
                                                                    In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                                     Case No. 1:17-md-2800-TWT
                                                                                             MDL No. 2800
      Case Name                  Case Number        Original            Local Counsel        Plaintiffs' Counsel & Contact Information                                         Email Addresses             Consumer,        Transfer
                                  & Original         Court                                                                                                                                                 Financial or      Status
                                    Court                                                                                                                                                                 Small Business
    Butler v. Equifax Inc.        3:17-cv-02158   Southern District                                          Stephen F Yunker                                                      sfy@yslaw.com             Consumer      Yes by CTO - 1
                                                    of California                                      655 West Broadway, Suite 1400
                                                                                                           San Diego, CA 92101
                                                                                                               619-233-5500



Byas & Drummer v. Equifax,        4:17-cv-00130   Northern District                                          Daniel E. Morris                                                                                Consumer
          Inc.                                     of Mississippi                                  DANIEL E. MORRIS LAW FIRM, PLLC
                                                    (Greenville                                              P.O. Box 40811
                                                     Division)                                           Baton Rouge, LA 70835

                                                                                                             Tanisha M. Gates
                                                                                                          DORSEY & GATES, PLLC
                                                                                                              P.O. Box 158
                                                                                                            Belzoni, MS 39038
                                                                                                              662-247-2449
Cadwallader et al v. Equifax      0:17-cv-04640       District of                                            Michael R Cashman                                                mcashman@hjlawfirm.com         Consumer      Yes by CTO - 1
        Inc. et al                                    Minnesota                                           Hellmuth & Johnson, PLLC
                                                                                                            8050 West 78th Street
                                                                                                              Edina, MN 55439
                                                                                                                952-941-4005


Calderon et al v. Equifax Inc.    1:17-cv-04389   Northern District     Kent & Risley, LLC                  Daniel Arthur Kent                                                 dankent@kentrisley.com        Consumer
            et al                                   of Georgia                                              Kent & Risley, LLC
                                                                                                      5755 North Point Pkwy., Suite 57
                                                                                                           Alpharetta, GA 30022
                                                                                                              404-585-4214

                                                                                                              Gregory S. Otsuka
                                                                                                          Hellmuth & Johnson, PLLC
                                                                                                            8050 West 78th Street
                                                                                                              Edina, MN 55439
                                                                                                                952-941-4005


  Campbell v. Equifax Inc.        2:17-cv-01657    Western District                                            McKean J Evans                                                mevans@pivotallawgroup.com      Consumer      Yes by CTO - 1
                                                    of Washingon                                           PIVOTAL LAW GROUP
                                                                                                               IMB BUILDING
                                                                                                          1200 Fifth Ave., Suite 1217
                                                                                                              Seattle, WA 98101
                                                                                                                206-340-2008


  Campos v. Equifax, Inc.         1:17-cv-06579   Eastern District of                                     Edward B. Geller                                                         epbh@aol.com              Consumer      Yes by CTO - 1
                                                      New York                                       EDWARD B. GELLER, ESQ., P.C.
                                                                                                          15 Landing Way
                                                                                                          Bronx, NY 10464
                                                                                                           914-473-6783




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                                                               In re: Equifax, Inc., Customer Data Security Breach Litigation
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    Case Name               Case Number        Original            Local Counsel   Plaintiffs' Counsel & Contact Information                                             Email Addresses                Consumer,        Transfer
                             & Original         Court                                                                                                                                                   Financial or      Status
                               Court                                                                                                                                                                   Small Business
    Caplan v. Equifax        2:17-cv-04055   Eastern District of                                    Andrew B. Sacks                                                       asacks@sackslaw.com              Consumer      Yes by CTO - 1
Information Services, LLC                      Pennsylvania                                          John K. Weston                                                      jweston@sackslaw.com
                                               (Philadelphia                                   Sacks Weston Diamond LLC
                                                 Division)                                    1845 Walnut Street, Suite 1600                                              tom@attorneyzim.com
                                                                                                 Philadelphia, PA 19103
                                                                                                      215-925-8200                                                        notices@dannlaw.com

                                                                                               Thomas A. Zimmerman, Jr.                                               dkrieger@hainesandkrieger.com
                                                                                            ZIMMERMAN LAW OFFICES, P.C.
                                                                                           77 West Washington Street, Suite 1220
                                                                                                    Chicago, IL 60602
                                                                                                     312-440-0020

                                                                                                     Marc E. Dann
                                                                                                       Brian Flick
                                                                                             THE DANN LAW FIRM CO. LPA
                                                                                                    PO Box 6031040
                                                                                                  Cleveland, OH 44103
                                                                                                     216-373-0536

                                                                                                    David H. Krieger
                                                                                                      George Haines
                                                                                               HAINES & KRIEGER, LLC
                                                                                              8985 S. Eastern Ave., Suite 350
                                                                                                  Henderson, NV 89123
                                                                                                      702-880-5554

                                                                                                   Matthew I. Knepper
                                                                                                     Miles N. Clark                                                 matthew.knepper@knepperclark.com
                                                                                               KNEPPER & CLARK, LLC                                                   miles.clark@knepperclark.com
                                                                                          10040 W. Cheyenne Ave., Suite 170-109
                                                                                                 Las Vegas, NV 89129                                                   seanpayne@spaynelaw.com
                                                                                                     702-825-6060

                                                                                                      Sean N. Payne
                                                                                                PAYNE LAW FIRM LLC
                                                                                           9550 S. Eastern Ave., Suite 253-A213
                                                                                                   Las Vegas, NV 89123
                                                                                                       702-952-2733

 Caprio v. Equifax, Inc.     1:17-cv-03358       District of                                       Nathan Daniel Alder                                                       nda@nqgrg.com                Consumer      Yes by CTO - 1
                                                 Maryland                               Neuberger Quinn Gielen Rubin and Gibber PV
                                                                                                One South Street, 27th Floor
                                                                                                   Baltimore, MD 21202
                                                                                                       410-332-8516




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       Case Name                   Case Number        Original           Local Counsel         Plaintiffs' Counsel & Contact Information                                          Email Addresses              Consumer,        Transfer
                                    & Original         Court                                                                                                                                                   Financial or      Status
                                      Court                                                                                                                                                                   Small Business
Carr et al. v. Equifax Inc. et      5:17-cv-04089   District of Kansas   Robert B. Sullivan                     Andrew C. Melzer                                                amelzer@sanfordheisler.com       Consumer      Yes by CTO - 1
              al.                                                                                           Sanford Heisler Sharp, LLP
                                                                                                      1350 Avenue of the Americas, 31st Floor
                                                                                                              New York, NY 10019                                                 ksharp@sanfordheisler.com
                                                                                                                  646-402-5650

                                                                                                                    Kevin Sharp
                                                                                                             Sanford Heisler Sharp, LLP
                                                                                                            611 Commerce St., Ste. 3100                                           rbsullivan13@gmail.com
                                                                                                                Nashville, TN 37203
                                                                                                                   615-434-7001

                                                                                                                   Robert B. Sullivan
                                                                                                                 5704 W. 128th Terrace
                                                                                                                Overland Park, KS 66209
                                                                                                                     816-309-6840

Cary III et al. v. Equifax, Inc.    1:17-cv-03433    Northern District BARNES LAW GROUP, LLC                     Roy E. Barnes                                                    roy@barneslawgroup.com         Consumer           Yes
                                                        of Georgia                                               John R. Bevis                                                   bevis@barneslawgroup.com
                                                    (Atlanta Division)                                        J. Cameron Tribble                                                ctribble@barneslawgroup.com
                                                                                                          BARNES LAW GROUP, LLC
                                                                                                             31 Atlanta Street, SE
                                                                                                             Marietta, GA 30060
                                                                                                                 770-227-6375                                                     siegel@stuevesiegel.com
                                                                                                                                                                                  vahle@stuevesiegel.com
                                                                                                                Norman E. Siegel                                                  moore@stuevesiegel.com
                                                                                                                 Barrett J. Vahle
                                                                                                                J. Austin Moore
                                                                                                         STUEVE SIEGEL HANSON LLP
                                                                                                           460 Nichols Road, Suite 200
                                                                                                             Kansas City, MO 64112
                                                                                                                 816-714-7100

    Cederdahl v. Equifax            4:17-cv-00342   Southern District                                         Jeffery Joseph Cook                                                 jcook@pattersonfirm.com        Consumer      Yes by CTO - 1
 Information Services, LLC                              of Iowa                                           PATTERSON LAW FIRM LLP
                                                                                                            505 Fifth Ave., Suite 729
                                                                                                             Des Moines, IA 50309
                                                                                                              515-283-2147 x243


  Chehebar v. Equifax Inc.          3:17-cv-11414    District of New                                         Edward B. Geller                                                         epbh@aol.com               Consumer      Yes by CTO - 1
                                                          Jersey                                        EDWARD B. GELLER, ESQ., P.C.
                                                                                                             15 Landing Way
                                                                                                             Bronx, NY 10464
                                                                                                              914-473-6783

  Chehebar v. Equifax Inc.          3:17-cv-11417    District of New                                         Edward B. Geller                                                         epbh@aol.com               Consumer      Yes by CTO - 1
                                                          Jersey                                        EDWARD B. GELLER, ESQ., P.C.
                                                                                                             15 Landing Way
                                                                                                             Bronx, NY 10464
                                                                                                              914-473-6783




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                                                               In re: Equifax, Inc., Customer Data Security Breach Litigation
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    Case Name                 Case Number        Original             Local Counsel           Plaintiffs' Counsel & Contact Information                                               Email Addresses                  Consumer,        Transfer
                               & Original         Court                                                                                                                                                                Financial or      Status
                                 Court                                                                                                                                                                                Small Business
Chenault v. Equifax, Inc.      1:17-cv-03764   Northern District     Robin Frazer Clark, PC                    Robin Frazer Clark                                                  robinclark@gatriallawyers.net         Consumer
                                                 of Georgia                                                 Robin Frazer Clark, PC
                                                                                                          Centennial Tower, Suite 2300
                                                                                                           101 Marietta Street, N.W.
                                                                                                               Atlanta, GA 30303
                                                                                                                 404-873-3700

Cherney and Cherney v.         2:17-cv-12966   Eastern District of                                              Nathan J. Fink                                                    nfink@finkandassociateslaw.com         Consumer
     Equifax, Inc.                             Michigan (Detriot                                                David H. Fink                                                     dfink@finkandassociateslaw.com
                                                   Division)                                               FINK ASSOCIATES LAW
                                                                                                        38500 Woodward Ave., Suite 350
                                                                                                          Bloomfield Hills, MI 48304
                                                                                                                248-971-2500

Cho v. Equifax, Inc., et al    2:17-cv-08548   Central District of                                               Gerald S Ohn                                                           gerald@ohnlaw.com                Consumer      Yes by CTO - 2
                                                  California                                            Law Offices of Gerald S Ohn APC
                                                                                                         25129 The Old Road, Suite 207
                                                                                                          Stevenson Ranch, CA 91381
                                                                                                                 661-475-5220

 Christen & Coughlin v.        1:17-cv-06951    District of New                                                 Kevin P. Roddy                                                         kroddy@wilentz.com                Consumer      Yes by CTO - 1
      Equifax, Inc.                             Jersey (Camden                                                 Philip A. Tortoreti                                                    ptortoreti@wilentz.com
                                                   Division)                                                    Andrew Grous                                                           agrous@wilentz.com
                                                                                                     WILENTZ, GOLDMAN & SPITZER, PA
                                                                                                  90 Woodbridge Center Drive, Suite 900, Box 10
                                                                                                            Woodbridge, NJ 07095                                                     b.barnow@barnowlaw.com

                                                                                                                  Ben Barnow
                                                                                                        BARNOW & ASSOCIATES, P.C.
                                                                                                       One North LaSalle Street, Suite 4600
                                                                                                               Chicago, IL 60602
                                                                                                                 312-621-2000

Clark et al v. Equifax Inc.    1:17-cv-03497   Northern District                                                E. Michelle Drake                                                         emdrake@bm.net                 Consumer
                                                 of Georgia                                                        Jon Lambiras                                                          jlambiras@bm.net
                                                                                                                Shanon J. Carson                                                          scarson@bm.net
                                                                                                                Sherrie R. Savett                                                          ssavett@bm.net
                                                                                                            Berger & Montague, P.C.
                                                                                                           43 SE Main Street, Suite 505
                                                                                                             Minneapolis, MN 55414
                                                                                                                  612-594-5933


Clark et al v. Equifax Inc.    1:17-cv-01118    District of New                                               Nicholas Koluncich                                               nkoluncich@newmexicoclassactions.com      Consumer      Yes by CTO - 1
                                                    Mexico                                           Law offices of Nicholas Koluncich LLC
                                                                                                      500 Marquette Ave NW., Suite 1200
                                                                                                            Albuquerque, NM 87102
                                                                                                                  505-881-2228




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                                                                                  Plaintiffs' Counsel Table
                                                                     In re: Equifax, Inc., Customer Data Security Breach Litigation
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       Case Name                   Case Number        Original             Local Counsel             Plaintiffs' Counsel & Contact Information                                          Email Addresses              Consumer,         Transfer
                                    & Original         Court                                                                                                                                                         Financial or       Status
                                      Court                                                                                                                                                                         Small Business
Coade-Wingate v.Equifax Inc.        1:17-cv-01136   Northern District                                                Rodney Mark Zerbe                                                   rzerbe@hjlawfirm.com          Consumer      Yes by CTO - 1
          et al                                      of New York                                                 Hellmuth, Johnson Law Firm
                                                                                                                   The Woolworth Building
                                                                                                                  233 Broadway., Suite 2208
                                                                                                                    New York, NY 10279
                                                                                                                        212-966-4949


Cofield et al v. Equifax Inc. et    1:17-cv-03119      District of                                                             PRO SE                                                supremegrandbishop@gmail.com      Consumer      Transfer Opposed
               al                                      Maryland                                                          Kevin L. Cofield, Sr.                                                                                          on 12/21/17
                                                                                                                             410-419-6049                                               abettercoach@gmail.com
                                                                                                                         Dr. Keenan K. Cofield
                                                                                                                             443-554-3715
                                                                                                                          Laverne Thompson
                                                                                                                          4109 Cutty Sark Rd.
                                                                                                                         Baltimore, MD 21220

                                                                                                                               PRO SE
                                                                                                                            Berri A. Wells
                                                                                                                       7723 English Oak Circle
                                                                                                                         Elkridge, MD 21075
                                                                                                                            301-905-7160
 Cole et al v. Equifax Inc. et      5:17-cv-00223      District of      Hayes, Windish & Badgewick                       Kevin Sharp                                                   ksharp@sanfordheisler.com       Consumer      Yes by CTO - 1
               al                                      Vermont                                                    Saford Heisler Sharp, LLP
                                                                                                               611 Commerce Street, Suite 3100
                                                                                                                    Nashville, TN 37203
                                                                                                                        615-434-7000                                                 rwindish@woodstockvtlaw.com

                                                                                                                    Richard J. Windish
                                                                                                                Hayes, Windish & Badgewick
                                                                                                                     45 Pleasant Street
                                                                                                                   Woodstock, VT 05091
                                                                                                                       802-457-2123


  Cole v. Equifax Inc. and          1:17-cv-11712      District of                                                       John Roddy                                                    jroddy@baileyglasser.com        Consumer      Yes by CTO - 1
Equifax Information Services,                         Massachusetts                                                    Elizabeth Ryan                                                   eryan@baileyglasser.com
            LLC                                     (Boston Division)                                                  Benjamin Lajoie                                                 blajoie@baileyglasser.com
                                                                                                                  BAILEY & GLASSER LLP
                                                                                                                   99 High Street, Suite 304
                                                                                                                      Boston, MA 02110                                                    nfo@mass-legal.com
                                                                                                                        617-439-6730

                                                                                                                      Nicholas F. Ortiz
                                                                                                          LAW OFFICE OF NICHOLAS F. ORTIZ, P.C.
                                                                                                                  99 High Street, Suite 304
                                                                                                                     Boston, MA 02110
                                                                                                                       617-338-9400




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                                                                                 Plaintiffs' Counsel Table
                                                                 In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                 Case Number        Original               Local Counsel               Plaintiffs' Counsel & Contact Information                                           Email Addresses                Consumer,       Transfer
                                 & Original         Court                                                                                                                                                                Financial or     Status
                                   Court                                                                                                                                                                                Small Business
  Collins v. Equifax, Inc.       1:17-cv-00187   Southern District                                                 Thomas F. Hetherington                                               tom.hetherington@emhllp.com        Consumer        Yes
                                                     of Texas                                                          Kendall J. Burr                                                    kendall.burr@emhllp.com
                                                   (Brownsville                                                        Diane S. Wizig                                                     diane.wizig@emhllp.com
                                                     Division)                                          EDISON MCDOWELL AND HETHERINGTON LLP
                                                                                                                1001 Fannin Street, Suite 2700
                                                                                                                     Houston, TX 77002
                                                                                                                       713-337-5580

  Collins v. Equifax, Inc.       8:17-cv-01561   Central District of                                                Timothy G. Blood                                                        tblood@bholaw.com              Consumer
                                                    California                                               BLOOD HURST & O'REARDON LLP
                                                     (Southern                                                 501 West Broadway, Suite 1490
                                                  Division - Santa                                                 San Diego, CA 92101
                                                       Ana)                                                           619-338-1100

  Consumers Cooperative          1:17-cv-04775   Northern District           Anthony C. Lake                           Bryan Bleichner                                                bbleichner@chesnutcambronne.com       Financial
Credit Union et al v. Equifax                      of Georgia                Thomas Withers                          Chestnut Cambronne
                                                                       Gillen Withers & Lake, LLC            17 Washington Avenue North, Suite 300                                         cvanhorn@bfvlaw.com
                                                                        3490 Piedmont Road, N.E.                   Minneapolis, MN 55401
                                                                       One Securities Centre, Suite                      612-339-7300                                                      ecomite@scott-scott.com
                                                                                   1050                                                                                                  jguglielmo@scott-scott.com
                                                                            Atlanta, GA 30305                              Erin Green Comite
                                                                              404-842-9700                                  Joseph Guglielmo                                              Khriebel@locklaw.com
                                                                                                                               Scott + Scott                                            kmbaxter-kauf@locklaw.com
                                                                          Charles H. Van Horn                             156 South Main Street
                                                                       Berman Fink Van Horn P.C.                              P.O. Box 192                                                 aclake@gwllawfirm.com
                                                                       3475 Piedmont Road, Suite                          Colchester, CT 06415                                            twithers@gwllawfirm.com
                                                                                  1100                                        860-537-5537
                                                                           Atlanta, GA 30305                                                                                            smurray@murray-lawfirm.com
                                                                             404-261-7711                            Karen Hanson Riebel                                                amurray@murray-lawfirm.com
                                                                                                                      Kate Baxter-Kauf                                                  cthomas@murray-lawfirm.com
                                                                                                               Lockridge Grindal Nauen P.L.L.P.
                                                                                                              100 Washington Ave. S., Suite 2200
                                                                                                                   Minneapolis, MN 55401
                                                                                                                        612-339-6900

                                                                                                                      Stephen Murray, Sr.
                                                                                                                       Arthur M. Murray
                                                                                                                       Caroline Thomas
                                                                                                                       Murray Law Firm
                                                                                                                 650 Poydras Street, Suite 2150
                                                                                                                    New Orleans, LA 70130
                                                                                                                         505-525-8100




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                                                                        Plaintiffs' Counsel Table
                                                                In re: Equifax, Inc., Customer Data Security Breach Litigation
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    Case Name                Case Number        Original            Local Counsel   Plaintiffs' Counsel & Contact Information                                           Email Addresses              Consumer,        Transfer
                              & Original         Court                                                                                                                                               Financial or      Status
                                Court                                                                                                                                                               Small Business
                                                                                                  Brian C. Gudmundson                                               brian.gudmundson@zimmreed.com
                                                                                              Zimmerman Reed, P.L.L.P. -MN
                                                                                                     1100 IDS Center                                                   glynch@carlsonlynch.com
                                                                                                   80 South 8th Street
                                                                                                 Minneapolis, MN 55402
                                                                                                      612-341-0400

                                                                                                      Gary F. Lynch
                                                                                                  Carlson Lynch Sweet
                                                                                                 Kilpela & Carpenter LLP
                                                                                               1133 Penn Avenue, 5th Floor
                                                                                                  Pittsburgh, PA 15222
                                                                                                      412-322-9243

Cooper et al. v. Equifax      4:17-cv-00490       District of                                    Leonard Anthony Bennett                                                lenbennett@clalegal.com        Consumer      Yes by CTO - 1
  Incorporated et al.                              Arizona                                   Consumer Litigation Associates PC
                                                                                             763 J Clyde Morris Blvd., Ste. 1A
                                                                                                Newport News, VA 23601
                                                                                                      757-930-3660

Cox et al v. Equifax, Inc.    1:17-cv-03586   Northern District                                            Alex G. Streett                                                beng@bsjfirm.com             Consumer
                                                of Georgia                                                James A. Streett
                                                                                                       Streett Law Firm, P.A.
                                                                                                           107 West Main
                                                                                                       Russellville, AR 72801
                                                                                                            479-968-2030

                                                                                                     Benjamin A. Gastel
                                                                                                     Michael G.. Stewart
                                                                                            Branstetter Stranch & Jennings PLLC
                                                                                                    The Freedom Center
                                                                                            223 Rosa L. Parks Avenue, Suite 200
                                                                                                    Nashville, TN 37203
                                                                                                        615-254-8801


Crossett v. Equifax, Inc.     4:17-cv-02434   Eastern District of                                     D. Todd Mathews                                                  Todd@GoriJulianLaw.com          Consumer      Yes by CTO - 1
                                                  Missouri                                         GORI AND JULIAN, P.C.
                                                                                                      156 N. Main ST.
                                                                                                    Edwardsville, IL 62025
                                                                                                        618-659-9833




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                                                                                Plaintiffs' Counsel Table
                                                                In re: Equifax, Inc., Customer Data Security Breach Litigation
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     Case Name                 Case Number        Original               Local Counsel               Plaintiffs' Counsel & Contact Information                                           Email Addresses                Consumer,        Transfer
                                & Original         Court                                                                                                                                                                Financial or      Status
                                  Court                                                                                                                                                                                Small Business
Crow et al. v. Equifax, Inc.    5:17-cv-05355   Northern District                                                  Cari Campen Laufenberg                                             claufenberg@kellerrohrback.com      Consumer      Yes by CTO - 1
                                                 of California                                                    Gretchen Freeman Cappio                                               gcappio@kellerrohrback.com
                                                                                                                    Keller Rohrback, LLP
                                                                                                                1201 Third Avenue, Suite 3200
                                                                                                                   Seattle, WA 98101-3052
                                                                                                                         206-623-1900
                                                                                                                                                                                         jflowers@motleyrice.com
                                                                                                                      Jodi Westbrook Flowers
                                                                                                                       Motley Rice, LLC-SC
                                                                                                                      28 Bridgeside Boulevard
                                                                                                                      Mt. Pleasant, SC 29464
                                                                                                                           843-216-9163

Cuevas v. Equifax Inc. et al    2:17-cv-08604   Central District of                                                  Thomas V. Girardi                                                  caumais@girardikeese.com          Consumer      Yes by CTO - 2
                                                   California                                                      Christopher T. Aumais                                                 tgirardi@girardikeese.com
                                                                                                                     Ashkahn Mohamadi                                                  amohamadi@girardikeese.com
                                                                                                                     GIRARDI KEESE
                                                                                                                  1126 Wilshire Boulevard
                                                                                                                Los Angeles, California 90017
                                                                                                                       213-977-0211
 D.L. Evans Bank et al v.       1:17-cv-05357   Northern District           Anthony C. Lake                           Bryan Bleichner                                                                                      Financial
       Equifax Inc.                               of Georgia                Thomas Withers                          Chestnut Cambronne                                               bbleichner@chesnutcambronne.com
                                                                      Gillen Withers & Lake, LLC            17 Washington Avenue North, Suite 300
                                                                       3490 Piedmont Road, N.E.                   Minneapolis, MN 55401                                                   cvanhorn@bfvlaw.com
                                                                      One Securities Centre, Suite                      612-339-7300
                                                                                  1050                                                                                                    ecomite@scott-scott.com
                                                                           Atlanta, GA 30305                              Erin Green Comite                                             jguglielmo@scott-scott.com
                                                                             404-842-9700                                  Joseph Guglielmo
                                                                                                                              Scott + Scott                                              Khriebel@locklaw.com
                                                                         Charles H. Van Horn                             156 South Main Street                                         kmbaxter-kauf@locklaw.com
                                                                      Berman Fink Van Horn P.C.                              P.O. Box 192
                                                                      3475 Piedmont Road, Suite                          Colchester, CT 06415                                             aclake@gwllawfirm.com
                                                                                 1100                                        860-537-5537                                                twithers@gwllawfirm.com
                                                                          Atlanta, GA 30305
                                                                            404-261-7711                            Karen Hanson Riebel
                                                                                                                     Kate Baxter-Kauf
                                                                                                              Lockridge Grindal Nauen P.L.L.P.
                                                                                                             100 Washington Ave. S., Suite 2200
                                                                                                                  Minneapolis, MN 55401
                                                                                                                       612 339 6900




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                                                                          Plaintiffs' Counsel Table
                                                                In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                                 Case No. 1:17-md-2800-TWT
                                                                                         MDL No. 2800
      Case Name                Case Number        Original            Local Counsel   Plaintiffs' Counsel & Contact Information                                           Email Addresses              Consumer,        Transfer
                                & Original         Court                                                                                                                                               Financial or      Status
                                  Court                                                                                                                                                               Small Business
                                                                                                      Stephen Murray, Sr.                                              smurray@murray-lawfirm.com
                                                                                                       Arthur M. Murray                                                amurray@murray-lawfirm.com
                                                                                                       Caroline Thomas                                                 cthomas@murray-lawfirm.com
                                                                                                       Murray Law Firm
                                                                                                 650 Poydras Street, Suite 2150
                                                                                                    New Orleans, LA 70130                                             brian.gudmundson@zimmreed.com
                                                                                                         505-525-8100
                                                                                                                                                                         glynch@carlsonlynch.com
                                                                                                    Brian C. Gudmundson
                                                                                                Zimmerman Reed, P.L.L.P. -MN
                                                                                                       1100 IDS Center
                                                                                                     80 South 8th Street
                                                                                                   Minneapolis, MN 55402
                                                                                                        612-341-0400

                                                                                                         Gary F. Lynch
                                                                                                     Carlson Lynch Sweet
                                                                                                    Kilpela & Carpenter LLP
                                                                                                  1133 Penn Avenue, 5th Floor
                                                                                                     Pittsburgh, PA 15222
                                                                                                         412-322-9243




    Dash III v. Equifax         1:17-cv-07076   Southern District                                          PRO SE                                                            no email provided           Consumer      Yes by CTO - 1
 Information Services LLC                         of New York                                          John P. Dash III
                                                                                                        Gotham BMG
                                                                                                 420 Lexington Ave., Suite 300
                                                                                                     New York, NY 10170

Dash v . Equifax Information    1:17-cv-00901    Western District                                                  PRO SE                                                    no email provided           Consumer      Yes by CTO - 1
       Services LLC                                of Texas                                                    Dexter K. Dash
                                                                                                                P.O Boc 1431
                                                                                                              Leander, TX 78646

 Daughtery et al. v. Equifax    4:17-cv-00597   Eastern District of                                    Benjamin A. Gastel                                                   beng@bsjfirm.com             Consumer      Yes by CTO - 1
           Inc.                                     Arkansas                                  Branstetter, Stranch & Jennings PLLC
                                                                                              223 Rosa L. Parks Avenue, Suite 200
                                                                                                       Nashville, TN 37204
                                                                                                           615-254-8801




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                                                                          Plaintiffs' Counsel Table
                                                                In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                                 Case No. 1:17-md-2800-TWT
                                                                                         MDL No. 2800
     Case Name                 Case Number        Original            Local Counsel   Plaintiffs' Counsel & Contact Information                                             Email Addresses                 Consumer,        Transfer
                                & Original         Court                                                                                                                                                    Financial or      Status
                                  Court                                                                                                                                                                    Small Business
Davis et al. v. Equifax Inc.    7:17-cv-06883   Southern District                                     Kevin Peter Roddy                                                      kroddy@wilentz.com               Consumer      Yes by CTO - 1
                                                  of New York                                          Philip A. Tortoreti                                                  ptortoreti@wilentz.com
                                                 (White Plains                                          Andrew Grous                                                         agrous@wilentz.com
                                                    Division)                                WILENTZ, GOLDMAN & SPITZER, PA
                                                                                          90 Woodbridge Center Drive, Suite 90,0 Box 10
                                                                                                    Woodbridge, NJ 07095                                                   b.barnow@barnowlaw.com
                                                                                                         732-636-8000

                                                                                                          Ben Barnow
                                                                                                BARNOW & ASSOCIATES, P.C.
                                                                                               One North LaSalle Street, Suite 4600
                                                                                                       Chicago, IL 60602
                                                                                                         312-621-2000
Davis et al. v. Equifax Inc.    7:17-cv-01595   Northern District                                       Steven P Gregory                                                   steve@gregorylawfirm.us            Consumer      Yes by CTO - 1
                                                  of Alabama                                       GREGORY LAW FIRM PC
                                                                                                 2700 Corporate Drive, Suite 200
                                                                                                     Birmingham, AL 35242
                                                                                                          205-314-4874


Dela Cruz v. Equifax Inc. et    8:17-cv-02084   Central District of                                       Bobby Samini                                                      bsamini@saminilaw.com             Consumer      Yes by CTO - 2
             al                                    California                                           Matthew M. Hoesly                                                   mhoesly@saminilaw.com
                                                                                                         Bryan C. Oberle                                               bryan.oberle.2016@lawmail.usc.edu
                                                                                                        Theodore G. Spanos                                                    tspanos@ksmllp.com
                                                                                                       Samini Scheinberg PC
                                                                                                     Newport Beach, CA 92663
                                                                                                          949-636-5953
  Derby v. Equifax, Inc.        2:17-cv-01186   Western District                                     Joseph N. Kravec, Jr.                                                   jkravec@fdpklaw.com              Consumer       Yes by CTO
                                                of Pennslyvania                           FEINSTEIN DOYLE PAYNE & KRAVEC LLC
                                                   (Pittsburgh                                     Law & Finance Building
                                                    Division)                                    429 Fourth Avenue Suite 1300
                                                                                                     Pittsburgh, PA 15219
                                                                                                         412-281-8400

Dhuka et al v. Equifax, Inc.    1:17-cv-00919   Western District                                      Andrew Kochanowski                                                akochanowski@sommerspc.com            Consumer      Yes by CTO - 1
                                                  of Texas                                              Sarah L. Rickard
                                                                                                    Sommers Schwartz, P.C.                                                 srickard@sommerspc.com
                                                                                                  One Towne Square, Suite 1700
                                                                                                      Southfield, MI 48076                                                 srickard@sommerspc.com
                                                                                                         248-746-4068

                                                                                                     Randall Adam Swick
                                                                                                      Reid Collins & Tsai
                                                                                                  1301 S Capital of Texas Hwy
                                                                                                     Building C, Suite 300
                                                                                                       Austin, TX 78746
                                                                                                         512-647-6100
    Diaz v. Equifax Inc.        7:17-cv-08175   Southern District                                  Steven Edward Armstrong                                             SArmstrong@ArmstrongPLLC.com           Consumer      Yes by CTO - 1
                                                  of New York                             The Law Offices of Steven E. Armstrong, PLLC
                                                                                                   61 Broadway, Suite 3000
                                                                                                     New York, NY 10006
                                                                                                         212-837-6824



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                                                                 In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                  Case Number        Original           Local Counsel   Plaintiffs' Counsel & Contact Information                                         Email Addresses                Consumer,        Transfer
                                  & Original         Court                                                                                                                                              Financial or      Status
                                    Court                                                                                                                                                              Small Business
 Dixon et al v. Equifax, Inc.     1:17-cv-03809   Northern District                                    Jodi Westbrook Flowers                                            jflowers@motleyrice.com          Consumer      Yes by CTO - 1
                                                    of Georgia                                              Kevin R. Dean                                                  kdean@motleyrice.com
                                                                                                        Motley Rice, LLC-SC
                                                                                                       28 Bridgeside Boulevard                                        claufenberg@kellerrohrback.com
                                                                                                       Mt. Pleasant, SC 29464                                            gcappio@kellerohrback.com
                                                                                                            843-216-9163

                                                                                                    Cari Campen Laufenberg
                                                                                                   Gretchen Freeman Cappio
                                                                                                     Keller Rohrback, L.L.P
                                                                                                 1201 Third Avenue, Suite 3200
                                                                                                      Seattle, WA 98101
                                                                                                         206-623-1900


Domino et al. v. Equifax, Inc.    0:17-cv-61936   Southern District                                      Alex Arreaza                                                    alex@alexmylawyer.com            Consumer      Yes by CTO - 1
                                                     of Florida                                  320 W Oakland Park Boulevard
                                                                                                   Wilton Manors, FL 33311                                                admin@zagerlaw.com
                                                                                                        954-565-7743

                                                                                                          Joseph Zager
                                                                                                       ZAGERLAW, P.A.
                                                                                                500 E. Broward Blvd., Suite 1820
                                                                                                   Fort Lauderdale, FL 33394
                                                                                                         954-888-8170


Dowgin & Hudson v. Equifax        1:17-cv-06923    District of New                                     Jamie P. Clouser                                                   jamie@clouseresq.com            Consumer
          Inc.                                     Jersey (Camden                               360 West 43rd Street, Suite S14A
                                                      Division)                                      New York, NY 10036
                                                                                                         347-871-6702


  Dremak v. Equifax, Inc.         3:17-cv-01829   Southern District                                  Timothy G. Blood                                                      tblood@bholaw.com              Consumer
                                                  of California (San                          BLOOD HURST & O'REARDON LLP
                                                   Diego Division)                              501 West Broadway, Suite 1490
                                                                                                    San Diego, CA 92101
                                                                                                       619-338-1100




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                                                             In re: Equifax, Inc., Customer Data Security Breach Litigation
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     Case Name              Case Number        Original            Local Counsel   Plaintiffs' Counsel & Contact Information                                          Email Addresses             Consumer,        Transfer
                             & Original         Court                                                                                                                                             Financial or      Status
                               Court                                                                                                                                                             Small Business
  Duke et al v. Equifax      1:17-cv-03765   Northern District                                        John C. Herman                                                   jherman@rgrdlaw.com          Consumer
                                               of Georgia                                             Mark J. Dearborn                                                  pgeller@rgrdlaw.com
                                                                                                        Paul J. Geller
                                                                                         Robbins Geller Rudman & Dowd, LLP - GA
                                                                                                 Suite 1650, Monarch Plaza                                          brobbins@robbinsarroyo.com
                                                                                                 3424 Peachtree Road, NE
                                                                                                     Atlanta, GA 30326
                                                                                                        404-504-6500

                                                                                                       Ashley R. Rifkin
                                                                                                       Brian J. Robbins
                                                                                                    Robbins Arroyo, LLP-CA
                                                                                                    600 B Street, Suite 1900
                                                                                                     San Diego, CA 92101
                                                                                                         619-525-3990


Duran & Duran v. Equifax,    8:17-cv-01571   Central District of                                   Natalie S. Pang                                                                                  Consumer
         Inc.                                   California                                KABATECK BROWN KELLNER LLP
                                                 (Southern                                    644 South Figueroa Street
                                              Division - Santa                                 Los Angeles, CA 90017
                                                   Ana)                                            866-266-1800


  Duran v. Equifax Inc.      1:17-cv-06584   Eastern District of                                 Edward B. Geller                                                         epbh@aol.com              Consumer      Yes by CTO - 1
                                                 New York                                   EDWARD B. GELLER, ESQ., P.C.
                                                                                                 15 Landing Way
                                                                                                 Bronx, NY 10464
                                                                                                  914-473-6783




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                                                                              Plaintiffs' Counsel Table
                                                               In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                Case Number        Original             Local Counsel               Plaintiffs' Counsel & Contact Information                                             Email Addresses                Consumer,       Transfer
                                & Original         Court                                                                                                                                                                Financial or     Status
                                  Court                                                                                                                                                                                Small Business
Durand State Bank v. Equifax    1:18-cv-00021   Northern District         Anthony C. Lake                            Bryan Bleichner                                                 bbleichner@chesnutcambronne.com       Financial
                                                  of Georgia              Thomas Withers                           Chestnut Cambronne
                                                                    Gillen Withers & Lake, LLC             17 Washington Avenue North, Suite 300                                          cvanhorn@bfvlaw.com
                                                                     3490 Piedmont Road, N.E.                    Minneapolis, MN 55401
                                                                    One Securities Centre, Suite                       612-339-7300                                                       ecomite@scott-scott.com
                                                                                1050                                                                                                    jguglielmo@scott-scott.com
                                                                         Atlanta, GA 30305                                Erin Green Comite
                                                                           404-842-9700                                    Joseph Guglielmo                                              Khriebel@locklaw.com
                                                                                                                              Scott + Scott                                            kmbaxter-kauf@locklaw.com
                                                                       Charles H. Van Horn                               156 South Main Street
                                                                    Berman Fink Van Horn P.C.                                P.O. Box 192                                                 aclake@gwllawfirm.com
                                                                    3475 Piedmont Road, Suite                            Colchester, CT 06415                                            twithers@gwllawfirm.com
                                                                               1100                                          860-537-5537
                                                                        Atlanta, GA 30305                                                                                              smurray@murray-lawfirm.com
                                                                          404-261-7711                              Karen Hanson Riebel                                                amurray@murray-lawfirm.com
                                                                                                                     Kate Baxter-Kauf                                                  cthomas@murray-lawfirm.com
                                                                                                              Lockridge Grindal Nauen P.L.L.P.
                                                                                                             100 Washington Ave. S., Suite 2200
                                                                                                                  Minneapolis, MN 55401
                                                                                                                       612-339-6900

                                                                                                                     Stephen Murray, Sr.
                                                                                                                      Arthur M. Murray
                                                                                                                      Caroline Thomas
                                                                                                                      Murray Law Firm
                                                                                                                650 Poydras Street, Suite 2150
                                                                                                                   New Orleans, LA 70130
                                                                                                                        505-525-8100
                                                                                                                    Brian C. Gudmundson                                              brian.gudmundson@zimmreed.com
                                                                                                               Zimmerman Reed, P.L.L.P. -MN
                                                                                                                       1100 IDS Center                                                   glynch@carlsonlynch.com
                                                                                                                     80 South 8th Street
                                                                                                                  Minneapolis, MN 55402
                                                                                                                        612-341-0400

                                                                                                                       Gary F. Lynch
                                                                                                                   Carlson Lynch Sweet
                                                                                                                  Kilpela & Carpenter LLP
                                                                                                                1133 Penn Avenue, 5th Floor
                                                                                                                   Pittsburgh, PA 15222
                                                                                                                       412-322-9243
Durham v. Equifax, Inc. and     1:17-cv-03452   Northern District    Conley Griggs Partin LLP                          Tina Wolfson                                                    twolfson@ahdootwolfson.com         Consumer        Yes
       Does 1-50                                  of Georgia                                                          Theodore Maya                                                     tmaya@ahdootwolfson.com
                                                                                                                AHDOOT & WOLFSON, PC
                                                                                                                   10728 Lindbrook Drive
                                                                                                                Los Angeles, California 90024
                                                                                                                       310-474-9111
                                                                                                                                                                                         ranse@conleygriggs.com
                                                                                                                       Ranse M. Partin
                                                                                                              CONLEY GRIGGS PARTIN LLP
                                                                                                      4200 Northside Parkway NW Building One Suite 300
                                                                                                                      Atlanta, GA 303027
                                                                                                                         229-985-5300


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                                                                                 Plaintiffs' Counsel Table
                                                                 In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                                  Case No. 1:17-md-2800-TWT
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      Case Name                  Case Number        Original              Local Counsel              Plaintiffs' Counsel & Contact Information                                          Email Addresses              Consumer,        Transfer
                                  & Original         Court                                                                                                                                                           Financial or      Status
                                    Court                                                                                                                                                                           Small Business
 Earl v. Equifax, Inc. et al      1:17-cv-00513   District of New     Nixon Vogelman Barry Slawsky                     Leslie C. Nixon                                                 lnixon@davenixonlaw.com         Consumer      Yes by CTO - 1
                                                    Hampshire                & Simoneau PA               Nixon Vogelman Barry Slawsky & Simoneau PA
                                                                                                                        77 Central St                                                  ksharp@sanfordheisler.com
                                                                                                                    Manchester, NH 03101
                                                                                                                        603-669-7070

                                                                                                                        Kevin H. Sharp
                                                                                                                   Sanford Heisler Sharp LLP
                                                                                                                   611 Commerce St, Ste 3100
                                                                                                                      Nashville, TN 37203
                                                                                                                         615-434-7001

Eastman et al v. Equifax Inc.     1:17-cv-03512   Northern District     Conley Griggs Partin LLP                         Robert N. Kaplan                                               rkaplan@kaplanfox.com          Consumer
                                                    of Georgia                                                          Matthew B. George                                               mgeorge@kaplanfox.com
                                                                                                                         Lawrence D. King                                                 lking@kaplanfox.com
                                                                                                                           Joel B. Strauss                                              jstrauss@kaplanfox.com
                                                                                                                           Mario M. Choi                                                 mchoi@kaplanfox.com
                                                                                                                            David Straite                                               dstraite@kaplanfox.com
                                                                                                                      Kaplan Kilsheimer & Fox
                                                                                                                         850 Third Avenue
                                                                                                                       New York, NY 10022
                                                                                                                           212-687-1980                                                 ranse@conleygriggs.com

                                                                                                                       Ranse M. Partin
                                                                                                                Conley Griggs Partin, LLP- GA
                                                                                                                   Building One, Suite 300
                                                                                                                4200 Northside Parkway, NW
                                                                                                                     Atlanta, GA 30327
                                                                                                                        404-467-1155
Englert et al v. Equifax, Inc.    1:17-cv-03509   Northern District     Evangelista Worley, LLC                     David James Worley                                                    david@ewlawllc.com           Consumer
                                                    of Georgia                                                      James M. Evangelista                                                   jim@ewlawllc.com
                                                                                                                  Kristi Stahnke McGregor                                                 krisit@ewlawllc.com
                                                                                                                  Evangelista Worley, LLC
                                                                                                               8100 A Roswell Road, Suite 100
                                                                                                                     Atlanta, GA 30350
                                                                                                                        404-205-8400


   Eppy v. Equifax, Inc.          0:17-cv-61833   Southern District                                                 Joshua Harris Eggnatz                                             JEggnatz@JusticeEarned.com       Consumer      Yes by CTO - 1
                                                     of Florida                                                    Michael James Pascucci                                             MPascucci@JusticeEarned.com
                                                                                                                    Eggnatz Pascucci, P.A.
                                                                                                              5400 S. University Drive, Suite 417
                                                                                                                       Davie, FL 33328
                                                                                                                        954-889-3359



   Evans v. Equifax Inc.          5:17-cv-05454   Northern District                                                          Phillip A. Jaret                                             pajaret@jaretlaw.com         Consumer      Yes by CTO - 1
                                                   of California                                                             Robert S. Jaret                                               rjaret@jaretlaw.com
                                                                                                                               Jaret & Jaret
                                                                                                                          1016 Lincoln Avenue
                                                                                                                          San Rafael, CA 94901
                                                                                                                              415-455-1010



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                                                                                                      Case 1:17-md-02800-TWT Document 94-1 Filed 01/10/18 Page 34 of 104




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                                                                  In re: Equifax, Inc., Customer Data Security Breach Litigation
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                                                                                           MDL No. 2800
      Case Name                  Case Number        Original             Local Counsel     Plaintiffs' Counsel & Contact Information                                        Email Addresses              Consumer,        Transfer
                                  & Original         Court                                                                                                                                               Financial or      Status
                                    Court                                                                                                                                                               Small Business
Fail et al. v. Equifax Inc. et    1:17-cv-03581   Southern District     MADDOX HARGETT &                  Mark E. Maddox                                                     mmaddox@mhclaw.com            Consumer      Yes by CTO - 1
              al.                                    of Indiana            CARUSO, PC             MADDOX HARGETT & CARUSO, PC
                                                                                                    10100 Lantern Road, Suite 150                                          ksharp@sanfordheisler.com
                                                                                                          Fishers, IN 46037
                                                                                                            317-598-2040

                                                                                                           Kevin H. Sharp
                                                                                                   SANFORD HEISLER SHARP, LLP
                                                                                                     611 Commerce St., Ste. 3100
                                                                                                         Nashville, TN 37203
                                                                                                            615-434-7001


  Faillace v. Equifax, Inc.       2:17-cv-06721   Central District of                                       Jennifer Sarnelli                                               jsarnellii@gardylaw.com        Consumer
                                                      California                                       GARDY AND NOTIS LLP
                                                  (Western Division                                   126 East 56th Street, 8th Floor
                                                   - Los Angeles)                                         New York, NY 10022
                                                                                                             212-905-0509

    Farinella v. Equifax          2:17-cv-05548   Eastern District of                                        Ryan L Gentile                                                     rlg@lawgmf.com             Consumer      Yes by CTO - 1
 Information Services, LLC                            New York                                     Law Offices of Gus Michael Farinella
                                                                                                     110 Jericho Turnpike, Suite 100
                                                                                                         Floral Park, NY 11001
                                                                                                              212-675-6161


Fausz v. Equifax Information      3:17-cv-00576    Western District                                          Nina B. Couch                                                  couchlawpllc@gmail.com         Consumer      Yes by CTO - 1
       Services, LLC                                of Kentucky                                            Couch Law, PLLC
                                                                                                     2815 Taylorsville Rd., Suite 101
                                                                                                          Louisville, KY 40205                                             ztaylor@taylorcouchlaw.com
                                                                                                             502-550-4933

                                                                                                           Zachary L. Taylor
                                                                                                    2815 Taylorsville Road, Suite 102
                                                                                                         Louisville, KY 40205
                                                                                                             502-822-2500

Feehrer et al v. Equifax, Inc.    1:17-cv-07803    District of New                                                Joseph R. Santoli                                          josephsantoli@aol.com         Consumer      Yes by CTO - 1
                                                        Jersey                                                    340 Devon Court
                                                                                                                Ridgewood, NJ 07450
                                                                                                                    201-926-9200
                                                                                                                                                                               lee@sfclasslaw.com
                                                                                                           Olimpio L. Squitieri
                                                                                                         Squitieri & Fearon, LLP
                                                                                                      2600 Kennedy Bldv., Suite 1K
                                                                                                          Jersey City, NJ 07306
                                                                                                              201-200-0900




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                                                                                                    Case 1:17-md-02800-TWT Document 94-1 Filed 01/10/18 Page 35 of 104




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  Case Name              Case Number        Original            Local Counsel            Plaintiffs' Counsel & Contact Information                                           Email Addresses                Consumer,        Transfer
                          & Original         Court                                                                                                                                                          Financial or      Status
                            Court                                                                                                                                                                          Small Business
Feied v. Equifax, Inc.    5:17-cv-05524   Northern District                                               Gordon M. Fauth, Jr.                                           gfauth@finkelsteinthompson.com       Consumer      Yes by CTO - 1
                                           of California                                                       Of Counsel
                                                                                                            Rosanne L. Mah                                                rmah@finkelsteinthompson.com
                                                                                                               Of Counsel
                                                                                                       Finkelstein Thompson LLP                                          mbartos@finkelsteinthompson.com
                                                                                                       100 Pine Street, Suite 1250
                                                                                                        San Francisco, CA 94111
                                                                                                             510-238-9610

                                                                                                             Mila Bartos
                                                                                                     Finkelstein Thompson LLP
                                                                                                3201 New Mexico Ave., NW, Suite 395
                                                                                                      Washington, D.C. 20016
                                                                                                            202-337-8000
Fiore v. Equifax, Inc.    1:17-cv-03456    Northern District   Evangelista Worley, LLC                  James M. Evangelista                                                   jme@ewlawllc.com               Consumer           Yes
                                              of Georgia                                                  David J. Worley                                                      david@ewlawll.com
                                          (Atlanta Division)                                          Kristi Stahnke McGregor                                                  kristi@ewlawll.com
                                                                                                  EVANGELISTA WORLEY, LLC
                                                                                                   8100 A Roswell Road, Suite 100                                            wbf@federmanlaw.com
                                                                                                         Atlanta, GA 30350                                                   clm@federmanlaw.com
                                                                                                            404-205-8400                                                     jdw@federmanlaw.com

                                                                                                        William Federman
                                                                                                        Carin L. Marcussen
                                                                                                         Joshua D. Wells
                                                                                                   FEDERMAN & SHERWOOD
                                                                                                   10205 N. Pennsylvania Avenue
                                                                                                       Oklahoma, OK 73120
                                                                                                          405-235-1560




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                                                                           Plaintiffs' Counsel Table
                                                               In re: Equifax, Inc., Customer Data Security Breach Litigation
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                                & Original         Court                                                                                                                                              Financial or     Status
                                  Court                                                                                                                                                              Small Business
First Castle Federal Credit     1:17-cv-04707   Northern District   POPE MCGLAMRY, P.C.                 Michael Lee McGlamry                                              mmcglamry@pmkm.com             Financial
Union v. Equifax, Inc. et al                      of Georgia                                               N. Kirkland Pope                                                kirkpope@pmkm.com
                                                                                                         Pope McGlamry, P.C.
                                                                                                           P.O. Box 191625
                                                                                                  3391 Peachtree Road, N.E., Suite 300
                                                                                                          Atlanta, GA 31119                                               chrish@pittmandutton.com
                                                                                                            404-523-7706

                                                                                                            Chris T. Hellums                                                ddellaccio@cwcd.com
                                                                                                    Pittman, Dutton & Hellums, P.C.                                       jtapley@corywatson.com
                                                                                                         2001 Park Place North
                                                                                                     Park Place Tower, Suite 1100
                                                                                                         Birmingham, AL 35203
                                                                                                             205-322-8880                                                 kirk@woodlawfirmllc.com

                                                                                                              Douglas A. Dellaccio
                                                                                                                F. Jerome Tapley
                                                                                                             2131 Magnolia Avenue
                                                                                                             Birmingham, AL 35205
                                                                                                                 205-328-2200

                                                                                                             E. Kirk Wood, Jr.
                                                                                                         WOOD LAW FIRM, LLC
                                                                                                             P.O. Box 382434
                                                                                                          Birmingham, AL 35238
                                                                                                               205-612-0243


                                                                                                         Gregory L. Davis
                                                                                                    DAVIS & TALIAFERRO, LLC                                                 gldavis@knology.net
                                                                                                      7031 Halcyon Park Drive
                                                                                                      Montgomery, AL 36117
                                                                                                           334-832-9080




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                                                                               Plaintiffs' Counsel Table
                                                                In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                                 Case No. 1:17-md-2800-TWT
                                                                                         MDL No. 2800
      Case Name                 Case Number        Original             Local Counsel               Plaintiffs' Counsel & Contact Information                                           Email Addresses                Consumer,        Transfer
                                 & Original         Court                                                                                                                                                              Financial or      Status
                                   Court                                                                                                                                                                              Small Business
  First Education Federal        1:17-cv-04184   Northern District         Anthony C. Lake                           Bryan Bleichner                                                bbleichner@chesnutcambronne.com       Financial
Credit Union et al v. Equifax                      of Georgia              Thomas Withers                          Chestnut Cambronne
            Inc.                                                     Gillen Withers & Lake, LLC            17 Washington Avenue North, Suite 300                                         cvanhorn@bfvlaw.com
                                                                      3490 Piedmont Road, N.E.                   Minneapolis, MN 55401
                                                                     One Securities Centre, Suite                      612-339-7300                                                      ecomite@scott-scott.com
                                                                                 1050                                                                                                  jguglielmo@scott-scott.com
                                                                          Atlanta, GA 30305                              Erin Green Comite
                                                                            404-842-9700                                  Joseph Guglielmo                                              Khriebel@locklaw.com
                                                                                                                             Scott + Scott                                            kmbaxter-kauf@locklaw.com
                                                                        Charles H. Van Horn                             156 South Main Street
                                                                     Berman Fink Van Horn P.C.                              P.O. Box 192                                                 aclake@gwllawfirm.com
                                                                     3475 Piedmont Road, Suite                          Colchester, CT 06415                                            twithers@gwllawfirm.com
                                                                                1100                                        860-537-5537
                                                                         Atlanta, GA 30305                                                                                            smurray@murray-lawfirm.com
                                                                           404-261-7711                            Karen Hanson Riebel                                                amurray@murray-lawfirm.com
                                                                                                                    Kate Baxter-Kauf                                                  cthomas@murray-lawfirm.com
                                                                                                             Lockridge Grindal Nauen P.L.L.P.
                                                                                                            100 Washington Ave. S., Suite 2200
                                                                                                                 Minneapolis, MN 55401
                                                                                                                      612-339-6900

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                                                                                                                     Arthur M. Murray
                                                                                                                     Caroline Thomas
                                                                                                                     Murray Law Firm
                                                                                                               650 Poydras Street, Suite 2150
                                                                                                                  New Orleans, LA 70130
                                                                                                                       505-525-8100

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                                                                                                                     1100 IDS Center                                                    glynch@carlsonlynch.com
                                                                                                                   80 South 8th Street
                                                                                                                 Minneapolis, MN 55402
                                                                                                                      612-341-0400

                                                                                                                       Gary F. Lynch
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                                                                                                                  Kilpela & Carpenter LLP
                                                                                                                1133 Penn Avenue, 5th Floor
                                                                                                                   Pittsburgh, PA 15222
                                                                                                                       412-322-9243


Flores et al. v. Equifax Inc.    7:17-cv-07088   Southern District                                                        Shelly L Friedland                                           sfriedland@triefandolk.com        Consumer      Yes by CTO - 1
                                                   of New York                                                              Trief and Olk
                                                                                                                          150 East 58 Street
                                                                                                                         New York, NY 10155
                                                                                                                            212-486-6060




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                                                                                Plaintiffs' Counsel Table
                                                                   In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                                    Case No. 1:17-md-2800-TWT
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      Case Name                   Case Number        Original             Local Counsel        Plaintiffs' Counsel & Contact Information                                        Email Addresses               Consumer,        Transfer
                                   & Original         Court                                                                                                                                                   Financial or      Status
                                     Court                                                                                                                                                                   Small Business
Fort McClellan Credit Union        1:17-cv-04994   Northern District     POPE MCGLAMRY, P.C.                 Michael Lee McGlamry                                                 kirkpope@pmkm.com              Financial         Yes
v. Equifax, Inc. and Equifax                         of Georgia                                                 N. Kirkland Pope
 Information Services, Inc.                                                                                   Pope McGlamry, P.C.
                                                                                                                P.O. Box 191625
                                                                                                       3391 Peachtree Road, N.E., Suite 300                                    chrish@pittmandutton.com
                                                                                                             Atlanta, GA 31119-1625                                            jonm@pittmandutton.com
                                                                                                                  404-523-7706

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                                                                                                                  Jonathan Mann
                                                                                                         Pittman, Dutton & Hellums, P.C.
                                                                                                              2001 Park Place North
                                                                                                          Park Place Tower, Suite 1100
                                                                                                              Birmingham, AL 35203
                                                                                                                   205-322-8880


Frank et al. v. Equifax Inc. et    5:17-cv-01611   Northern District     BATTLE & WINN LLP;                      Robert E Battle                                                 rbattle@battlewinn.com         Consumer      Yes by CTO - 1
              al.                                    of Alabama          SERIOUS INJURY LAW                       Adam P Plant                                                   aplant@battlewinn.com
                                                                             GROUP, P.C.                       Harlan F Winn, III                                                hwinn@battlewinn.com
                                                                                                             BATTLE & WINN LLP
                                                                                                         2901 2nd Avenue South, Ste. 220                                       jheisler@sanfordheisler.com
                                                                                                             Birmingham, AL 35233                                              amelzer@sanfordheisler.com
                                                                                                                 205-397-8161                                                   ksharp@sanfordheisler.com

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                                                                                                               Kevin H Sharp
                                                                                                       SANFORD HEISLER SHARP LLP
                                                                                                         1350 Avenue of the Americas
                                                                                                                 31st Floor
                                                                                                            New York, NY 10019
                                                                                                               646-402-5650

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                                                                                                     LAW OFFICES OF CHARLES JAMES II
                                                                                                              418 Scott Street
                                                                                                               P O Box 781
                                                                                                           Montgomery, AL 36101
                                                                                                               334-832-1001

   Frazier v. Equifax Inc.         1:17-cv-06587   Eastern District of                                      Edward B. Geller                                                         epbh@aol.com               Consumer      Yes by CTO - 1
                                                       New York                                        EDWARD B. GELLER, ESQ., P.C.
                                                                                                            15 Landing Way                                                     jheisler@sanfordheisler.com
                                                                                                            Bronx, NY 10464
                                                                                                             914-473-6783




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                                                                              Plaintiffs' Counsel Table
                                                                In re: Equifax, Inc., Customer Data Security Breach Litigation
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                                                                                         MDL No. 2800
      Case Name                 Case Number        Original            Local Counsel               Plaintiffs' Counsel & Contact Information                                         Email Addresses            Consumer,        Transfer
                                 & Original         Court                                                                                                                                                       Financial or      Status
                                   Court                                                                                                                                                                       Small Business
    Fried v. Equifax Inc.        3:17-cv-01955   Southern District                                                 Joseph N. Kravec, Jr.                                              jkravec@fdpklaw.com         Consumer      Yes by CTO - 1
                                                   of California                                          Feinstein Doyle Payne & Kravec, LLC
                                                                                                                    429 Fourth Avenue
                                                                                                           Law & Finance Building, Suite 1300
                                                                                                                   Pittsburgh, PA 15219
                                                                                                                       412-281-8400


   Friedman & Acosta v.          1:17-cv-07022    District of New                                                   Christopher A. Seeger                                           cseeger@seegerweiss.com       Consumer
 Equifax, Inc. and Equifax                        Jersey (Camden                                                    SEEGER WEISS LLP
 Information Services LLC                            Division)                                                    550 Broad Street Suite 920
                                                                                                                      Newark, NJ 07102
                                                                                                                        888-610-6574


Fuhrman v. Equifax Inc. et al    2:17-cv-13508   Eastern District of Aidenbaum Schloff and Bloom                     Kevin Sharp                                                   ksharp@sanfordheisler.com      Consumer      Yes by CTO - 1
                                                     Michigan                  PLLC                        SANFORD HEISLER SHARP, LLP
                                                                                                             611 Commerce St., Suite 3100
                                                                                                                 Nashville, TN 37203
                                                                                                                    615-434-7003
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                                                                                                                  Guido G. Aidenbaum                                                 rbloom@aidenbaum.com
                                                                                                                      Ryan Bloom                                                      eindig@aidenbaum.com
                                                                                                                      Sara Sturing                                                   ssturing@aidenbaum.com
                                                                                                                      Elliott Indig
                                                                                                           Aidenbaum Schloff and Bloom PLLC
                                                                                                            6960 Orchard Lake Road, Ste 250
                                                                                                               West Bloomfield, MI 48322
                                                                                                                     248-865-6500




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                                                                      Plaintiffs' Counsel Table
                                                              In re: Equifax, Inc., Customer Data Security Breach Litigation
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     Case Name                 Case Number      Original          Local Counsel   Plaintiffs' Counsel & Contact Information                                            Email Addresses                Consumer,        Transfer
                                & Original       Court                                                                                                                                                Financial or      Status
                                  Court                                                                                                                                                              Small Business
Gallant, Jr. v. Equifax Inc.    8:17-cv-02712   District of                                        Richard V. Falcon                                               billy.murphy@murphyfalcon.com        Consumer      Yes by CTO - 1
                                                 Maryland                                       William H. Murphy, Jr.                                            hassan.murphy@murphyfalcon.com
                                                (Greenbelt                                      William H. Murphy, III                                            richard.falcon@murphyfalcon.com
                                                 Division)                                     Murphy, Falcon & Murphy
                                                                                               One South Street 23rd Floor                                          rweltchek@wmwlawfirm.com
                                                                                                 Baltimore, MD 21202
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                                                                                     WELTCHEK MALLAHAN & WELTCHEK, LLC                                                 jweston@sackslaw.com
                                                                                          2330 West Joppa Road, Suite 203
                                                                                               Lutherville, MD 21093
                                                                                                   410-825-5287

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                                                                                             Sacks Weston Diamond LLC
                                                                                            1845 Walnut Street, Suite 1600
                                                                                               Philadelphia, PA 19103
                                                                                                    215 925  8200
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                                                                                         77 West Washington Street, Suite 1220                                      dkrieger@hainesandkrieger.com
                                                                                                  Chicago, IL 60602
                                                                                                   312-440-0020                                                   matthew.knepper@knepperclark.com
                                                                                                                                                                    miles.clark@knepperclark.com
                                                                                                   David H. Krieger
                                                                                                    George Haines                                                    seanpayne@spaynelaw.com
                                                                                              HAINES & KRIEGER, LLC
                                                                                             8985 S. Eastern Ave Suite 350
                                                                                                Henderson, NV 89123
                                                                                                     702-880-5554

                                                                                                 Matthew I. Knepper
                                                                                                   Miles N. Clark
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                                                                                         10040 W. Cheyenne Ave Suite 170-109
                                                                                                Las Vegas, NV 89129
                                                                                                    702-825-6060

                                                                                                    Sean N. Payne
                                                                                              PAYNE LAW FIRM LLC
                                                                                          9550 S. Eastern Ave Suite 253-A213
                                                                                                 Las Vegas, NV 89123
                                                                                                     702-952-2733




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                                                                              Plaintiffs' Counsel Table
                                                                   In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                  Case Number        Original           Local Counsel          Plaintiffs' Counsel & Contact Information                                       Email Addresses           Consumer,        Transfer
                                  & Original         Court                                                                                                                                              Financial or      Status
                                    Court                                                                                                                                                              Small Business
Galpern v. Equifax Inc and        5:17-cv-05265   Northern District                                            Scott E. Cole                                                    scole@scalaw.com          Consumer
     Trusted ID, Inc.                             of California (San                                          Corey B. Bennett                                                 cbennett@scalaw.com
                                                    Jose Division)                                    SCOTT COLE & ASSOCIATES, APC
                                                                                                         1970 Broadway Ninth Floor
                                                                                                             Oakland, CA 94612
                                                                                                               510-891-9800

                                                                                                           Timothy Paul Rumberger
                                                                                                  LAW OFFICES OF TIMOTHY P. RUMBERGER
                                                                                                               1339 Bay Street
                                                                                                             Alameda, CA 94501
                                                                                                                510-841-5500
Gastineau et al v. Equifax,       1:17-cv-03769   Northern District    Holzer & Holzer, LLC                 Alexandria Patel Rankin                                            arankin@holzerlaw.com      Consumer
           Inc.                                     of Georgia                                                 Corey D. Holzer                                                 cholzer@holzerlaw.com
                                                                                                             Holzer & Holzer, LLC
                                                                                                      1200 Ashford Center North, Suite 410
                                                                                                              Atlanta, GA 30338
                                                                                                                770-392-0090

                                                                                                                        Jim Wyly
                                                                                                                   Wyly Rommel, PLLC
                                                                                                                     4004 Texas Blvd
                                                                                                                   Texarkana, TX 75503
                                                                                                                      903-334-8646


    Gay v. Equifax, Inc.          1:17-cv-02417      District of                                                         PRO SE                                                  no email provided        Consumer      Yes by CTO - 1
                                                     Colorado                                                       William Alan Gay
                                                                                                                   2084 Creighton Drive
                                                                                                                    Golden, CO 80401

Geller et al. v. Equifax, Inc.    9:17-cv-81056   Southern District                                           Steven C. Holzman                                               scholzmanlaw@gmail.com      Consumer      Yes by CTO - 1
                                                     of Florida                                         Law office of Steven C. Holzman
                                                                                                          4400 North Federal Highway                                          mwites@wklawyers.com
                                                                                                          Lighthouse Point, FL 33064
                                                                                                                 561-789-5366

                                                                                                               Marc Aaron Wites
                                                                                                                Wites Law Firm
                                                                                                          4400 North Federal Highway
                                                                                                          Lighthouse Point, FL 33064
                                                                                                                954-570-8989




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                                                                             Plaintiffs' Counsel Table
                                                              In re: Equifax, Inc., Customer Data Security Breach Litigation
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     Case Name                Case Number        Original             Local Counsel               Plaintiffs' Counsel & Contact Information                                           Email Addresses                Consumer,       Transfer
                               & Original         Court                                                                                                                                                              Financial or     Status
                                 Court                                                                                                                                                                              Small Business
Gerber Federal Credit Union    1:17-cv-04388   Northern District         Anthony C. Lake                           Bryan Bleichner                                                bbleichner@chesnutcambronne.com       Financial
    et al v. Equifax Inc.                        of Georgia              Thomas Withers                          Chestnut Cambronne
                                                                   Gillen Withers & Lake, LLC            17 Washington Avenue North, Suite 300                                         cvanhorn@bfvlaw.com
                                                                    3490 Piedmont Road, N.E.                   Minneapolis, MN 55401
                                                                   One Securities Centre, Suite                      612-339-7300                                                      ecomite@scott-scott.com
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                                                                        Atlanta, GA 30305                              Erin Green Comite
                                                                          404-842-9700                                  Joseph Guglielmo                                              Khriebel@locklaw.com
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                                                                         404-261-7711                            Karen Hanson Riebel                                                amurray@murray-lawfirm.com
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                                                                                                                   Arthur M. Murray
                                                                                                                   Caroline Thomas
                                                                                                                   Murray Law Firm
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                                                                                                                   1100 IDS Center                                                    glynch@carlsonlynch.com
                                                                                                                 80 South 8th Street
                                                                                                               Minneapolis, MN 55402
                                                                                                                    612-341-0400

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                                                                                                                 Carlson Lynch Sweet
                                                                                                                Kilpela & Carpenter LLP
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                                                                                                                 Pittsburgh, PA 15222
                                                                                                                     412-322-9243




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                                                                       Plaintiffs' Counsel Table
                                                             In re: Equifax, Inc., Customer Data Security Breach Litigation
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    Case Name                Case Number        Original           Local Counsel   Plaintiffs' Counsel & Contact Information                                         Email Addresses                Consumer,       Transfer
                              & Original         Court                                                                                                                                              Financial or     Status
                                Court                                                                                                                                                              Small Business
 Gerstein et al v. Equifax    1:17-cv-05048   Northern District                                     David H. Krieger                                                  notices@dannlaw.com             Consumer
Information Services LLC                        of Georgia                                           George Haines
                                                                                                Haines and Krieger, LLC
                                                                                            8985 S. Eastern Avenue, Suite 130
                                                                                                 Henderson, NV 89123
                                                                                                      702-880-5554

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                                                                                                    P.O. Box 6031040
                                                                                              2728 Euclid Avenue, Suite 300
                                                                                                  Cleveland, OH 44103
                                                                                                      216-373-0539

Gersten and Obradovich v.     3:17-cv-01828   Southern District                                   Edward D. Chapin                                                  ksharp@sanfordheisler.com         Consumer        Yes
       Equifax Inc.                           of California (San                            SANFORD HEISLER SHARP, LLP                                             dfuschetti@sanfordheisler.com
                                               Diego Division)                               655 West Broadway, Suite 1700                                         echapin2@sanfordheisler.com
                                                                                                 San Diego, CA 92101
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                                                                                                     415-795-2022

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                                                                          Plaintiffs' Counsel Table
                                                              In re: Equifax, Inc., Customer Data Security Breach Litigation
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     Case Name                Case Number        Original           Local Counsel        Plaintiffs' Counsel & Contact Information                                          Email Addresses                Consumer,        Transfer
                               & Original         Court                                                                                                                                                    Financial or      Status
                                 Court                                                                                                                                                                    Small Business
 Gibson v. Equifax Inc.        1:17-cv-00466   District of Hawaii   Bickerton Dang LLP                          James J. Bickerton                                            bickerton@bsds.com             Consumer      Yes by CTO - 1
                                                                                                              Bickerton Dang LLLP
                                                                                                                  Fort St Tower                                           echapin2@sandfordheisler.com
                                                                                                             745 Fort Street, Suite 801                                   dfuschetti@sanfordheisler.com
                                                                                                               Honolulu, HI 96813
                                                                                                                    599-3811
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                                                                                                        111 Sutter St., Suite 975
                                                                                                       San Francisco, CA 94104
                                                                                                            415-795-2022

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                                                                                                                Honolulu, HI 96813
                                                                                                                  (808) 599-3811

                                                                                                              Kevin Sharp
                                                                                                       Sanford Heisler Sharp, LLP
                                                                                                     611 Commerce Street, Suite 3100
                                                                                                          Nashville, TN 37203
                                                                                                             615-434-7000



 Gibson v. Equifax Inc.        5:17-cv-00973   Western District                                           Joshua D. Wells                                                    jdw@federmanlaw.com             Consumer
                                                of Oklahoma                                             William B. Federman                                                  wbf@federmanlaw.com
                                               (Oklahoma City                                       FEDERMAN & SHERWOOD
                                                  Division)                                         10205 N. Pennsylvania Avenue
                                                                                                      Oklahoma City, OK 73120
                                                                                                           405-235-1560



Gladwell et al. v. Equifax,    5:17-cv-04061   Southern District                                           Leonard A. Bennett                                               lenbennett@clalegal.com          Consumer      Yes by CTO - 1
       Inc. et al                              of West Virginia                                          Elizabeth Wilson Hanes                                              elizabeth@clalegal.com
                                                                                                          Craig C. Marchiando
                                                                                               CONSUMER LITIGATION ASSOCIATES
                                                                                                763 J. Clyde Morris Boulevard, Suite 1-A
                                                                                                        Newport News, VA 23601
                                                                                                              757-930-3660




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                                                                             Plaintiffs' Counsel Table
                                                                In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                 Case Number        Original           Local Counsel            Plaintiffs' Counsel & Contact Information                                           Email Addresses               Consumer,        Transfer
                                 & Original         Court                                                                                                                                                        Financial or      Status
                                   Court                                                                                                                                                                        Small Business
 Goldweber v. Equifax Inc.       5:17-cv-05586   Northern District                                            Willem F. Jonckheer                                              wjonckheer@schubertlawfirm.com      Consumer      Yes by CTO - 1
                                                  of California                                                Noah M. Schubert
                                                                                                               Robert C. Schubert                                                    nschubert@sjk.law
                                                                                                        Schubert Jonckheer & Kolbe LLP
                                                                                                      Three Embarcadero Center, Suite 1650                                     rschubert@schubertlawfirm.com
                                                                                                            San Francisco, CA 94111
                                                                                                                 (415) 788-4220

 Gottesman et al v. Equifax,     1:17-cv-03498   Northern District   Evangelista Worley, LLC                  David James Worley                                                     jim@ewlawllc.com              Consumer
           Inc.                                    of Georgia                                               Evangelista Worley, LLC                                                  david@ewlawll.com
                                                                                                         8100 A Roswell Road, Suite 100                                              kristi@ewlawll.com
                                                                                                               Atlanta, GA 30350
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                                                                                                               210 Summit Avenue
                                                                                                               Montvale, NJ 07645
                                                                                                                  201-391-7600


 Gottlieb, et al. v. Equifax,    1:17-cv-07615   District of New                                               Neil Grossman                                                          neil@bgandg.com              Consumer      Yes by CTO - 1
             Inc.                                     Jersey                                      BRONSTEIN, GEWIRTZ & GROSSMAN, ESQS.
                                                                                                        144 N. Beverqyck Road, #187
                                                                                                          Lake Hiawatha, NJ 07034
                                                                                                               973-335-6409

Gray & Garthright v. Equifax     6:17-cv-06095   Western District                                          Annabell L. Patterson                                                                                   Consumer
 Information Services, LLC                       of Arkansas (Hot                                     ANNABELLE LEE PATTERSON, PLC
                                                     Springs)                                               646 Quapaw Avenue
                                                                                                           Hot Springs, AR 71901
                                                                                                               501-701-0027




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                                                                                 Plaintiffs' Counsel Table
                                                                In re: Equifax, Inc., Customer Data Security Breach Litigation
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     Case Name                 Case Number        Original                Local Counsel               Plaintiffs' Counsel & Contact Information                                              Email Addresses                  Consumer,        Transfer
                                & Original         Court                                                                                                                                                                      Financial or      Status
                                  Court                                                                                                                                                                                      Small Business
Green et al v. Equifax, Inc.    1:17-cv-03487   Northern District     Law Offices of David A. Bain,                   David Andrew Bain                                                        dbain@bain-law.com               Consumer
                                                  of Georgia                      LLC                          Law Offices of David A. Bain, LLC
                                                                                                                      1050 Promenade II
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                                                                                                                        Jashua H. Grabar
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                                                                                                                  1735 Market Street, Suite 3750
                                                                                                                     Philadelphia, PA 19103
                                                                                                                          267-507-6085

 Greenlee v. Equifax, Inc       5:17-cv-01929   Central District of                                                    Jared M. Hartman                                                jared@sandiegoconsumerattorneys.com      Consumer      Yes by CTO - 1
                                                   California                                                            Babak Semnar                                                    bobsandiegoconsumerattorneys.com
                                                                                                                 SEMNAR & HARTMAN LLP
                                                                                                               400 South Melrose Drive, Suite 209
                                                                                                                        Vista, CA 92081
                                                                                                                         619-500-4187

Greenwald et al. v. Equifax,    1:17-cv-00438    District of New                                                     Charles G. Douglas, III                                                  mail@nhlawoffice.com              Consumer      Yes by CTO - 1
          Inc.                                     Hampshire                                                      Douglas Leonard & Garvey PC
                                                                                                                        14 South St, Ste 5
                                                                                                                      Concord, NH 03301
                                                                                                                          603 224-1988

Grossberg et al. v. Equifax     1:17-cv-05280   Eastern District of                                                       Orin R. Kurtz                                                       okurtz@gardylaw.com               Consumer
          Inc.                                      New York                                                         GARDY & NOTIS, LLP
                                                    (Brooklyn                                                126 East 56th Street, 8th Floor, Tower 56
                                                     Division)                                                        New York, NY 10022
                                                                                                                          212-905-0509




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                                                                                Plaintiffs' Counsel Table
                                                                  In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                                   Case No. 1:17-md-2800-TWT
                                                                                           MDL No. 2800
      Case Name                   Case Number        Original            Local Counsel            Plaintiffs' Counsel & Contact Information                                          Email Addresses               Consumer,        Transfer
                                   & Original         Court                                                                                                                                                        Financial or      Status
                                     Court                                                                                                                                                                        Small Business
 Gulf Winds Federal Credit         1:17-cv-03873   Northern District    POPE MCGLAMRY, P.C.                     Michael Lee McGlamry                                                 mmcglamry@pmkm.com               Financial
 Union v. Equifax, Inc. et al                        of Georgia                                                    N. Kirkland Pope                                                   kirkpope@pmkm.com
                                                                                                                 Pope McGlamry, P.C.
                                                                                                                   P.O. Box 191625
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                                                                                                                     404-523-7706                                                   chrish@pittmandutton.com
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                                                                                                                     Jonathan Mann
                                                                                                            Pittman, Dutton & Hellums, P.C.
                                                                                                                 2001 Park Place North
                                                                                                             Park Place Tower, Suite 1100
                                                                                                                 Birmingham, AL 35203
                                                                                                                      205-322-8880
Gulley v. Equifax Inc. et al.      4:17-cv-04088   Western District      Steele, Wright, Gray &                   Marshall Alan Wright                                             marshallwright@sbcglobal.net      Consumer      Yes by CTO - 1
                                                    of Arkansas            Hitchinson, PLLC             Steele, Wright, Gray & Hitchinson, PLLC
                                                                                                                    523 Front Street
                                                                                                                      P.O. Box 588
                                                                                                                 Forrest City, AR 72336                                             ksharp@sanfordheisler.com
                                                                                                                     (870) 633-8575

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                                                                                                                 Nashville, TN 37203
                                                                                                                    615-434-7001

Halpin, et al. v. Equifax, Inc.    1:17-cv-03872    Northern District   Evangelista Worley, LLC                  David James Worley                                                    david@ewlawllc.com            Consumer
                                                       of Georgia                                                James M. Evangelista                                                   jim@ewlawllc.com
                                                   (Atlanta Division)                                          Kristi Stahnke McGregor                                                 krisit@ewlawllc.com
                                                                                                               Evangelista Worley, LLC
                                                                                                            8100 A Roswell Road, Suite 100
                                                                                                                  Atlanta, GA 30350
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                                                                                                             10205 N. Pennsylvania Avenue                                            gnecf@classcounsel.com
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                                                                                                         2200 Larkspur Landing Circle, Suite 101
                                                                                                                  Larkspur, CA 94939
                                                                                                                     415-477-6700




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                                                                             Plaintiffs' Counsel Table
                                                                In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                                 Case No. 1:17-md-2800-TWT
                                                                                         MDL No. 2800
     Case Name                 Case Number        Original            Local Counsel          Plaintiffs' Counsel & Contact Information                                         Email Addresses               Consumer,        Transfer
                                & Original         Court                                                                                                                                                     Financial or      Status
                                  Court                                                                                                                                                                     Small Business
Hamilton et al v. Equifax,      1:17-cv-05266   Central District of   Green & Noblin, P.C.                     Robert S. Green                                                 gnecf@classcounsel.com          Consumer      Yes by CTO - 1
          Inc.                                     California                                                James Robert Noblin
                                                                                                             Green and Noblin PC
                                                                                                    2200 Larkspur Landing Circle, Suite 101
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                                                                                                                415-477-6700
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                                                                                                          Oklahoma City, OK 73120
                                                                                                                405-235-1560
  Hamre et al v. Equifax        3:17-cv-00196   District of North                                              Jordan M. Lewis                                                     jml@kulaw.com               Consumer      Yes by CTO - 1
Information Services, LLC                            Dakota                                                     Kelley Uustal
                                                                                                            Courthouse Law Plaza                                               mmiller@solberglaw.com
                                                                                                         700 SE Third Ave., Suite 300                                          tmiller@solberglaw.com
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                                                                                                             Todd Michael Miller
                                                                                                       SOLBERG STEWART MILLER
                                                                                                                P.O. Box 1897
                                                                                                            Fargo, ND 58107-1897
                                                                                                                701-237-3166
Harper v. Equifax Inc. et al    1:17-cv-11785     District of                                                   Jeremy Heisler                                                jheisler@sanfordheisler.com      Consumer      Yes by CTO - 1
                                                 Massachusetts                                                Andrew C. Melzer                                                amelzer@sanfordheisler.com
                                                                                                          Sanford Heisler Sharp, LLP                                          amiller@sanfordheisler.com
                                                                                                    1350 Avenue of the Americas, 31st Floor                                    ksharp@sanfordheisler.com
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                                                                                  Plaintiffs' Counsel Table
                                                                     In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                                      Case No. 1:17-md-2800-TWT
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      Case Name                   Case Number        Original              Local Counsel            Plaintiffs' Counsel & Contact Information                                          Email Addresses               Consumer,        Transfer
                                   & Original         Court                                                                                                                                                          Financial or      Status
                                     Court                                                                                                                                                                          Small Business
Hebrlee v. Equifax, Inc. et al.    1:17-cv-07120   Northern District     Duncan Law Group, LLC                         Robert R Duncan                                                rrd@duncanlawgroup.com           Consumer      Yes by CTO - 1
                                                      of Illinois                                                    James Henry Podolny                                               jp@duncanlawgroup.com
                                                                                                                    Duncan Law Group, LLC
                                                                                                                    161 N. Clark, Suite 2550                                          ksharp@sanfordheisler.com
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 Henderson v. Equifax, Inc.        1:17-cv-03829   Northern District     Conley Griggs Partin LLP                    Ranse M. Partin                                                   ranse@conletgriggs.com          Consumer
                                                     of Georgia                                               Conley Griggs Partin, LLP- GA
                                                                                                                 Building One, Suite 300
                                                                                                              4200 Northside Parkway, NW
                                                                                                                   Atlanta, GA 30327
                                                                                                                      404-467-1155

Henderson v. Equifax, Inc. et      0:17-cv-04289       District of                                                   Joseph C Bourne                                                  jbourne@gustafsongluek.com       Consumer      Yes by CTO - 1
             al                                        Minnesota                                                  Kaitlyn Leeann Dennis                                               kdennis@gustafsongluek.com
                                                                                                                    Daniel E Gustafson                                              dgustafson@gustafsongluek.com
                                                                                                                    Daniel C Hedlund                                                 dhedlund@gustafsongluek.com
                                                                                                                       Eric S Taubel                                                  etaubel@gustafsongluek.com
                                                                                                                  Gustafson Gluek PLLC
                                                                                                              120 South 6th Street, Suite 2600                                         dgallucci@nastlaw.com
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                                                                                                                     Dianne M. Nast
                                                                                                                     Joseph N. Roda
                                                                                                                      NastLaw LLC
                                                                                                              1101 Market Street, Suite 2801
                                                                                                                 Philadelphia, PA 19107
                                                                                                                      215-923-9300

Hensley v. Equifax, Inc. and       5:17-cv-04105   Eastern District of                                               Dianne M. Nast                                                      dnast@nastlaw.com             Consumer      Yes on 12/11/17
Equifax Information Services                         Pennslyvania                                                   NASTLAW LLC
            LLC                                       (Allentown                                              1101 Market Street Suite 2801
                                                       Division)                                                 Philadelphia, PA 19107
                                                                                                                      215-923-9300




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                                                                         Plaintiffs' Counsel Table
                                                          In re: Equifax, Inc., Customer Data Security Breach Litigation
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   Case Name              Case Number        Original             Local Counsel               Plaintiffs' Counsel & Contact Information                                           Email Addresses                Consumer,       Transfer
                           & Original         Court                                                                                                                                                              Financial or     Status
                             Court                                                                                                                                                                              Small Business
Heritage Federal Credit    1:17-cv-05265   Northern District         Anthony C. Lake                           Bryan Bleichner                                                bbleichner@chesnutcambronne.com       Financial
 Union et al v. Equifax                      of Georgia              Thomas Withers                          Chestnut Cambronne
                                                               Gillen Withers & Lake, LLC            17 Washington Avenue North, Suite 300                                         cvanhorn@bfvlaw.com
                                                                3490 Piedmont Road, N.E.                   Minneapolis, MN 55401
                                                               One Securities Centre, Suite                      612-339-7300                                                      ecomite@scott-scott.com
                                                                           1050                                                                                                  jguglielmo@scott-scott.com
                                                                    Atlanta, GA 30305                              Erin Green Comite
                                                                      404-842-9700                                  Joseph Guglielmo                                              Khriebel@locklaw.com
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                                                               Berman Fink Van Horn P.C.                              P.O. Box 192                                                 aclake@gwllawfirm.com
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                                                                   Atlanta, GA 30305                                                                                            smurray@murray-lawfirm.com
                                                                     404-261-7711                            Karen Hanson Riebel                                                amurray@murray-lawfirm.com
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                                                                                                                 412-322-9243




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                                                                              Plaintiffs' Counsel Table
                                                                 In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                  Case Number        Original            Local Counsel           Plaintiffs' Counsel & Contact Information                                          Email Addresses            Consumer,       Transfer
                                  & Original         Court                                                                                                                                                    Financial or     Status
                                    Court                                                                                                                                                                    Small Business
Highfield v. Equifax, Inc. and    5:17-cv-01567   Northern District   POPE MCGLAMRY, P.C.                         Chris T. Hellums                                                chrish@pittmandutton.com      Consumer        Yes
    Equifax Information                             of Alabama                                                   Johnathan S. Mann                                                jonm@pittmandutton.com
       Solutions, LLC                              (Northeastern                                                 Michael C. Bradley                                               mikeb@pittmandutton.com
                                                     Division)                                                    Austin B. Whitten                                              austinw@pittmandutton.com
                                                                                                          Pittman, Dutton & Hellums, P.C.
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 Horne et al v. Equifax Inc.      1:17-cv-03713   Northern District   Robbins Geller Rudman &                      John C. Herman                                                   jherman@rgrdlaw.com         Consumer
                                                    of Georgia              Dowd, LLP                                Paul J. Geller                                                  pgeller@rgrdlaw.com
                                                                                                                 Stuart A. Davidson                                                sdavidson@rgrdlaw.com
                                                                                                      Robbins Geller Rudman & Dowd, LLP - GA
                                                                                                                    Monarch Plaza                                                    robl@hbsslaw.com
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                                                                                Plaintiffs' Counsel Table
                                                                In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                Case Number        Original               Local Counsel              Plaintiffs' Counsel & Contact Information                                        Email Addresses              Consumer,        Transfer
                                & Original         Court                                                                                                                                                          Financial or      Status
                                  Court                                                                                                                                                                          Small Business
   House v. Equifax, Inc.       4:17-cv-00392   Southern District        Galligan & Reid PC                          Brian P Galligan                                              bgalligan@galliganlaw.com        Consumer      Yes by CTO - 1
                                                    of Iowa                                                      GALLIGAN & REID PC                                                ksharp@sanfordheisler.com
                                                                                                                 300 Walnut Street, Suite 5
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                                                                                                                     615-434-7001




   House v. Equifax, Inc.       2:17-cv-02523   District of Kansas                                                Mitchell L. Burgess                                               mitch@burgesslawkc.com          Consumer
                                                  (Kansas City                                                  BURGESS LAW FIRM
                                                    Division)                                                4310 Madison Avenue Suite 100
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Hyatt v. Equifax Information    1:17-cv-01670   Eastern District of   First Albrecht & Blondis SC                   Lawrence G Albrecht                                             lalbrecht@fabattorneys.com      Consumer      Yes by CTO - 1
     Services LLC et al                             Wisonsin                                                            James P End                                                    jend@fabattorneys.com
                                                                                                                  Christopher G Meadows                                            cmeadows@fabattorneys.com
                                                                                                                First Albrecht & Blondis SC
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                                                                                                                       414-271-1972

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                                                                             Plaintiffs' Counsel Table
                                                              In re: Equifax, Inc., Customer Data Security Breach Litigation
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     Case Name                Case Number        Original             Local Counsel               Plaintiffs' Counsel & Contact Information                                           Email Addresses                Consumer,        Transfer
                               & Original         Court                                                                                                                                                              Financial or      Status
                                 Court                                                                                                                                                                              Small Business
  Ialacci v. Equifax, Inc.     5:17-cv-05647   Northern District                                                       Harry Shulman                                                 harry@shulmanlawfirm.com          Consumer      Yes by CTO - 1
                                                of California                                                          Shulman Law
                                                                                                                     44 Montgomery St.                                                weiner@halunenlaw.com
                                                                                                                         Suite 3830
                                                                                                                  San Francisco, CA 94104
                                                                                                                       415-901-0505

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                                                                                                                        Halunen Law
                                                                                                                       1650 IDS Center
                                                                                                                    80 South Eighth Street
                                                                                                                    Minneapolis, MN 55402
                                                                                                                        612-605-4098

 Independent Community         1:17-cv-04756   Northern District         Anthony C. Lake                           Bryan Bleichner                                                bbleichner@chesnutcambronne.com       Financial
Bankers of America et al v.                      of Georgia              Thomas Withers                          Chestnut Cambronne
      Equifax Inc.                                                 Gillen Withers & Lake, LLC            17 Washington Avenue North, Suite 300                                         cvanhorn@bfvlaw.com
                                                                    3490 Piedmont Road, N.E.                   Minneapolis, MN 55401
                                                                   One Securities Centre, Suite                      612-339-7300                                                      ecomite@scott-scott.com
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                                                                        Atlanta, GA 30305                              Erin Green Comite
                                                                          404-842-9700                                  Joseph Guglielmo                                              Khriebel@locklaw.com
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                                                                         404-261-7711                            Karen Hanson Riebel                                                amurray@murray-lawfirm.com
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                                                                         Plaintiffs' Counsel Table
                                                              In re: Equifax, Inc., Customer Data Security Breach Litigation
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     Case Name                Case Number        Original          Local Counsel         Plaintiffs' Counsel & Contact Information                                           Email Addresses              Consumer,        Transfer
                               & Original         Court                                                                                                                                                   Financial or      Status
                                 Court                                                                                                                                                                   Small Business
                                                                                                       Brian C. Gudmundson                                               brian.gudmundson@zimmreed.com
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                                                                                                            412-322-9243

  Irwin v. Equifax, Inc.       5:17-cv-05735   Northern District                                          Derek G. Howard                                                  derek@derekhowardlaw.com         Consumer      Yes by CTO - 1
                                                of California                                           Ashley Marie Romero                                                ashley@derekhowardlaw.com
                                                                                                   Derek G. Howard Law Firm, Inc.
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                                                                                                        San Diego, CA 92131
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 Jimenez v. Equifax, Inc.      1:17-cv-03885   Northern District   Kevin T Moore, P.C.                   Jeff S. Westerman                                                    ktm@ktmtriallaw.com           Consumer
                                                 of Georgia                                             Westerman Law Corp.
                                                                                                  1875 Century Park East, Suite 2200
                                                                                                       Los Angeles, CA 90067
                                                                                                           310-698-7880

                                                                                                        Kevin Trent Moore
                                                                                                       Kevin T. Moore, P.C.
                                                                                                 6111 Peachtree Dunwoody RD., NE
                                                                                                       Building C, Suite 201
                                                                                                         Atlanta, GA 30328
                                                                                                           770-396-3622


Johns et al v. Equifax Inc.    5:17-cv-05372   Northern District                                           Michael W. Sobol                                                    msobol@lchb.com              Consumer      Yes by CTO - 1
                                                of California                                  Lieff Cabraser Heimann & Bernstein, LLP
                                                                                                       Embarcadero Center West
                                                                                                      275 Battery Street, 29th Floor
                                                                                                     San Francisco, CA 94111-3339
                                                                                                            (415) 956-1000




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                                                                               Plaintiffs' Counsel Table
                                                                    In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                   Case Number        Original            Local Counsel          Plaintiffs' Counsel & Contact Information                                          Email Addresses               Consumer,        Transfer
                                   & Original         Court                                                                                                                                                      Financial or      Status
                                     Court                                                                                                                                                                      Small Business
Johnson et al v. Equifax, Inc      3:17-cv-03135   Northern District                                             Charles Austin Reams                                             austin@reamslawfirm.com          Consumer      Yes by CTO - 1
                                                       of Texas                                                       Reams Law
                                                                                                               9208 North Kelley Avenue
                                                                                                               Oklahoma City, OK 73131
                                                                                                                    405-285-6878


Johnson et al v. Equifax, Inc      3:17-cv-02464   Northern District                                                John Green                                                       jlgreen488@aol.com            Consumer      Yes by CTO - 1
            et al                                      of Texas                                          John L Green, CPA, Attorney at Law
                                                                                                          4888 Loop Central Drive, Suite 445                                     craig.hemphill@ckhlopllc.com
                                                                                                                 Houston, TX 77081
                                                                                                                   713-660-7400

                                                                                                                Craig Kyle Hemphill                                              mrichman@marcrichman.com
                                                                                                       Craig Kyle Hemphill Law Offices PLLC
                                                                                                           400 N St Paul Street, Suite 700
                                                                                                                  Dallas, TX 75201
                                                                                                                   214-517-1929

                                                                                                                  David M Murphy
                                                                                                      Law Offices of Murphy & Associates PLLC
                                                                                                            25511 Budde Road, No 1901
                                                                                                             The Woodlands, TX 77380
                                                                                                                    281- 475-2022

                                                                                                                 Marc H Richman
                                                                                                          Law Offices of Marc H Richman
                                                                                                           304 S Record Street, Suite 200
                                                                                                                 Dallas, TX 75202
                                                                                                                  214-742-3133

  Johnson v. Equifax Inc.          6:17-cv-00100      District of                                             Robert Farris-Olsen                                                   rfolsen@mswdlaw.com            Consumer      Yes by CTO - 1
                                                      Montana                                    MORRISON, SHERWOOD, WILSON & DEOLA, PLLP
                                                                                                            401 N Last Chance Gulch
                                                                                                                  PO Box 557
                                                                                                               Helena, MT 59624
                                                                                                                 406-442-3261

Jones et al. v. Equifax Inc. et    3:17-cv-00211   Northern District   Gordon Shaw Law Group,                      Kevin Sharp                                                    ksharp@sanfordheisler.com        Consumer      Yes by CTO - 1
              al.                                   of Mississippi              PLLC                     SANFORD HEISLER SHARP, LLP
                                                                                                          611 Commerce Street, Suite 3100                                            ashaw@lawjhg.com
                                                                                                               Nashville, TN 37203
                                                                                                                  615-434-7001

                                                                                                             Amber Griffin Shaw
                                                                                                       GORDON SHAW LAW GROUP, PLLC
                                                                                                                P.O. Box 846
                                                                                                            Covington, TN 38019
                                                                                                               901-476-7100




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                                                                               Plaintiffs' Counsel Table
                                                                 In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                 Case Number        Original             Local Counsel            Plaintiffs' Counsel & Contact Information                                        Email Addresses           Consumer,          Transfer
                                 & Original         Court                                                                                                                                                   Financial or        Status
                                   Court                                                                                                                                                                   Small Business
   Joof & Sogomonyan v.          2:17-cv-06659   Central District of                                                 Armen Kiramijyan                                             akiramijyan@kaass.com        Consumer            Yes
        Equifax, Inc.                                California                                                      Hovsep Hovsepyan                                             hhovsepyan@kaass.com
                                                 (Western Division                                                     KAASS LAW
                                                  - Los Angeles)                                                  313 East Broadway # 944
                                                                                                                    Glendale, CA 91209
                                                                                                                       310-943-1171


Jorge & Durrang v. Equifax       2:17-cv-05404   Eastern District of                                               Ryan L. Gentile                                                                             Consumer
          Inc.                                       New York                                                     Gus M. Farinella
                                                 (Central Division)                                 LAW OFFICES OF GUS MICHAEL FARINELLA
                                                                                                           110 Jericho Turnpike Suite 100
                                                                                                               Floral Park, NY 11001
                                                                                                                    516-326-2333

Kademi, LLC et al v. Equifax,    1:17-cv-03886   Northern District       The Doss Firm, LLC                         Jason R. Doss                                                 jasondoss@dossfirm.com     Small Business
           Inc.                                    of Georgia                                                     Samuel T. Brannan                                               stbrannan@dossfirm.com
                                                                                                                 The Doss Firm, LLC
                                                                                                             36 Trammell Street, Suite 101
                                                                                                                 Marietta, GA 30066
                                                                                                                    770-578-1314

Kalmick et al v. Equifax Inc.    1:17-cv-00954    Western District                                                  Paul Colley, Jr.                                                paul@colleylaw.net         Consumer       Yes by CTO - 1
                                                    of Texas                                                          Jarrett Stone                                                jarrett@colleylaw.net
                                                                                                                   Colley Firm, P.C.
                                                                                                         12912 Hill Country Blvd., Suite F-234
                                                                                                                  Austin, TX 78738
                                                                                                                     512-477-2001


  Katz et al v. Equifax, Inc     1:17-cv-03798   Northern District     Evangelista Worley, LLC                  David James Worley                                                 david@ewlawllc.com          Consumer
                                                   of Georgia                                                   James M. Evangelista                                                jim@ewlawllc.com
                                                                                                              Kristi Stahnke McGregor                                              kristi@ewlawllc.com
                                                                                                              Evangelista Worley, LLC
                                                                                                           8100 A Roswell Road, Suite 100                                          jabraham@aftlaw.com
                                                                                                                 Atlanta, GA 30350
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                                                                                                          One Pennsylvania Plaza, Suite 2805
                                                                                                             New York, NY 10019-1910
                                                                                                                    212-279-5050



 Kealy et al v. Equifax, Inc.    1:17-cv-03443    Northern District                                             James M. Evangelista                                                jme@ewlawllc.com           Consumer            Yes
                                                     of Georgia                                                   David J. Worley                                                   david@ewlawll.com
                                                 (Atlanta Division)                                           Kristi Stahnke McGregor                                               kristi@ewlawll.com
                                                                                                           EVANGELISTA WORLEY, LLC
                                                                                                           8100 A Roswell Road, Suite 100
                                                                                                                 Atlanta, GA 30350
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                                                                            Plaintiffs' Counsel Table
                                                              In re: Equifax, Inc., Customer Data Security Breach Litigation
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     Case Name                Case Number        Original            Local Counsel            Plaintiffs' Counsel & Contact Information                                             Email Addresses                Consumer,        Transfer
                               & Original         Court                                                                                                                                                            Financial or      Status
                                 Court                                                                                                                                                                            Small Business
Kemp v. Equifax, Inc. et al    1:17-cv-00147   Northern District                                                Jason L. Nabors                                                   jason@langstonlawyers.com          Consumer      Yes by CTO - 1
                                                of Mississippi                                  SMITH, PHILLIPS, MITCHELL & SCOTT - Batesville
                                                                                                               P.O. Drawer 1586
                                                                                                             Batesville, MS 38606
                                                                                                                (662) 563-4613

    Kendall v. Equifax         1:17-cv-06922   District of New     Harris Lowry Manton, LLP                     Javier L. Merino                                                     jmerino@dannlaw.com             Consumer      Yes by CTO - 1
Information Services, LLC                           Jersey                                                  DANN & MERINO PC
                                                                                                        One Meadowlands Plaza, Suite 200                                             tom@attorneyzim.com
                                                                                                           East Rutherford, NJ 07073
                                                                                                                 201-355-3440                                                    dkrieger@hainesandkrieger.com
                                                                                                                                                                                 ghaines@hainesandkrieger.com
                                                                                                          Thomas A. Zimmerman, Jr.
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                                                                                                               Chicago, IL 60602
                                                                                                                312-440-0020

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                                                                                                          HAINES & KRIEGER, LLC
                                                                                                         8985 S. Eastern Ave., Suite 350
                                                                                                             Henderson, NV 89123
                                                                                                                 702-880-5554

                                                                                                                Andrew B. Sacks
                                                                                                                 John K. Weston
                                                                                                           Sacks Weston Diamond LLC
                                                                                                          1845 Walnut Street, Suite 1600
                                                                                                             Philadelphia, PA 19103
                                                                                                                  215-925-8200

                                                                                                              Matthew I. Knepper                                               matthew.knepper@knepperclark.com
                                                                                                                Miles N. Clark                                                   miles.clark@knepperclark.com
                                                                                                           KNEPPER & CLARK, LLC
                                                                                                      10040 W. Cheyenne Ave Suite 170-109                                         seanpayne@spaynelaw.com
                                                                                                             Las Vegas, NV 89129
                                                                                                                 702-825-6060                                                        asacks@sackslaw.com
                                                                                                                                                                                    jweston@sackslaw.com
                                                                                                                 Sean N. Payne
                                                                                                           PAYNE LAW FIRM LLC                                                       steve@hlmlawfirm.com
                                                                                                       9550 S. Eastern Ave Suite 253-A213                                            jeff@hlmlawfirm.com
                                                                                                              Las Vegas, NV 89123                                                   molly@hlmlawfirm.com
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                                                                                                            Madeline E. McNeeley
                                                                                                        HARRIS LOWRY MANTON LLP
                                                                                                          1201 Peachtree St NW # 900
                                                                                                              Atlanta, GA 30361
                                                                                                                 404-961-7650



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                                                                              Plaintiffs' Counsel Table
                                                                     In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                   Case Number        Original            Local Counsel      Plaintiffs' Counsel & Contact Information                                          Email Addresses             Consumer,        Transfer
                                   & Original         Court                                                                                                                                                Financial or      Status
                                     Court                                                                                                                                                                Small Business
  Kilgore et al. v. Equifax        1:17-cv-00942    District of New                                        Geoffrey R. Romero                                                   geoff26@hotmail.com          Consumer           Yes
 Information Services LLC                               Mexico                                   LAW OFFICES OF GEOFFREY R. ROMERO
                                                    (Albuquerque                                         4801 All Saints Rd. NW
                                                       Division)                                         Albuquerque, NM 87120
                                                                                                             502-226-0935
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                                                                                                                  Paul Zebrowski                                               tom@zebrowskilaw.com
                                                                                                                 Thomas A. Biscup
                                                                                                                ZEBROWSKI LAW
                                                                                                              4801 All Saints Rd. NW
                                                                                                              Albuquerque, NM 87120
                                                                                                                   505-715-5161
    King v. Equifax, Inc.          1:17-cv-03157   Southern District                                           Irwin B. Levin                                                 ilvein@cohenandmalad.com       Consumer
                                                       of Indiana                                            Richard E. Shevitz                                              rshevitz@cohenandmalad.com
                                                     (Indianapolis                                           Vess Allen Miller                                               vmiller@cohenandmalad.com
                                                       Division)                                              Lynn A. Toops                                                   ltoops@cohenandmalad.com
                                                                                                         COHEN & MALAD LLP
                                                                                                       One Indiana Square, Suite 1400
                                                                                                          Indianapolis, IN 46204
                                                                                                               317-636-6481


Kishel et al v. Equifax Inc. et    1:17-cv-05139   Northern District                                          Kevin H. Sharp                                                  ksharp@sanfordheisler.com      Consumer
               al                                    of Georgia                                          Sanford Heisler Sharp, LLP
                                                                                                      611 Commerce Street , Suite 3100
                                                                                                            Nashville, TN 37203
                                                                                                               615-343-7001

Klavans v. Equifax Inc. et al      1:17-cv-01346       District of        Shelsby & Leoni                           Robert Joseph Leoni                                          rleoni@mslde.com            Consumer      Yes by CTO - 1
                                                       Delaware                                                      Gilbert F. Shelsby                                         gshelsby@mslde.com
                                                                                                                     Shelsby & Leoni
                                                                                                                      221 Main Street
                                                                                                                    Stanton, DE 19804                                        amelzer@sanfordheisler.com
                                                                                                                       302-995-6210

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                                                                                                        Sanford Heisler Sharp, LLP
                                                                                                      611 Commerce Street, Suite 3100
                                                                                                           Nashville, TN 37203
                                                                                                              615-434-7001


 Klein et al v. Equifax Inc.       1:17-cv-05489   Eastern District of                                          Jeremy Alan Lieberman                                         jalieberman@pomlaw.com         Consumer      Yes by CTO - 1
                                                       New York                                                     Pomerantz LLP
                                                                                                                   600 Third Avenue
                                                                                                                 New York, NY 10016
                                                                                                                     212-661-1100


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                                                                          Plaintiffs' Counsel Table
                                                                In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                 Case Number        Original           Local Counsel   Plaintiffs' Counsel & Contact Information                                            Email Addresses                Consumer,        Transfer
                                 & Original         Court                                                                                                                                                 Financial or      Status
                                   Court                                                                                                                                                                 Small Business
 Knepper et al. v. Equifax       2:17-cv-02368   District of Nevada                                      David H. Krieger                                               dkrieger@hainesandkrieger.com       Consumer
Information Services, LLC                           (Las Vegas                                            George Haines                                                 ghaines@hainesandkrieger.com
                                                     Division)                                      HAINES & KRIEGER, LLC
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                                                                                                      Henderson, NV 89123
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                                                                                                                                                                        miles.clark@knepperclark.com
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                                                                                                                                                                         seanpayne@spaynelaw.com
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                                                                                                      Chicago, IL 60602
                                                                                                         312-899-9090


Kohn et al v. Equifax Inc. et    1:17-cv-07257    District of New                                        Julio C. Gomez                                                    jgomez@gomezllc.com              Consumer      Yes by CTO - 1
             al                                        Jersey                                             GOMEZ LLC
                                                                                                       The Stucke Building                                             jkanterman@stonemagnalaw.com
                                                                                                    111 Quimby Street, Suite 8                                         rmagnanini@stonemagnalaw.com
                                                                                                       Westfield, NJ 07090                                               dstone@stonemagnalaw.com
                                                                                                          908-789-1080

                                                                                                     Jason S. Kanterman
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                                                                                                       David S. Stone
                                                                                                STONE & MAGNANINI LLP
                                                                                                100 Connell Drive, Suite 2200
                                                                                                 Berkley Heights, NJ 07922
                                                                                                        973-218-1111




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                                                                             Plaintiffs' Counsel Table
                                                              In re: Equifax, Inc., Customer Data Security Breach Litigation
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                               & Original         Court                                                                                                                                                                Financial or     Status
                                 Court                                                                                                                                                                                Small Business
Krachanus v. Equifax, Inc.     1:17-cv-04694   Northern District    Jonathan W. Johnson, LLC                Jonathan Wesley Johnson                                            jwj@jonathanjohnsonatlantalawyer.com      Consumer
                                                 of Georgia                                                Jonathan W. Johnson, LLC
                                                                                                       2296 Henderson Mill Rd., Suite 304                                             geragos@geragos.com
                                                                                                               Atlanta, GA 30345
                                                                                                                 404-298-0795

                                                                                                              Benjamin Jared Meiselas
                                                                                                                 Geragos & Geragos
                                                                                                             644 South Figueroa Street
                                                                                                             Historic Engine Co. No. 28
                                                                                                              Los Angeles, CA 90017
                                                                                                                    213-625-3900


 Krawcyk v. Equifax, Inc.      4:17-cv-00760   Western District                                               Mitchell L. Burgess                                                    mitch@burgesslawkc.com              Consumer
                                                 of Missouri                                                 Burgess Law Firm PC
                                                (Kansas City                                            4310 Madison Avenue, Suite 100                                                phalenlaw@yahoo.com
                                                  Division)                                                 Kansas City, MO 64111
                                                                                                                816-471-1700

                                                                                                               Ralph K. Phalen
                                                                                                        4310 Madison Avenue, Suite 140
                                                                                                            Kansas City, MO 64111
                                                                                                                816-589-0753

Kuhns v. Equifax Inc. et al    1:17-cv-03463   Northern District                                              David Andrew Bain                                                        dbain@bain-law.com                Consumer
                                                 of Georgia                                            Law Offices of David A. Bain, LLC
                                                                                                              1050 Promenade II
                                                                                                           1230 Peachtree Street, NE
                                                                                                              Atlanta, GA 30309
                                                                                                                 404-724-9990                                                              ek@alk.com

                                                                                                                Eduard Korsinsky
                                                                                                           Levi & Korsinsky, LLP -NY
                                                                                                                 30 Broad Street
                                                                                                                   24th Floor
                                                                                                              New York, NY 10004
                                                                                                                  212-363-7500

  Kuss v. Equifax, Inc.        1:17-cv-03436    Northern District     Griffin & Strong, PC                      Rodney K. Strong                                                       rodney@gspclaw.com                Consumer        Yes
                                                   of Georgia                                                    David J. Maher                                                         david@gspclaw.com
                                               (Atlanta Division)                                          GRIFFIN & STRONG, P.C.
                                                                                                        235 Peachtree Street NE, Suite 400
                                                                                                               Atlanta, GA 30303
                                                                                                                 404-584-9777
                                                                                                                                                                                        sas@chimicles.com
                                                                                                             Benjamin F. Johns                                                          bfj@chimicles.com
                                                                                                         CHIMICLES & TIKELLIS LLP
                                                                                                            One Haverford Centre
                                                                                                           361 West Lancaster Ave
                                                                                                            Haverford, PA 19041
                                                                                                               610-642-8500




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                                                                           Plaintiffs' Counsel Table
                                                             In re: Equifax, Inc., Customer Data Security Breach Litigation
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    Case Name                Case Number        Original             Local Counsel            Plaintiffs' Counsel & Contact Information                                         Email Addresses            Consumer,       Transfer
                              & Original         Court                                                                                                                                                     Financial or     Status
                                Court                                                                                                                                                                     Small Business
LaGasse, et al. v. Equifax    1:17-cv-03745   Northern District           W. Pitts Carr                      Stephen D. Susman*                                               ssusman@susmangodfrey.com      Consumer
      Inc., et al.                              of Georgia            Alex D. Weatherby                   SUSMAN GODFREY LLP
                                                                  CARR & WEATHERBY, LLP                  1000 Louisiana St., Suite 5100
                                                                  4200 Northside Parkway NW                   Houston, TX 77002                                                 smolo@mololamken.com
                                                                          Building 10                           713-651-9366                                                   jweiner@mololamken.com
                                                                       Atlanta, GA 30327                                                                                      mchurch@mololamken.com
                                                                         404-442-9000                              Steven F. Molo*                                            dmichaeli@mololamken.com
                                                                                                                  Justin B. Weiner*
                                                                                                               Megan Cunniff Church*
                                                                                                                  Daniel Michaeli*                                             btsirolly@mololamken.com
                                                                                                                MOLO LAMKEN LLP
                                                                                                               300 North LaSalle Street
                                                                                                                Chicago, Illinois 60654                                         aweatherby@wpcarr.com
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                                                                                                             Benjamin T. Sirolly*
                                                                                                            MOLO LAMKEN LLP
                                                                                                         600 New Hampshire Ave. NW
                                                                                                            Washington, DC 20037
                                                                                                                202-556-2000

                                                                                                                 W. Pitts Carr
                                                                                                              Alex D. Weatherby
                                                                                                         CARR & WEATHERBY, LLP
                                                                                                    4200 Northside Parkway NW, Building 10
                                                                                                              Atlanta, GA 30327
                                                                                                                 404-442-9000

Lang & Pantek v. Equifax      1:17-cv-06519   Northern District                                                  Rusty A. Payton                                                 payton@dannlaw.com          Consumer
Information Services, LLC                        of Illinois                                                     PAYTONDANN
                                                 (Chicago                                                    4422 N. Ravenswood Ave
                                                 Division)                                                      Chicago, IL 60640
                                                                                                                  312-702-1000
                                                                                                                                                                                 nick@attorneyzim.com
                                                                                                          Thomas A. Zimmerman, Jr.                                               tom@attorneyzim.com
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                                                                                                              Chicago, IL 60602
                                                                                                                312-899-9090




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                                                                                   Plaintiffs' Counsel Table
                                                                  In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                  Case Number        Original                Local Counsel               Plaintiffs' Counsel & Contact Information                                            Email Addresses              Consumer,        Transfer
                                  & Original         Court                                                                                                                                                                Financial or      Status
                                    Court                                                                                                                                                                                Small Business
Lapter et al. v. Equifax, Inc.    1:17-cv-03445    Northern District      Evangelista Worley, LLC                       James M. Evangelista                                                   jme@ewlawllc.com             Consumer           Yes
                                                      of Georgia                                                           David J. Worley                                                     david@ewlawll.com
                                                  (Atlanta Division)                                                   Kristi Stahnke McGregor                                                 kristi@ewlawll.com
                                                                                                                   EVANGELISTA WORLEY, LLC
                                                                                                                    8100A Roswell Road, Suite 100
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                                                                                                                                                                                               mklein@ssbny.com
                                                                                                                        Howard T. Longman                                                      pkslyne@ssbny.com
                                                                                                                            Michael Klein
                                                                                                                            Melissa Emert
                                                                                                                            Patrick Slyne
                                                                                                                     STULL, STULL & BRODY
                                                                                                                          6 East 45th Street
                                                                                                                        New York, NY 10017
                                                                                                                            212-687-7230
Larson et al v. Equifax, Inc.     1:17-cv-03905   Northern District     Law Offices of David A. Bain,                    David Andrew Bain                                                    dbain@bain-law.com            Consumer
                                                    of Georgia                      LLC                           Law Offices of David A. Bain, LLC
                                                                                                                         1050 Promenade II
                                                                                                                      1230 Peachtree Street, NE                                               goldman@lawgsp.com
                                                                                                                         Atlanta, GA 30309
                                                                                                                            404-724-9990

                                                                                                                          Mark S. Goldman
                                                                                                                    Goldman Scarlato & Penny, P.C.
                                                                                                                         Eight Tower Bridge
                                                                                                                   161 Washington Street, Suite 1025
                                                                                                                       Conshohocken, PA 19428
                                                                                                                            484-342-0700


  Lawyer v. Equifax Inc.          4:17-cv-03161   Southern District                                                         Robert C Hilliard                                                bobh@hmglawfirm.com            Consumer      Yes by CTO - 1
                                                      of Texas                                                       Hilliard Munoz Gonzales LLP
                                                                                                                        719 S Shoreline, Ste 500
                                                                                                                      Corpus Christi, TX 78401
                                                                                                                              361-882-1612



 Lee et al. v. Equifax, Inc.      5:17-cv-05553   Northern District                                                       Gayle Meryl Blatt                                                     gmb@cglaw.com               Consumer      Yes by CTO - 1
                                                   of California                                          Casey Gerry Schenk Francavilla Blatt & Penfield LLP
                                                                                                                          110 Laurel Street
                                                                                                                        San Diego, CA 92101
                                                                                                                            619-238-1811


Levy v. Equifax Information       1:17-cv-05354   Eastern District of                                                          Amir J. Goldstein                                          ajg@consumercounselgroup.com      Consumer
       Services LLC                                   New York                                                              591 Broadway Suite 3A
                                                      (Brooklyn                                                              New York, NY 10012
                                                       Division)                                                                212-966-5253




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                                                                                Plaintiffs' Counsel Table
                                                                 In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                                  Case No. 1:17-md-2800-TWT
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     Case Name                  Case Number        Original              Local Counsel            Plaintiffs' Counsel & Contact Information                                       Email Addresses           Consumer,        Transfer
                                 & Original         Court                                                                                                                                                   Financial or      Status
                                   Court                                                                                                                                                                   Small Business
   Lewis v. Equifax, Inc.        1:17-cv-03863   Northern District     Conley Griggs Partin LLP                    Ranse M. Partin                                                ranse@conletgriggs.com      Consumer
                                                   of Georgia                                               Conley Griggs Partin, LLP- GA
                                                                                                               Building One, Suite 300
                                                                                                            4200 Northside Parkway, NW
                                                                                                                 Atlanta, GA 30327
                                                                                                                    404-467-1155

                                                                                                                      Lee A. Cirsch
                                                                                                                      W. Mark Lanier
                                                                                                                 The Lanier Law Firm - TX
                                                                                                                   6810 FM 1960 West
                                                                                                                    Houston, TX 77069
                                                                                                                      713-659-5200
 Lipchitz v. Equifax, Inc.       1:17-cv-03457    Northern District    Evangelista Worley, LLC                  James M. Evangelista                                               jme@ewlawllc.com           Consumer           Yes
                                                     of Georgia                                                    David J. Worley                                                 david@ewlawll.com
                                                 (Atlanta Division)                                            Kristi Stahnke McGregor                                             kristi@ewlawll.com
                                                                                                           EVANGELISTA WORLEY, LLC
                                                                                                            8100A Roswell Road, Suite 100                                         wbf@federmanlaw.com
                                                                                                                  Atlanta, GA 30350                                               clm@federmanlaw.com
                                                                                                                     404-205-8400                                                 jdw@federmanlaw.com

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                                                                                                                  Joshua D. Wells
                                                                                                            FEDERMAN & SHERWOOD
                                                                                                            10205 N. Pennsylvania Avenue
                                                                                                                Oklahoma, OK 73120
                                                                                                                   405-235-1560

Lynch et al. v. Equifax, Inc.    4:17-cv-00640   Eastern District of                                             L. Kirstine Rogers                                                                           Consumer
                                                  Texas (Sherman                                        STECKLER GRESHAM COCHRAN LLP
                                                     Division)                                             12720 Hillcrest Road, Suite 1045
                                                                                                                 Dallas, TX 75203
                                                                                                                   972-387-4040

   Mallh v. Equifax, Inc.        1:17-cv-05555   Eastern District of                                                Gregory Joseph Allen                                           greg@gjallenlaw.com        Consumer      Yes by CTO - 1
                                                     New York                                                           Home Office
                                                                                                                  120 W Wilson Ave #1135                                          law@herminalaw.com
                                                                                                                    Glendale, CA 91203
                                                                                                                       203-535-4636

                                                                                                                          John W. Hermina
                                                                                                                         Hermina Law Group
                                                                                                                          8327 Cherry Lane
                                                                                                                          Laurel, MD 20707
                                                                                                                           (301)206-3166




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                                                                           Plaintiffs' Counsel Table
                                                               In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name               Case Number        Original            Local Counsel            Plaintiffs' Counsel & Contact Information                                         Email Addresses               Consumer,        Transfer
                               & Original         Court                                                                                                                                                       Financial or      Status
                                 Court                                                                                                                                                                       Small Business
  Maloney v. Equifax, Inc.     2:17-cv-01238   Eastern District of                                            Mark A. Eldridge                                                  medlridge@ademilaw.com          Consumer
                                                   Wisconsin                                                   Shpetim Ademi                                                      sademi@ademilaw.com
                                                  (Milwaukee                                                   John D. Blythin                                                   jblythin@ademilaw.com
                                                   Division)                                                    Jesse Fruchter                                                      jfruchter@ademilaw
                                                                                                           ADEMI & O'REILLY LLP
                                                                                                            3620 East Layton Ave
                                                                                                             Cudahy, WI 53110
                                                                                                                414-482-8004

 Manaher v. Equifax, Inc.      1:17-cv-03447    Northern District Webb, Klase & Lemond, LLC                    E. Adam Webb                                                        adam@webbllc.com             Consumer           Yes
                                                   of Georgia                                              G. Franklin Lemond, Jr.                                               flemond@webbllc.com
                                               (Atlanta Division)                                     WEBB, KLASE & LEMOND, LLC
                                                                                                      1900 The Exchange, SE, Suite 480                                          jgs@mccunewright.com
                                                                                                             Atlanta, GA 30339                                                  mds@mccunewright.com
                                                                                                                770-444-9325                                                    jbk@mccunewright.com

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                                                                                                      MCCUNE WRIGHT AREVALO LLP
                                                                                                          555 Lancaster Avenue
                                                                                                           Berwyn, PA 19312
                                                                                                              610-200-0580

                                                                                                               Thomas Malone
                                                                                                           The Malone Firm, LLC
                                                                                                         1650 Arch Street, Suite 2501
                                                                                                           Philadelphia, PA 19103
                                                                                                                215-561-7700

Mann v. Equifax Information    2:17-cv-04100   Eastern District of                                              John Soumilas                                                jsoumilas@consumerlawfirm.com      Consumer
       Services LLC                              Pennslyvania                                           FRANCIS & MAILMAN,P.C.
                                                 (Philadelphia                                          Land Title Building, 19th Floor
                                                   Division)                                                 100 S. BROAD ST.
                                                                                                           Philadelphia, PA 19110
                                                                                                                215-735-8600


  Manopla v. Equifax Inc.      3:17-cv-11419    District of New                                            Edward B. Geller                                                          epbh@aol.com               Consumer      Yes by CTO - 1
                                                     Jersey                                           EDWARD B. GELLER, ESQ., P.C.
                                                                                                           15 Landing Way
                                                                                                           Bronx, NY 10464
                                                                                                            914-473-6783

  Manopla v. Equifax Inc.      3:17-cv-11424    District of New                                            Edward B. Geller                                                          epbh@aol.com               Consumer      Yes by CTO - 1
                                                     Jersey                                           EDWARD B. GELLER, ESQ., P.C.
                                                                                                           15 Landing Way
                                                                                                           Bronx, NY 10464
                                                                                                            914-473-6783




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                                                                        Plaintiffs' Counsel Table
                                                           In re: Equifax, Inc., Customer Data Security Breach Litigation
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    Case Name              Case Number        Original           Local Counsel            Plaintiffs' Counsel & Contact Information                                       Email Addresses          Consumer,        Transfer
                            & Original         Court                                                                                                                                               Financial or      Status
                              Court                                                                                                                                                               Small Business
Manopla v. Equifax Inc.     3:17-cv-11440   District of New                                            Edward B. Geller                                                       epbh@aol.com           Consumer      Yes by CTO - 1
                                                 Jersey                                           EDWARD B. GELLER, ESQ., P.C.
                                                                                                       15 Landing Way
                                                                                                       Bronx, NY 10464
                                                                                                        914-473-6783

Manopla v. Equifax Inc.     3:17-cv-12275   District of New                                            Edward B. Geller                                                       epbh@aol.com           Consumer      Yes by CTO - 3
                                                 Jersey                                           EDWARD B. GELLER, ESQ., P.C.
                                                                                                       15 Landing Way
                                                                                                       Bronx, NY 10464
                                                                                                        914-473-6783

Mardock v. Equifax, Inc.    1:17-cv-03499   Northern District   Evangelista Worley, LLC                     Ariana J. Tadler                                                atadler@milberg.com      Consumer
                                              of Georgia                                                    Andrei V. Rado                                                   arado@milberg.com
                                                                                                             Henry Kelston                                                 hkelston@milberg.com
                                                                                                          Elizabeth McKenna                                               emckenna@milberg.com
                                                                                                             Melissa Clark                                                  mclark@milberg.com
                                                                                                 Milberg Tadler Phillips Grossman LLP
                                                                                                  One Pennsylvania Plaza, Suite 1920
                                                                                                      New York, NY 10119-0165
                                                                                                             212-594-5300                                                  david@ewlawllc.vom
                                                                                                                                                                            jim@ewlawllc.com
                                                                                                          David J. Worley                                                  kristi@ewlawllc.com
                                                                                                        James M. Evangelista
                                                                                                      Kristi Stahnke McGregor
                                                                                                      Evangelista Worley, LLC
                                                                                                   8100 A Roswell Road, Suite 100
                                                                                                         Atlanta, GA 30350
                                                                                                            404-205-8400




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                                                                        Plaintiffs' Counsel Table
                                                          In re: Equifax, Inc., Customer Data Security Breach Litigation
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   Case Name              Case Number        Original            Local Counsel              Plaintiffs' Counsel & Contact Information                                           Email Addresses               Consumer,        Transfer
                           & Original         Court                                                                                                                                                           Financial or      Status
                             Court                                                                                                                                                                           Small Business
Martin v. Equifax, Inc.    3:17-cv-01246   Middle District of  Gordon Shaw Law Group,                         Andrew Melzer                                                    amelzer@sanfordheisler.com       Consumer           Yes
                                              Tennessee       PLLC; Lacy, Price & Wagner,                Sanford Heisler Sharp, LLP
                                              (Nashville                 P.C.                      1350 Avenue of the Americas, 31st Floor                                     ksharp@sanfordheisler.com
                                               Division)                                                   New York, NY 10019
                                                                                                               646-402-5650

                                                                                                             Kevin H. Sharp                                                        ashaw@lawjhg.com
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                                                                                                           Nashville, TN 37203
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                                                                                                               P.O. Box 846
                                                                                                           Covington, TN 38019
                                                                                                               901-476-7100

                                                                                                           W. Allen McDonald
                                                                                                      LACY, PRICE & WAGNER, P.C.
                                                                                                      249 North Peters Road, Suite 101
                                                                                                           Knoxville, TN 37923
                                                                                                               865-246-0800




Martin v. Equifax, Inc.    3:17-cv-00174   Northern District                                            David Malcolm McMullan, Jr                                           dmcmullan@barrettlawgroup.com      Consumer      Yes by CTO - 1
                                            of Mississippi                                               BARRETT LAW OFFICES
                                                                                                               P. O. Box 987
                                                                                                           Lexington, MS 39095
                                                                                                              (662) 834-2376

Martin v. Equifax, Inc.    1:17-cv-03458    Northern District   Evangelista Worley, LLC                    James M. Evangelista                                                   jme@ewlawllc.com              Consumer           Yes
                                               of Georgia                                                    David J. Worley                                                      david@ewlawll.com
                                           (Atlanta Division)                                            Kristi Stahnke McGregor                                                  kristi@ewlawll.com
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                                                                                                            Atlanta, GA 30350                                                    clm@federmanlaw.com
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                                                                                                            Carin L. Marcussen
                                                                                                             Joshua D. Wells
                                                                                                       FEDERMAN & SHERWOOD
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                                                                                                           Oklahoma, OK 73120
                                                                                                              405-235-1560




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                                                                         Plaintiffs' Counsel Table
                                                                In re: Equifax, Inc., Customer Data Security Breach Litigation
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     Case Name                  Case Number        Original          Local Counsel   Plaintiffs' Counsel & Contact Information                                          Email Addresses                Consumer,        Transfer
                                 & Original         Court                                                                                                                                              Financial or      Status
                                   Court                                                                                                                                                              Small Business
Martin v. Equifax, Inc. et al    3:17-cv-00744   Southern District                                     Jason L. Nabors                                                 jason@langstonlawyers.com         Consumer      Yes by CTO - 1
                                                  of Mississippi                                 Langston & Langston, PLLC
                                                                                              210 East Capitol Street, Suite 1205
                                                                                                     Jackson, MS 39201
                                                                                                        601-969-1356


Martinez et al. v. Equifax,      1:17-cv-23510   Southern District                                  Robert John Borrello                                               rborrello@russomanno.com          Consumer      Yes by CTO - 1
           Inc.                                     of Florida                                   Herman Joseph Russomanno                                            hrussomanno@russomanno.com
                                                                                               Herman Joseph Russomanno, III                                           herman2@russomanno.com
                                                                                                   Russomanno & Borrello
                                                                                                      Museum Tower
                                                                                               150 W Flagler Street, Suite 2800
                                                                                                     Miami, FL 33130                                                     david@nunez-law.com
                                                                                                       305-373-2101

                                                                                                   David Anthony Nunez
                                                                                                   Meyer & Nunez, P.A.                                                 tgirardi@girardikeese.com
                                                                                              150 West Flagler Street, Suite 2700                                      caumais@girardikeese.com
                                                                                                     Miami, FL 33130
                                                                                                       305-722-9898
                                                                                                                                                                         rubinoff@krmlegal.com
                                                                                                     Thomas V. Girardi                                                     moss@krmlegal.com
                                                                                                   Christopher T. Aumais
                                                                                                     GIRARDI KEESE
                                                                                                  1126 Wilshire Boulevard
                                                                                                Los Angeles, California 90017
                                                                                                       213-977-0211

                                                                                                    Edward G. Rubinoff
                                                                                                       Andrew Moss
                                                                                              KUTNER, RUBINOFF & MOSS
                                                                                              2665 S. Bayshore Drive, Ste. 30 I
                                                                                                 Coconut Grove, FL 33133
                                                                                                       305-358-6200


Mashburn et al v. Equifax,       1:17-cv-04159   Northern District                                    Jodi Westbrook Flowers                                            jflowers@motleyrice.com          Consumer      Yes by CTO - 1
          Inc.                                     of Georgia                                              Kevin R. Dean                                                  kdean@motleyrice.com
                                                                                                       Motley Rice, LLC-SC
                                                                                                      28 Bridgeside Boulevard                                        claufenberg@kellerrohrback.com
                                                                                                      Mt. Pleasant, SC 29464                                            gcappio@kellerohrback.com
                                                                                                           843-216-9163

                                                                                                  Cari Campen Laufenberg
                                                                                                 Gretchen Freeman Cappio
                                                                                                   Keller Rohrback, L.L.P
                                                                                               1201 Third Avenue, Suite 3200
                                                                                                    Seattle, WA 98101
                                                                                                       206-623-1900




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                                                                                                       Case 1:17-md-02800-TWT Document 94-1 Filed 01/10/18 Page 68 of 104




                                                                           Plaintiffs' Counsel Table
                                                             In re: Equifax, Inc., Customer Data Security Breach Litigation
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     Case Name               Case Number        Original             Local Counsel          Plaintiffs' Counsel & Contact Information                                         Email Addresses               Consumer,        Transfer
                              & Original         Court                                                                                                                                                      Financial or      Status
                                Court                                                                                                                                                                      Small Business
 Mason v. Equifax, Inc.       4:17-cv-02644   District of South                                                      PRO SE                                                      no email provided            Consumer      Yes by CTO - 1
                                                  Carolina                                                      Marcus C. Mason
                                                                                                                 P.O. Box 52020
                                                                                                              Bennettsville, SC 29512


 McCall et al. v. Equifax     2:17-cv-02372   District of Nevada                                              Miles N Clark                                                 miles.clark@knepperclark.com      Consumer
Information Services LLC                         (Las Vegas                                               Knepper & Clark LLC
                                                  Division)                                        10040 W. Cheyenne Ave., Suite 170-109
                                                                                                          Las Vegas,, NV 89129                                                  rac@cliffordlaw.com
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                                                                                                         120 N. LaSalle St., Ste 3100                                          notices@dannlaw.com
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                                                                                                            The Dann Firm Co., LPA
                                                                                                               PO Box 6031040
                                                                                                             Cleveland, OH 44103
                                                                                                                 216-373-0539


McDowell et al v. Equifax,    1:17-cv-03502   Northern District    Complex Law Group, LLC                   David Michael Cohen                                               dcohen@complexlaw.com           Consumer
          Inc.                                  of Georgia                                                Complex Law Group, LLC
                                                                                                           40 Powder Springs Street
                                                                                                             Marietta, GA 30064
                                                                                                                770-335-9322
                                                                                                                                                                                acarney@cbplaw.com
                                                                                                          James Allen Carney , Jr.
                                                                                                       Carney Bates & Pulliam, PLLC
                                                                                                              519 W. 7th Street
                                                                                                           Little Rock, AR 72201
                                                                                                                501-312-8500

McGonnigal & Spector v.       1:17-cv-03422    Northern District BARNES LAW GROUP, LLC                       Roy E. Barnes                                                    roy@barneslawgroup.com          Consumer           Yes
    Equifax, Inc.                                 of Georgia                                                 John R. Bevis                                                   bevis@barmeslawgroup.com
                                              (Atlanta Division)                                          J. Cameron Tribble                                                ctribble@barneslawgroup.com
                                                                                                       BARNES LAW GROUP, LLC
                                                                                                           31 Atlanta Street                                                jyanchunis@forthepeople.com
                                                                                                          Marietta, GA 30060                                                mglassman@forthepeople.com
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                                                                                                          Marisa K. Glassman
                                                                                            MORGAN & MORGAN COMPLEX LITIGATION GROUP
                                                                                                     201 N. Franklin Street, 7th Floor
                                                                                                            Tampa, FL 33602
                                                                                                              813-223-5505




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                                                                               Plaintiffs' Counsel Table
                                                                 In re: Equifax, Inc., Customer Data Security Breach Litigation
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     Case Name                  Case Number        Original             Local Counsel            Plaintiffs' Counsel & Contact Information                                         Email Addresses              Consumer,       Transfer
                                 & Original         Court                                                                                                                                                       Financial or     Status
                                   Court                                                                                                                                                                       Small Business
 McHenry et al v. Equifax,       1:17-cv-03582   Northern District     Evangelista Worley, LLC                   David J. Worley                                                     jim@ewlawllc.com             Consumer
          Inc.                                     of Georgia                                                  James M. Evangelista                                                  david@ewlawll.com
                                                                                                             Kristi Stahnke McGregor                                                 kristi@ewlawll.com
                                                                                                          EVANGELISTA WORLEY, LLC
                                                                                                           8100 A Roswell Rd, Suite 100                                            ggraigman@kgglaw.com
                                                                                                                Atlanta, GA 30350
                                                                                                                   404-205-8400

                                                                                                                  Gary S. Graifman
                                                                                                                     Jay I. Brody
                                                                                                       Kantrowitz, Goldhamer & Graifman, P.C.
                                                                                                                 210 Summit Avenue
                                                                                                                 Montvale, NJ 07645
                                                                                                                    201-391-7600
McHill et al. v. Equifax Inc.    3:17-cv-01405   District of Oregon                                                Justin M. Baxter                                                 justin@baxterlaw.com          Consumer
                                                     (Portland                                               BAXTER & BAXTER LLP
                                                     Division)                                            8835 SW Canyon Lane, Suite 130                                         kellydonovanjones@gmail.com
                                                                                                                 Portland, OR 97225

                                                                                                                  Kelly D. Jones                                                 michael@underdoglawyer.com
                                                                                                       KELLY D. JONES ATTORNEY AT LAW
                                                                                                          819 SE Morrison Street, Suite 225
                                                                                                                Portland, OR 97214

                                                                                                                 Michael R. Fuller
                                                                                                                OLSEN DAINES PC
                                                                                                                 US Bancorp Tower
                                                                                                           111 SW 5th Avenue, Suite 3150
                                                                                                                Portland, OR 97204
                                                                                                                   503-201-4570
 McShan et al. v. Equifax,,      2:17-cv-06764   Central District of                                             Craig K Hemphill                                                 craig.ckhlegal@outlook.com      Consumer
 Inc.,Equifax Information                            California                                                     CKH Legal
Services, LLC, and Equifax                       (Western Division                                         5090 Richmond Avenue No 316
 Consumer Services, LLC                           - Los Angeles)                                                Houston, TX 77056
  a/k/a Equifax Personal                                                                                           713-240-6300                                                     amj.0169@yahoo.com
   Solutions a/k/a PSOL
                                                                                                              Arnold Melvin Johnson
                                                                                                           Arnold M Johnson Law Offices
                                                                                                           1200 Wilshire Blvd., Suite 508
                                                                                                            Los Angeles, CA 90017-1934
                                                                                                                   213-250-9577




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                                                                              Plaintiffs' Counsel Table
                                                                 In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                  Case Number        Original           Local Counsel          Plaintiffs' Counsel & Contact Information                                         Email Addresses                Consumer,        Transfer
                                  & Original         Court                                                                                                                                                     Financial or      Status
                                    Court                                                                                                                                                                     Small Business
Mead et al. v. Equifax Inc. et    3:17-cv-00208   District of Alaska   Lee Holen Law Office                    Edward Chapin                                                  echapin2@sanfordheisler.com        Consumer      Yes by CTO - 1
             al.                                                                                         Sandford Heisler Sharp, LLP                                          dfuschetti@sanfordheisler.com
                                                                                                        655 West Broadway, Suite 1700                                          ksharp@sanfordheisler.com
                                                                                                            San Diego, CA 92101
                                                                                                                619-577-4253

                                                                                                               Kevin H. Sharp                                                        lhlo@alaska.net
                                                                                                          Sanford Heisler Sharp, LLP
                                                                                                         611 Commerce St., Suite 3100
                                                                                                             Nashville, TN 37203
                                                                                                                615-434-7001

                                                                                                                     Mary L. Holen
                                                                                                                  Lee Holen Law Office
                                                                                                                     PO Box 92330
                                                                                                                  Anchorage, AK 99509
                                                                                                                      907-278-0298


Meade et al. v. Equifax, Inc.     2:17-cv-00892   Southern District                                           Brian M Garvine                                                    brian@garvinelaw.com            Consumer      Yes by CTO - 1
                                                      of Ohio                                          Law Office of Brian Garvine LLC
                                                                                                         5 E Long Street, Suite 1100                                                jheck@lawlh.com
                                                                                                            Columbus, OH 43215
                                                                                                                614-223-0290                                                   michelle@mlanhamlaw.com

                                                                                                               Jeremiah E Heck                                                    mlewis@klhlaw.com
                                                                                                        Luftman & Heck and Associates
                                                                                                             580 East Rich Street                                             Lainie@wagonerlawoffice.com
                                                                                                             Columbus, OH 43215
                                                                                                                614-224-1500

                                                                                                           Michelle Elizabeth Lanham
                                                                                                    Michelle E. Lanham Attorney at Law LLC
                                                                                                       445 Hutchinson Avenue, Suite 100
                                                                                                              Columbus, OH 43235
                                                                                                                 614-300-5896

                                                                                                                  Mark D Lewis
                                                                                                        Kitrick, Lewis & Harris Co LPA
                                                                                                        445 Hutchinson Ave. Suite 100
                                                                                                              Columbus, OH 43235
                                                                                                                  614-224-7711

                                                                                                              Robert J Wagoner
                                                                                                         Robert J. Wagoner Co., L.L.C.
                                                                                                        445 Hutchinson Ave. , Suite 100
                                                                                                             Columbus, OH 42335
                                                                                                                 614-796-4110




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                                                                                   Plaintiffs' Counsel Table
                                                                    In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                   Case Number        Original               Local Counsel              Plaintiffs' Counsel & Contact Information                                         Email Addresses             Consumer,        Transfer
                                   & Original         Court                                                                                                                                                          Financial or      Status
                                     Court                                                                                                                                                                          Small Business
Melrath v. Equifax, Inc. et al.    1:17-cv-01324      District of                                                     Jesse N. Silverman                                               jsilverman@dilworthlaw.com      Consumer      Yes by CTO - 1
                                                      Delaware                                                       Dilworth Paxson LLP
                                                                                                                 One Customs House-Suite 500
                                                                                                                 704 King Street, P.O. Box 1031
                                                                                                                     Wilmington, DE 19801
                                                                                                                        (215) 575-7000

   Menzer v. Equifax, Inc.         1:17-cv-03459    Northern District     Evangelista Worley, LLC                    James M. Evangelista                                                 jme@ewlawllc.com             Consumer           Yes
                                                       of Georgia                                                      David J. Worley                                                    david@ewlawll.com
                                                   (Atlanta Division)                                              Kristi Stahnke McGregor                                                kristi@ewlawll.com
                                                                                                                EVANGELISTA WORLEY, LLC
                                                                                                                8100 A Roswell Road, Suite 100                                           wbf@federmanlaw.com
                                                                                                                      Atlanta, GA 30350                                                  clm@federmanlaw.com
                                                                                                                         404-205-8400                                                    jdw@federmanlaw.com

                                                                                                                      William Federman
                                                                                                                      Carin L. Marcussen
                                                                                                                       Joshua D. Wells
                                                                                                                 FEDERMAN & SHERWOOD
                                                                                                                 10205 N. Pennsylvania Avenue
                                                                                                                     Oklahoma, OK 73120
                                                                                                                        405-235-1560



Messer, Jr. et al. v. Equifax,     2:17-cv-02694   Western District                                                Paul Berry Cooper, III                                                bcooper@mbb-law.com           Consumer      Yes by CTO - 1
            Inc.                                    of Tennessee                                           MCNABB BRAGORGOS & BURGESS, PLLC
                                                                                                                81 Monroe Ave., Sixth Floor
                                                                                                                 Memphis, TN 38103-5402
                                                                                                                       901-624-0640


  Meyers et al. v. Equifax         1:17-cv-06652   Northern District                                                  Thomas A. Demetrio                                                tad@corboydemetrio.com         Consumer      Yes by CTO - 1
 Information Services LLC                             of Illinois                                                    Kenneth Thomas Lumb                                                ktl@corboydemetrio.com
                                                                                                                      Corboy & Demetrio
                                                                                                                  33 N. Dearborn Street, #2100
                                                                                                                       Chicago, IL 60602
                                                                                                                        (312) 346-3191

Miller et al. v. Equifax Inc et    4:17-cv-00569   Northern District    Carr & Carr Attorneys at Law                   Patrick Eugene Carr                                                 pcarr@carrcarr.com          Consumer      Yes by CTO - 1
               al.                                  of Oklahoma                                                          A Laurie Koller                                                  lkoller@carrcarr.com
                                                                                                               Carr & Carr Attorneys at Law (Tulsa)
                                                                                                                      4416 S. Harvard Ave.                                             ksharp@sanfordheisler.com
                                                                                                                        Tulsa, OK 74135
                                                                                                                          918-747-1000

                                                                                                                        Kevin H. Sharp
                                                                                                                   Sanford Heisler Sharp, LLP
                                                                                                                  611 Commerce St., Suite 3100
                                                                                                                      Nashville, TN 37203
                                                                                                                         615-434-7001




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                                                                                  Plaintiffs' Counsel Table
                                                                  In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                  Case Number        Original               Local Counsel            Plaintiffs' Counsel & Contact Information                                         Email Addresses              Consumer,        Transfer
                                  & Original         Court                                                                                                                                                         Financial or      Status
                                    Court                                                                                                                                                                         Small Business
Miller et al. v. Equifax, Inc.    2:17-cv-01872   Eastern District of                                                Richard Morin                                                      rick@rickmorin.net           Consumer           Yes
                                                      California                                            LAW OFFICE OF RICK MORIN, PC
                                                    (Sacremento                                                555 Capitol Mall, Suite 750
                                                      Division)                                                  Sacramento, CA 95814
                                                                                                                     916-333-2222

   Minka et al. v. Equifax        2:17-cv-04205   Eastern District of                                              Charles J. Kocher                                                    ckocher@smbb.com             Consumer      Yes by CTO - 1
 Information Services, Inc.                         Pennsylvania                                      SALTZ MONGELUZZI BARRETT & BENDESKY PC
                                                                                                              One Liberty Place, 52nd Floor
                                                                                                                    1650 Markey St.
                                                                                                                Philadelphia, PA 19103
                                                                                                                     215-575-3985

 Mirarchi v. Equifax, Inc.        1:17-cv-04600   Northern District        Faruqi & Faruqi, LLP                      Jeffrey L. Kodroff                                               rkillorin@faruqilaw.com        Consumer
                                                    of Georgia                                                  Spector Roseman & Kodroff
                                                                                                                    1818 Market Street
                                                                                                                         Suite 2500
                                                                                                                  Philadelphia, PA 19103
                                                                                                                       215-496-0300

                                                                                                                     Robert W. Killorin
                                                                                                                  Faruqi & Faruqi, LLP -Atl
                                                                                                                 3975 Roswell Road, Suite A
                                                                                                                     Atlanta, GA 30342
                                                                                                                        404-275-7557


Mobbs v. Equifax Inc. et al       5:17-cv-05815   Northern District                                                    Jack Atnip, III                                                 jatnip@hjlawfirm.com          Consumer      Yes by CTO - 1
                                                   of California                                                Hellmuth and Johnson PLLC
                                                                                                                   8050 West 78th Street
                                                                                                                     Edina, MN 55439
                                                                                                                      (952) 941-4005


Mohamedali et al v. Equifax       1:17-cv-03501   Northern District     Webb, Klase & Lemond, LLC                     E. Adam Webb                                                      adam@webbllc.com             Consumer
          Inc.                                      of Georgia                                                    G. Franklin Lemond, Jr.                                             flemond@webbllc.com
                                                                                                             WEBB, KLASE & LEMOND, LLC
                                                                                                             1900 The Exchange, SE, Suite 480
                                                                                                                    Atlanta, GA 30339
                                                                                                                       770-444-9325

                                                                                                                       Bryan L. Clobes                                              bclobes@caffertyclobes.com
                                                                                                                      Daniel O. Herrera                                             dherrera@caffertyclobes.com
                                                                                                         Cafferty Clobes Meriwether & Sprengel LLP
                                                                                                                1101 Market Street, Suite 2650
                                                                                                                   Philadelphia, PA 19107
                                                                                                                        215-864-2800




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                                                                  In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                  Case Number        Original               Local Counsel            Plaintiffs' Counsel & Contact Information                                           Email Addresses                Consumer,       Transfer
                                  & Original         Court                                                                                                                                                             Financial or     Status
                                    Court                                                                                                                                                                             Small Business
   Morris v. Equifax, Inc.        1:17-cv-02178      District of                                                    Kevin S. Hannon                                                     khannon@hannonlaw.com            Consumer        Yes
                                                  Colorado (Denver                                           THE HANNON LAW FIRM, LLC
                                                      Division)                                                   1641 Downing Street                                                  rcaldwell@sawayalaw.com
                                                                                                                   Denver, CO 80218
                                                                                                                     303-861-8800

                                                                                                                 Robert E. Caldwell, Jr.
                                                                                                        SAWAYA, ROSE, MCCLURE & WILHITE, P.C.
                                                                                                                1600 North Ogden Street
                                                                                                                  Denver, CO 80218
                                                                                                                     303-839-1650

Murphy et al v. Equifax, Inc.     1:17-cv-03613   Northern District     Elarbee, Thompson, Sapp &                  Joseph Shane Hudson                                                jhudson@hudsonkinglaw.com          Consumer
                                                    of Georgia                    Wilson                           Hudson & King, LLC
                                                                                                                      P.O. Box 2520
                                                                                                              615 N. Virginia Avenue, Suite A
                                                                                                                     Tifton, GA 31793                                                connell@elarbeethompson.com
                                                                                                                       229-396-5845                                                  swilson@elarbeethompson.com

                                                                                                                    Justin Beecher Connell
                                                                                                                      Stanford G. Wilson
                                                                                                           Elarbee, Thompson, Sapp & Wilson, LLP
                                                                                                                  229 Peachtree Street, N.E.
                                                                                                                    800 International Tower
                                                                                                                   Atlanta, GA 30303-1614
                                                                                                                         404-659-6700


Murphy et al. v. Equifax, Inc.    5:17-cv-05262   Northern District                                                   Jodi Westbrook Flowers                                            jflowers@motleyrice.com          Consumer       not yet
                                                   of California                                                          MOTLEY RICE
                                                     (Oakland                                                         28 Bridgeside Boulevard
                                                     Division)                                                        Mt. Pleasant, SC 29464                                         claufenberg@kellerrohrback.com
                                                                                                                           843-216-9000                                                gcappio@kellerrohrback.com

                                                                                                                  Cari Campen Laufenberg
                                                                                                                 Gretchen Freeman Cappio
                                                                                                                   Keller Rohrback, LLP
                                                                                                               1201 Third Avenue, Suite 3200
                                                                                                                  Seattle, WA 98101-3052
                                                                                                                        206-623-1900
   Myers, Sr. & O'Neal v.         2:17-cv-01878   Eastern District of                                               Joshua H. Watson                                                    jwatson@justice4you.com          Consumer        Yes
          Equifax                                     California                                                     Gina M. Bowden                                                    gbowden@justice4you.com
                                                    (Sacremento                                                 CLAYEO C. ARNOLD, APC
                                                      Division)                                                     865 Howe Avenue                                                  jyanchunis@forthepeople.com
                                                                                                                  Sacramento, CA 95825                                               mvalladares@forthepeople.com
                                                                                                                      916-924-3100

                                                                                                                    John A. Yanchunis
                                                                                                                   Marcio W. Valladares
                                                                                                         Morgan & Morgan Complex Litigation Group
                                                                                                              201 N. Franklin Street, 7th Floor
                                                                                                                     Tampa, FL 33602
                                                                                                                       813-223-5505


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                                                                 In re: Equifax, Inc., Customer Data Security Breach Litigation
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                                 & Original         Court                                                                                                                                                      Financial or        Status
                                   Court                                                                                                                                                                      Small Business
Napier v. Equifax Inc. et al     1:17-cv-00372   District of Maine     Perkins Thompson                         John A. Hobson                                              jhobson@perkinsthompson.com           Consumer       Yes by CTO - 1
                                                                                                             PERKINS THOMPSON
                                                                                                                One Canal Plaza
                                                                                                                 P.O. BOX 426                                                 ksharp@sanfordheisler.com
                                                                                                             PORTLAND, ME 04112
                                                                                                                 207-774-2635

                                                                                                               Kevin H. Sharp
                                                                                                          Sanford Heisler Sharp, LLP                                          amelzer@sanfordheisler.com
                                                                                                              611 Commerce St.
                                                                                                                  Suite 3100
                                                                                                             Nashville, TX 37203
                                                                                                                615-434-7001

                                                                                                             Andrew Melzer
                                                                                                        Sanford Heisler Sharp, LLP
                                                                                                  1350 Avenue of the Americas, Suite 3100
                                                                                                          New York, NY 10019
                                                                                                              646-402-5650

   Neilan v. Equifax Inc.        1:17-cv-06508   Northern District                                             Ben Barnow                                                     b.barnow@barnowlaw.com              Consumer
                                                    of Illinois                                      BARNOW & ASSOCIATES, P.C.
                                                    (Chicago                                        One North LaSalle Street, Suite 4600
                                                    Division)                                               Chicago, IL 60602
                                                                                                              312-621-2000

O'Dell Properties, LLC et al     1:17-cv-03618   Northern District     The Doss Firm, LLC                     Jason R. Doss                                                    jasondoss@dossfirm.com           Small Business
      v. Equifax, Inc.                             of Georgia                                               Samuel T. Brannan                                                  stbrannan@dossfirm.com
                                                                                                           The Doss Firm, LLC
                                                                                                       36 Trammell Street, Suite 101
                                                                                                           Marietta, GA 30066
                                                                                                              770-578-1314

Ogburn v. Equifax, Inc. et al    3:17-cv-00644   Eastern District of                                     Grant Edward Morris, Jr.                                           grantemorris@sanfordheisler.com       Consumer       Yes by CTO - 1
                                                      Virginia                                          Sanford Heisler Sharp, LLP
                                                                                                    1666 Connecticut Ave NW, Suite 300
                                                                                                          Washington, DC 20009
                                                                                                              202-499-5200                                                    amelzer@sanfordheisler.com

                                                                                                            Andrew Melzer
                                                                                                    SANFORD HEISLER SHARP, LLP                                                ksharp@sanfordheisler.com
                                                                                                       1350 6th Avenue, Floor 31
                                                                                                         New York, NY 10019
                                                                                                             646-402-5650

                                                                                                               Kevin Sharp
                                                                                                        Sanford Heisler Sharp, LLP
                                                                                                       611 Commerce St. Suite 3100
                                                                                                           Nashville, TN 37203
                                                                                                              615-434-7001




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      Case Name                   Case Number        Original                Local Counsel               Plaintiffs' Counsel & Contact Information                                          Email Addresses              Consumer,        Transfer
                                   & Original         Court                                                                                                                                                              Financial or      Status
                                     Court                                                                                                                                                                              Small Business
O'Neill v. Equifax, Inc. et al     1:17-cv-03523   Northern District     Law Offices of David A. Bain,                    David A. Bain                                                       dbain@bain-law.com           Consumer
                                                     of Georgia                      LLC                       LAW OFFICES OF DAVID A. BAIN, LLC
                                                                                                                      1230 Peachtree St, NW
                                                                                                                        Atlanta, GA 30309
                                                                                                                          404-724-9990

                                                                                                                            Aaron M. Olsen
                                                                                                                          Alreen Haeggquist
                                                                                                                      Haeggquist & Eck, LLP -CA
                                                                                                                       225 Broadway, Suite 2050
                                                                                                                         San Diego, CA 92101
                                                                                                                             619-342-8000

                                                                                                                          Eric A. LaGuardia
                                                                                                                            Laguardia Law
                                                                                                                      402 W. Broadway, Suite 800
                                                                                                                         San Diego, CA 92101
                                                                                                                            619-355-4432

O'Neill v. Equifax, Inc. et al.    1:17-cv-07284    District of New                                                       David H. Tracey                                                  dtracey@sanfordheisler.com      Consumer      Yes by CTO - 1
                                                         Jersey                                                   SANFORD HEISLER SHARP, LLP
                                                                                                                1350 Avenue of the Americas, 31st Floor
                                                                                                                        New York, NY 10019
                                                                                                                            646-402-5650

                                                                                                                             Kevin Sharp                                                   ksharp@sanfordheisler.com
                                                                                                                      Sanford Heisler Sharp, LLP
                                                                                                                     611 Commerce St. Suite 3100
                                                                                                                         Nashville, TN 37203
                                                                                                                            615-434-7001


    Ostoya and Samuel              2:17-cv-01550   Northern District                                                  Francois M. Blaudeau                                                francois@southernmedlaw.com      Consumer           Yes
Stephenson v. Equifax, Inc.                          of Alabama                                                        Evan T. Rosemore                                                     evan@southernmedlaw.com
                                                      (Southern                                                            Odeh J. Issis                                                    odeh@southernmedlaw.com
                                                      Division)                                                 HENINGER GARRISON DAVIS, LLC
                                                                                                                     2224 1st Avenue North
                                                                                                                     Birmingham, AL 35203
                                                                                                                          205-548-5525

     Pacelli v. Equifax            2:17-cv-04246   Eastern District of                                                   Brent F. Vullings                                                 bvullings@vullingslaw.com       Consumer      Yes by CTO - 1
 Information Services, LLC                           Pennsylvania                                                  VULLINGS LAW GROUP LLC
                                                                                                                     3953 Ridge Pike, Suite 102
                                                                                                                       Collegeville, PA 19426
                                                                                                                           610-489-6060




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                                                                In re: Equifax, Inc., Customer Data Security Breach Litigation
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                                 & Original         Court                                                                                                                                                        Financial or       Status
                                   Court                                                                                                                                                                        Small Business
Pagliaruo v. Equifax, Inc.       1:17-cv-03460    Northern District   Evangelista Worley, LLC                 James M. Evangelista                                                  jme@ewlawllc.com               Consumer             Yes
                                                     of Georgia                                                 David J. Worley                                                     david@ewlawll.com
                                                 (Atlanta Division)                                         Kristi Stahnke McGregor                                                 kristi@ewlawll.com
                                                                                                         EVANGELISTA WORLEY, LLC
                                                                                                         8100 A Roswell Road, Suite 100                                            wbf@federmanlaw.com
                                                                                                               Atlanta, GA 30350                                                   clm@federmanlaw.com
                                                                                                                  404-205-8400                                                     jdw@federmanlaw.com

                                                                                                               William Federman
                                                                                                               Carin L. Marcussen
                                                                                                                Joshua D. Wells
                                                                                                          FEDERMAN & SHERWOOD
                                                                                                          10205 N. Pennsylvania Avenue
                                                                                                              Oklahoma, OK 73120
                                                                                                                 405-235-1560



  Pandelakis v. Equifax          2:17-cv-03054      District of                                                David J. McGlothlin                                              david@westcoastlitigation.com      Consumer           Case was
Information Services, LLC                        Arizona (Phoenix                                             HYDE & SWIGART                                                                                                      consolidated by
                                                     Division)                                            2633 E. Indian School Rd., 460                                                                                         mistake; addressed
                                                                                                               Phoenix, AZ 85016                                                                                                  with MDL panel
                                                                                                                                                                                                                                 and case was sent
                                                                                                                 Ryan L. McBride                                                      ryan@kazlg.com                                back to AZ;
                                                                                                              Kazerouni Law Group                                                                                                settled; dismissal
                                                                                                         2633 Indian School Rd., Suite 460                                                                                        with prejudice to
                                                                                                                Phoenix, AZ 85016                                                                                                    be filed by
                                                                                                                                                                                                                                 Plaintiff's counsel
    Pantaze v. Equifax           2:17-cv-01530   Northern District                                             Jason L. Yearout                                                     jyearout@yearout.net           Consumer             Yes
Information Services LLC                           of Alabama                                             YEAROUT & TRAYLOR, PC
                                                    (Southern                                             3300 Cahaba Road, Suite 300
                                                    Division)                                               Birmingham, AL 35223
                                                                                                                205-414-8160                                                       stan@wattsherring.com

                                                                                                                M. Stan Herring
                                                                                                            WATTS & HERRING, LLC                                                   robert@stonepatton.com
                                                                                                              301 19th Street North
                                                                                                             Birmingham, AL 35203
                                                                                                                 205-714-4443

                                                                                                                Robert S. Dooley
                                                                                                      STONE, PATTON, KIERCE & FREEMAN
                                                                                                              118 North 18th Street
                                                                                                            Bessemer, Alabama 35020
                                                                                                                 205-424-1150
Parkhill . Equifax Inc. et al    4:17-cv-02931   Southern District                                           Craig Carley Marchiando                                             ccm@caddellchapman.com            Consumer       Yes by CTO - 1
                                                     of Texas                                             Consumer Litigation Associates
                                                                                                        763 J Clyde Morris Blvd., Suite 1-A
                                                                                                          Newport News, VA 23601-1533
                                                                                                                  757-930-3660




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                                                                 In re: Equifax, Inc., Customer Data Security Breach Litigation
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                                 & Original         Court                                                                                                                                                            Financial or      Status
                                   Court                                                                                                                                                                            Small Business
 Partridge et al v. Equifax      2:17-cv-01017    District of Utah                                             Steven A. Christensen                                                stevenchristensen@gmail.com        Consumer
Incorporated and Equifax                         (Central Division)                                  CHRISTENSEN YOUNG & ASSOCIATES PLLC
Information Services, LLC                                                                                       9980 S. 300 W #200
                                                                                                                 Sandy, UT 84070
                                                                                                                   801-676-6447

Partridge v. Equifax, Inc.       1:17-cv-00423   Southern District                                                    Steven A. Martino                                            stevemartino@taylormartino.com      Consumer      Yes by CTO - 1
                                                   of Alabama                                                        W. Lloyd Copeland                                                 lloyd@taylormartino.com
                                                                                                                   William Bradford Kittrell                                          bkittrell@taylormartino.com
                                                                                                                    Taylor Martino P.C.
                                                                                                                         P.O. Box 894
                                                                                                                      Mobile, AL 36601
                                                                                                                        (251) 433-3131                                                  richard@lawrrr.com

                                                                                                                  Richard R. Rosenthal
                                                                                                         Law Offices of Richard R. Rosenthal, PC
                                                                                                                     200 Title Bldg.
                                                                                                           300 N. Richard Arrington Jr. Blvd.
                                                                                                                 Birmingham, AL 35203
                                                                                                                      205-533-9909

   Paul v. Equifax, Inc.         2:17-cv-06588   Eastern District of                                            Edward B. Geller                                                           epbh@aol.com                Consumer      Yes by CTO - 1
                                                     New York                                              EDWARD B. GELLER, ESQ., P.C.
                                                                                                                15 Landing Way
                                                                                                                Bronx, NY 10464
                                                                                                                 914-473-6783


  Pavesi, Jr. & Turok v.         1:17-cv-03476    Northern District    Harris Lowry Manton, LLP                      Page A. Pate                                                       page@pagepate.com              Consumer           Yes
      Equifax, Inc.                                  of Georgia                                                    Jess B. Johnson                                                      jess@pagepate.com
                                                 (Atlanta Division)                                            PATE & JOHNSON, LLC
                                                                                                             101 Marietta St NW Suite 3300
                                                                                                                  Atlanta, GA 30303
                                                                                                                    404-223-3310                                                      steve@hlmlawfirm.com
                                                                                                                                                                                       jeff@hlmlawfirm.com
                                                                                                                 Stephen G. Lowry                                                      jed@hlmlawfirm.com
                                                                                                                  Jeffrey R. Harris                                                   molly@hlmlawfirm.com
                                                                                                                   Jed D. Manton
                                                                                                               Madeline E. McNeeley
                                                                                                           HARRIS LOWRY MANTON LLP
                                                                                                             1201 Peachtree St. NE # 900
                                                                                                                 Atlanta, GA 30361
                                                                                                                   404-961-7650

Pavitt et al. v. Equifax Inc.    2:17-cv-01363    Western District                                             Catherine Jura Fleming                                                 catherine@stritmatter.com        Consumer
                                                  of Washington                                   STRITMATTER KESSLER WHELAN KOEHLER MOORE
                                                 (Seattle Division)                                               KAHLER (SEA)
                                                                                                             3600 15th Ave W, Suite 300
                                                                                                                 Seattle, WA 98119
                                                                                                                   206-826-8232




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                                                                                      Plaintiffs' Counsel Table
                                                                     In re: Equifax, Inc., Customer Data Security Breach Litigation
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       Case Name                    Case Number        Original                Local Counsel               Plaintiffs' Counsel & Contact Information                                             Email Addresses              Consumer,        Transfer
                                     & Original         Court                                                                                                                                                                 Financial or      Status
                                       Court                                                                                                                                                                                 Small Business
Pellitteri et al v. Equifax, Inc.    1:17-cv-03881   Northern District     Law Offices of David A. Bain,                     David Andrew Bain                                                    dbain@bain-law.com            Consumer
                                                       of Georgia                      LLC                            Law Offices of David A. Bain, LLC
                                                                                                                             1050 Promenade II
                                                                                                                          1230 Peachtree Street, NE                                           g.blanchfield@rwblawfirm.com
                                                                                                                             Atlanta, GA 30309
                                                                                                                                404-724-9990

                                                                                                                          Garrett D. Blanchfield , Jr.
                                                                                                                       Reinhardt Wendorf & Blanchfield
                                                                                                                             332 Minnesota Street
                                                                                                                      E-1250 First National Bank Building
                                                                                                                              St. Paul, MN 55101
                                                                                                                                 651-287-2100

   Perkins et al. v. Equifax         1:17-cv-03479   Northern District         Daniel DeWoskin                                Jeremiah Frei-Pearson                                             jfrei-pearson@fbfglaw.com       Consumer
                                                       of Georgia           DeWoskin Law Firm, LLC                             D. Greg Blankinship                                              gblankinship@gbfglaw.com
                                                                                                                                 Chantal L. Khalil                                                  ckhalil@fbfglaw.com
                                                                                                              Finkelstein, Blankinship, Frei-Pearson & Garber, LLP
                                                                                                                         445 Hamilton Avenue, Suite 605
                                                                                                                             White Plains, NY 10601
                                                                                                                                  844-431-0695


   Perkins v. Equifax Inc.           3:17-cv-00727   Northern District                                                   Joseph A. Zarzaur, Jr.                                                    joe@zarzaurlaw.com           Consumer      Yes by CTO - 1
                                                        of Florida                                                 ZARZAUR LAW PA - PENSACOLA FL
                                                                                                                           11 E.. Romana St.
                                                                                                                        P.O. Box 12305 [32591]
                                                                                                                          Pensacola, FL 32502
                                                                                                                             850-444-9299


   Peters et al. v. Equifax          8:17-cv-01634   Central District of                                                      Amir J. Goldstein                                               ajg@consumercounselgroup.com      Consumer      Yes by CTO - 1
Information Services, LLC et                            California                                                      Amir J. Goldstein Law Offices
              al.                                                                                                      8032 West Third Street, Suite 201
                                                                                                                           Los Angeles, CA 90048
                                                                                                                                323-937-0400


 Pierre et al. v. Equifax, Inc.      2:17-cv-10520   Eastern District of Williamson, Fontenot, Campbell                    Robert Leonard Campbell                                             robb@lawyerbatonrouge.com        Consumer      Yes by CTO - 1
              et al                                      Louisiana             & Whittington, LLC             Williamson, Fontenot, Campbell & Whittington, LLC
                                                                                                                               955 McClung St
                                                                                                                                P.O. Box 3035
                                                                                                                           Baton Rouge, LA 70821
                                                                                                                                225-383-4010                                                    ksharp@sanfordheisler.com

                                                                                                                               Kevin Hunter Sharp
                                                                                                                            Sanford Heisler Sharp, LLP
                                                                                                                                611 Commerce St.
                                                                                                                                    Suite 3100
                                                                                                                               Nashville, TX 37203
                                                                                                                                  615-434-7001




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                                                                                                                   Case 1:17-md-02800-TWT Document 94-1 Filed 01/10/18 Page 79 of 104




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                                                                  In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                   Case Number        Original              Local Counsel                Plaintiffs' Counsel & Contact Information                                        Email Addresses             Consumer,        Transfer
                                   & Original         Court                                                                                                                                                          Financial or      Status
                                     Court                                                                                                                                                                          Small Business
  Pino v. Equifax Inc. et al       1:17-cv-05140   Northern District                                                    Kevin H. Sharp                                                  ksharp@sanfordheisler.com      Consumer
                                                     of Georgia                                                    Sanford Heisler Sharp, LLP
                                                                                                                 611 Commerce Street, Suite 3100
                                                                                                                      Nashville, TN 37203
                                                                                                                         615-343-7001

Pleasant et al v. Equifax, Inc.    1:17-cv-03507   Northern District   Office of George E. Butler, II                George Edwin Butler , II                                               geb@lawyers.com            Consumer
                                                     of Georgia                                                    Office of George E. Butler, II
                                                                                                                        132 Hawkins Street
                                                                                                                      Dahlonega, GA 30533
                                                                                                                           404-873-2544                                                   jrr@rhineslawfirm.com

                                                                                                                          Joel R. Rhine
                                                                                                                Law Office of Rhine Law Firm, P.C.
                                                                                                                             Suite 300
                                                                                                                    1612 Military Cutoff Road
                                                                                                                     Wilmington, NC 28403
                                                                                                                          910-772-9960

 Podalsky et al. v. Equifax,       1:17-cv-23465   Southern District                                               Rebecca Newman Casamayor                                             rcasamayor@dhaberlaw.com       Consumer      Yes by CTO - 1
            Inc.                                      of Florida                                                         Haber Slade, P.A.
                                                                                                                 201 S. Biscayne Blvd. Suite 1205
                                                                                                                         Miami, FL 33131
                                                                                                                          305-379-2400                                                      samilow@aol.com

                                                                                                                        Steven Frederick Samilow
                                                                                                                            7777 Glades Road
                                                                                                                                Suite 100                                                 rslade@dhaberlaw.com
                                                                                                                          Boca Raton, FL 33434
                                                                                                                              561-245-4633

                                                                                                                              Roger Slade
                                                                                                                            Haber Slade, P.A.
                                                                                                                        201 South Biscayne Blvd.
                                                                                                                               Suite 1205
                                                                                                                            Miami, FL 33131
                                                                                                                          305-379-2400 ext 105

 Powers et al v. Equifax Inc.      6:17-cv-02510   District of South                                                   James L Ward, Jr                                                 jward@mcgowanhood.com          Consumer      Yes by CTO - 1
                                                       Carolina                                                  McGowan Hood and Felder LLC
                                                                                                                   321 Wingo Way, Suite 103
                                                                                                                     Mt Pleasant, SC 29464
                                                                                                                         843-388-7202
                                                                                                                                                                                        steppler@abbottlawpa.com
                                                                                                                         Steven W. Teppler, Esq.
                                                                                                                         Abbott Law Group, P.A.
                                                                                                                         2929 Plummer Cove Rd.
                                                                                                                         Jacksonville, FL 32223
                                                                                                                              904-292-1111




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                                                                                 Plaintiffs' Counsel Table
                                                                     In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                                      Case No. 1:17-md-2800-TWT
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      Case Name                   Case Number        Original             Local Counsel            Plaintiffs' Counsel & Contact Information                                            Email Addresses                 Consumer,        Transfer
                                   & Original         Court                                                                                                                                                             Financial or      Status
                                     Court                                                                                                                                                                             Small Business
Prejean et al. v. Equifax, Inc.    1:17-cv-00468   District of Hawaii                                               Brandee J. Faria                                                                                      Consumer      Yes by CTO - 1
                                                                                                                     John F. Perkin                                                     bjkfaria@perkinlaw.com
                                                                                                                     James J. Wade                                                       perkin@perkinlaw.com
                                                                                                                     Perkin & Faria                                                      jwade@perkinlaw.com
                                                                                                              841 Bishop Street, Suite 1000
                                                                                                                  Honolulu, HI 96813
                                                                                                                     808-523-2300



  Pugliese v. Equifax, Inc.        1:17-cv-03461    Northern District    Evangelista Worley, LLC                 James M. Evangelista                                                     jme@ewlawllc.com                Consumer           Yes
                                                       of Georgia                                                  David J. Worley                                                        david@ewlawll.com
                                                   (Atlanta Division)                                          Kristi Stahnke McGregor                                                    kristi@ewlawll.com
                                                                                                            EVANGELISTA WORLEY, LLC
                                                                                                            8100 A Roswell Road, Suite 100                                               wbf@federmanlaw.com
                                                                                                                  Atlanta, GA 30350                                                      clm@federmanlaw.com
                                                                                                                     404-205-8400                                                        jdw@federmanlaw.com

                                                                                                                  William Federman
                                                                                                                  Carin L. Marcussen
                                                                                                                   Joshua D. Wells
                                                                                                             FEDERMAN & SHERWOOD
                                                                                                             10205 N. Pennsylvania Avenue
                                                                                                                 Oklahoma, OK 73120
                                                                                                                    405-235-1560


Quagliani v. Equifax, Inc. et      3:17-cv-01668       District of                                                   Steven J. Moore                                               steven.moore@withersworldwide.com      Consumer      Yes by CTO - 1
             al.                                      Connecticut                                                    James E. Nealon                                               james.nealon@withersworldwide.com
                                                                                                                 Withers Bergman, LLP
                                                                                                           1700 East Putnam Avenue, Suite 400
                                                                                                                 Greenwich, CT 06870
                                                                                                                      203-302-4069

   Raffin v. Equifax, Inc.         2:17-cv-06620   Central District of                                            Todd M. Friedman                                                      tfriedman@toddflaw.com            Consumer           Yes
                                                       California                                                  Adrian R. Bacon                                                        abacon@toddflaw.com
                                                   (Western Division                                     LAW OFFICES OF TODD M. FRIEDMAN
                                                    - Los Angeles)                                           21550 Oxnard Street, Suite 780
                                                                                                               Woodland Hills, CA 91367
                                                                                                                    424-285-6006

   Rajput v. Equifax, Inc.         5:17-cv-01606   Northern District                                                 Eric J Artrip                                                     artrip@mastandoartrip.com          Consumer      Yes by CTO - 1
                                                     of Alabama                                                  Dennis A. Mastando                                                    tony@mastandoartrip.com
                                                                                                              MASTANDO & ARTRIP LLC
                                                                                                                301 Washington Street
                                                                                                                      Suite 302
                                                                                                                 Huntsville, AL 35801
                                                                                                                    256-532-2222




                                                                                                                 79 of 103
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                                                                              Plaintiffs' Counsel Table
                                                                      In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                                       Case No. 1:17-md-2800-TWT
                                                                                               MDL No. 2800
       Case Name                   Case Number        Original            Local Counsel   Plaintiffs' Counsel & Contact Information                                        Email Addresses               Consumer,        Transfer
                                    & Original         Court                                                                                                                                             Financial or      Status
                                      Court                                                                                                                                                             Small Business
   Ramsay v. Equifax Inc.           4:17-cv-02783   Southern District                                    George H Lugrin, IV                                             glugrin@hallmaineslugrin.com      Consumer      Yes by CTO - 1
                                                        of Texas                                        Westmoreland Hall PC
                                                                                                    2800 Post Oak Blvd, Suite 6400
                                                                                                         Houston, TX 77056
                                                                                                            713-586-4286


   Ray v. Equifax Inc. et al        1:17-cv-01331       District of                                               PRO SE                                                     mike@myfedlaw.com             Consumer      Yes by CTO - 1
                                                        Delaware                                             Michael R. Ray
                                                                                                               P.O. Box 100
                                                                                                          Myrtle Beach, SC 29578
                                                                                                               843-448-1515

Ressetar et al. v. Equifax, Inc.    3:17-cv-01670   Middle District of                                       Christopher Markos                                           cmarkos@williamscedar.com        Consumer      Yes by CTO - 1
             et al.                                  Pennsylvania                                             Gerald J. Williams                                         gwilliams@williamscedar.com
                                                                                                                Williams Cedar
                                                                                                              1515 Market Street
                                                                                                                  Suite 1300
                                                                                                            Philadelphia, PA 19102
                                                                                                                 215.557.0099

                                                                                                           Michael J. Quirk
                                                                                                        Berezofsky Law Group
                                                                                                    1515 Market Street, Suite 1300
                                                                                                     Philadelphia, PA 19102-1929
                                                                                                            215-557-0099

    Reyes v. Equifax Inc.           1:17-cv-06589   Eastern District of                                Edward B. Geller                                                         epbh@aol.com               Consumer      Yes by CTO - 1
                                                        New York                                  EDWARD B. GELLER, ESQ., P.C.
                                                                                                       15 Landing Way
                                                                                                       Bronx, NY 10464
                                                                                                        914-473-6783

    Reyes v. Equifax Inc.           2:17-cv-06590   Eastern District of                                Edward B. Geller                                                         epbh@aol.com               Consumer      Yes by CTO - 1
                                                        New York                                  EDWARD B. GELLER, ESQ., P.C.
                                                                                                       15 Landing Way
                                                                                                       Bronx, NY 10464
                                                                                                        914-473-6783

  Rice et al. v. Equifax, Inc.      1:17-cv-00156   Northern District                                     James A. Gianola                                                   jgianola@gbwlaw.net           Consumer
                                                    of West Virginia                                       John F. Gianola                                                john.gianola@gbbjlaw.com
                                                       (Clarksburg                                  Gianola, Barnum & Wigal, LC
                                                        Division)                                         1714 Mileground
                                                                                                      Morgantown, WV 26505                                               Dhartley@hartleylawgrp.com
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                                                                                                         2001 Main St., Suite 600
                                                                                                          Wheeling, WV 26003
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                                                                            Plaintiffs' Counsel Table
                                                              In re: Equifax, Inc., Customer Data Security Breach Litigation
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     Case Name                Case Number        Original             Local Counsel           Plaintiffs' Counsel & Contact Information                                        Email Addresses             Consumer,        Transfer
                               & Original         Court                                                                                                                                                    Financial or      Status
                                 Court                                                                                                                                                                    Small Business
Rich v. Equifax Information    3:17-cv-00229   Western District                                                      James A. Naddeo                                            naddeolaw@verizon.net        Consumer      Yes by CTO - 3
       Services, LLC                           of Pennsylvania                                                     207 East Market Street
                                                                                                                       P.O. Box 552
                                                                                                                    Clearfield, PA 16830
                                                                                                                       814-765-1601

Richmond et al v. Equifax,     1:17-cv-03477   Northern District    Evangelista Worley, LLC                  James M. Evangelista                                                jme@ewlawllc.com            Consumer
          Inc.                                   of Georgia                                                    David J. Worley                                                   david@ewlawll.com
                                                                                                           Kristi Stahnke McGregor                                               kristi@ewlawll.com
                                                                                                        EVANGELISTA WORLEY, LLC
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                                                                                                              Atlanta, GA 30350
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                                                                                                              Carin L. Marcussen
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                                                                                                         FEDERMAN & SHERWOOD
                                                                                                         10205 N. Pennsylvania Avenue
                                                                                                             Oklahoma, OK 73120
                                                                                                                405-235-1560



 Ruscitto v. Equifax, Inc.     1:17-cv-03444    Northern District   McConnell & Sneed, LLC                    Andrew Joseph Coomes                                             ajc@mcconnellsneed.com        Consumer           Yes
                                                   of Georgia                                                 McConnell & Sneed, LLC
                                               (Atlanta Division)                                                   Suite 840
                                                                                                               990 Hammond Drive                                               jgoldenberg@gs-legal.com
                                                                                                                Atlanta, GA 30328
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                                                                                                                 1 West 4th Street
                                                                                                               Cincinnati, OH 45202
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                                                                                                              Cincinnati, OH 45208
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                                                                                                   1625 Massachusetts Avenue, N.W., Suite 605
                                                                                                             Washington, DC 20036
                                                                                                                 202-429-2290




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                                                                In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                 Case Number        Original           Local Counsel          Plaintiffs' Counsel & Contact Information                                         Email Addresses             Consumer,       Transfer
                                 & Original         Court                                                                                                                                                  Financial or     Status
                                   Court                                                                                                                                                                  Small Business
 Rust et al. v. Equifax, Inc.    1:17-cv-03471    Northern District   Faruqi & Faruqi, LLP                      Robert W. Killorin                                              rkillorin@faruqilaw.com      Consumer
                                                     of Georgia                                                  Timothy J. Peter                                                 tpeter@faruqilaw.com
                                                 (Atlanta Division)                                            James M. Wilson, Jr.                                              jwilson@faruqilaw.com
                                                                                                             Faruqi & Faruqi, LLP -Atl
                                                                                                            3975 Roswell Road, Suite A
                                                                                                                Atlanta, GA 30342
                                                                                                                   404-275-7557


Salinas and Ribons v. Equifax    3:17-cv-05284   Northern District                                             Bruce L. Simon                                                    bsimon@pswlaw.com           Consumer
             Inc.                                of California (San                                          Alexander L. Simon                                                  asimon@pswlaw.com
                                                   Jose Division)                                   PEARSON, SIMON & WARSHAW, LLP
                                                                                                       44 Montgomery Street, Suite 2450
                                                                                                        San Francisco, California 94104
                                                                                                                415-433-9000

                                                                                                             Daniel L. Warshaw
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                                                                                                    PEARSON SIMON & WARSHAW, LLP                                                mpearson@pswlaw.com
                                                                                                      15165 Ventura Boulevard, Suite 400
                                                                                                        Sherman Oaks, California 91403
                                                                                                                818-788-8300
   Samson v. Equifax, Inc.       1:17-cv-03448    Northern District                                              Lisa L. Heller                                                lheller@robbinsfirm.com       Consumer        Yes
                                                     of Georgia                                   Robbins Ross Alloy Belinfante Littlefield, LLC
                                                 (Atlanta Division)                                  999 Peachtree Street, N.E., Suite 1120
                                                                                                               Atlanta, GA 30309                                                 jdancona@ktmc.com
                                                                                                                 678-701-9381                                                     namjed@ktmc.com

                                                                                                               Naumon A. Amjed
                                                                                                                Joshua D'Ancona
                                                                                                                 Ethan J. Barlieb
                                                                                                    Kessler Topaz Meltzer & Check, LLP-PA
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                                                                                                               Radnor, PA 19087
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                                                                                                             Cooper & Kirk, PLLC
                                                                                                       1523 New Hampshire Avenue, N.W.
                                                                                                             Washington, DC 20036
                                                                                                                202-220-9600




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                                                                             Plaintiffs' Counsel Table
                                                                     In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                   Case Number        Original            Local Counsel   Plaintiffs' Counsel & Contact Information                                          Email Addresses               Consumer,        Transfer
                                   & Original         Court                                                                                                                                               Financial or      Status
                                     Court                                                                                                                                                               Small Business
 Sander v. Equifax Inc. et al      1:17-cv-02119       District of                                    H. Vincent McKnight, Jr.                                           vmcknight@sandfordheisler.com      Consumer      Yes by CTO - 1
                                                       Columbia                                  SANFORD HEISLER SHARP, LLP
                                                                                               1666 Connecticut Avenue, NW, Suite 300
                                                                                                       Washington, DC 20009
                                                                                                           202-499-5211                                                   amelzer@sanfordheisler.com
                                                                                                                                                                          jheisler@sanfordheisler.com
                                                                                                         Jeremy Heisler
                                                                                                         Andrew Melzer
                                                                                                 SANFORD HEISLER SHARP, LLP                                                ksharp@sanfordheisler.com
                                                                                                    1350 6th Avenue, Floor 31
                                                                                                      New York, NY 10019
                                                                                                          646-402-5650

                                                                                                          Kevin H. Sharp
                                                                                                     Sanford Heisler Sharp, LLP
                                                                                                   611 Commerce Street,Suite 3100
                                                                                                        Nashville, TN 37203
                                                                                                           615-343-7001




Santomauro et al. v. Equifax       1:17-cv-01852    District of D.C.                                        Troy Giatras                                                    troy@tjewvlawfirm.com           Consumer
          Inc.                                       (Washington,                                   GIATRAS LAW FIRM, PLLC
                                                    D.C. Division)                                   118 Capitol Street, 4th Floor
                                                                                                       Charleston, WV 25301
                                                                                                           304-343-2900

Schifano et al. v. Equifax Inc.    2:17-cv-06996   Central District of                                  Rosemary M. Rivas                                                       rrivas@zlk.com              Consumer      Yes by CTO - 1
                                                      California                                        Quentin A. Roberts                                                     qroberts@zlk.com
                                                                                                      Levi and Korsinsky LLP
                                                                                                   44 Montgomery Street Suite 650
                                                                                                      San Francisco, CA 94104
                                                                                                           415-291-2420

    Scott v. Equifax Inc.          2:17-cv-06715   Central District of                                   Lionel Zevi Glancy                                                 lglancy@glancylaw.com           Consumer
                                                       California                                          Marc L. Godino                                                  mgodino@glancylaw.com
                                                   (Western Division                                    Danielle L. Manning                                                dmanning@glancylaw.com
                                                    - Los Angeles)                                          Kevin F. Ruf                                                      kruf@glancylaw.com
                                                                                                   Glancy Prongay and Murray LLP
                                                                                                  1925 Century Park East Suite 2100
                                                                                                       Los Angeles, CA 90067
                                                                                                            310-201-9150

    Seror v. Equifax Inc.          3:17-cv-11437    District of New                                   Edward B. Geller                                                          epbh@aol.com                Consumer      Yes by CTO - 1
                                                         Jersey                                  EDWARD B. GELLER, ESQ., P.C.
                                                                                                      15 Landing Way
                                                                                                      Bronx, NY 10464
                                                                                                       914-473-6783




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                                                                                 Plaintiffs' Counsel Table
                                                                    In re: Equifax, Inc., Customer Data Security Breach Litigation
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       Case Name                  Case Number        Original              Local Counsel            Plaintiffs' Counsel & Contact Information                                            Email Addresses               Consumer,        Transfer
                                   & Original         Court                                                                                                                                                            Financial or      Status
                                     Court                                                                                                                                                                            Small Business
Seymore et al. v. Equifax, Inc.    3:17-cv-01871   Southern District                                                 Tyler Jay Belong                                                  tbelong@hoguebelonglaw.com        Consumer
                                                   of California (San                                                Eric Dos Santos                                                 edossantos@hoguebelongloaw.com
                                                    Diego Division)                                                  Jeffrey L. Hogue                                                   jhogue@hoguebelonglaw.com
                                                                                                                   Hogue & Belong APC
                                                                                                              430 Nutmeg Street, Second Floor
                                                                                                                   San Diego, CA 92103
                                                                                                                      619-238-4720


 Sievers v. Equifax Inc. et al     4:17-cv-00103      District of       Edwards, Frickle & Culver                    Triel D. Culver                                                   jenny@edwardslawfirm.com          Consumer      Yes by CTO - 1
                                                      Montana                                                      A. Clifford Edwards
                                                                                                             EDWARDS FRICKLE & CULVER
                                                                                                                1648 Poly Drive, Suite 206                                              triel@edwardslawfirm.com
                                                                                                                   Billings, MT 59102
                                                                                                                      406-256-8155                                                      ksharp@sanfordheisler.com

                                                                                                                   Edward D. Chapin                                                    echapin2@sanfordheisler.com
                                                                                                             SANFORD HEISLER SHARP, LLP
                                                                                                              655 West Broadway, Suite 1700                                           dfuschetti@sanfordheisler.com
                                                                                                                  San Diego, CA 92101
                                                                                                                     619-577-4250

                                                                                                                 Danielle Anne Fuschetti
                                                                                                    SANFORD HEISLER SHARP LLP - SAN FRANCISCO, CA
                                                                                                                 111 Sutter St., Suite 975
                                                                                                                San Francisco, CA 94104
                                                                                                                      415-795-2022

                                                                                                                        Kevin Sharp
                                                                                                      SANFORD HEISLER SHARP LLP - NASHVILLE, TN
                                                                                                                611 Commerce St., Suite 3100
                                                                                                                    Nashville, TN 37203
                                                                                                                       615-434-7001
Sikes et al. v. Equifax Inc. et    1:17-cv-00258    Western District    Grimes Teich Anderson LLP                     Jeremy Heisler                                                   jheisler@sanfordheisler.com       Consumer      Yes by CTO - 1
               al                                  of North Carolina                                                 Andrew C. Melzer                                                  amelzer@sanfordheisler.com
                                                                                                           1350 Avenue of the Americas, 31st Floor                                      ksharp@sanfordheisler.com
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                                                                                                                      615-434-7000

                                                                                                                     Jessica E. Leaven
                                                                                                                 Grimes Teich Anderson LLP
                                                                                                                     535 College Street
                                                                                                                    Asheville, NC 28801
                                                                                                                       828-251-0800




                                                                                                                   84 of 103
                                                                                                               Case 1:17-md-02800-TWT Document 94-1 Filed 01/10/18 Page 86 of 104




                                                                               Plaintiffs' Counsel Table
                                                                In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                 Case Number        Original             Local Counsel               Plaintiffs' Counsel & Contact Information                                           Email Addresses                Consumer,       Transfer
                                 & Original         Court                                                                                                                                                              Financial or     Status
                                   Court                                                                                                                                                                              Small Business
Simmons et al v. Equifax Inc.    1:17-cv-03659   Northern District   Byrne Davis & Hicks, P.C.                        Paul Jay Pontrelli                                                  pjp1460@gmail.com              Consumer
           et al                                   of Georgia                                                     Byrne Davis & Hicks, P.C.
                                                                                                                  3565 Piedmont Road, N.E.
                                                                                                                    Building 4, Suite 380
                                                                                                                     Atlanta, GA 30305
                                                                                                                        404-266-7284                                                   jheisler@sanfordheisler.com
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                                                                                                                      Jeremy Heisler
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                                                                                                                    Houston, TX 77007
                                                                                                                       713-899-9784

Sky Federal Credit Union et      1:18-cv-00094   Northern District         Anthony C. Lake                           Bryan Bleichner                                                bbleichner@chesnutcambronne.com       Financial
       al v. Equifax                               of Georgia              Thomas Withers                          Chestnut Cambronne
                                                                     Gillen Withers & Lake, LLC            17 Washington Avenue North, Suite 300                                         cvanhorn@bfvlaw.com
                                                                      3490 Piedmont Road, N.E.                   Minneapolis, MN 55401
                                                                     One Securities Centre, Suite                      612-339-7300                                                      ecomite@scott-scott.com
                                                                                 1050                                                                                                  jguglielmo@scott-scott.com
                                                                          Atlanta, GA 30305                              Erin Green Comite
                                                                            404-842-9700                                  Joseph Guglielmo                                              Khriebel@locklaw.com
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                                                                     Berman Fink Van Horn P.C.                              P.O. Box 192                                                 aclake@gwllawfirm.com
                                                                     3475 Piedmont Road, Suite                          Colchester, CT 06415                                            twithers@gwllawfirm.com
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                                                                                                                     Caroline Thomas
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                                                                                                                  New Orleans, LA 70130
                                                                                                                       505-525-8100

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                                                                          Plaintiffs' Counsel Table
                                                                 In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                  Case Number        Original          Local Counsel   Plaintiffs' Counsel & Contact Information                                              Email Addresses                 Consumer,        Transfer
                                  & Original         Court                                                                                                                                                   Financial or      Status
                                    Court                                                                                                                                                                   Small Business
                                                                                                     Brian C. Gudmundson                                                brian.gudmundson@zimmreed.com
                                                                                                 Zimmerman Reed, P.L.L.P. -MN
                                                                                                        1100 IDS Center                                                     glynch@carlsonlynch.com
                                                                                                      80 South 8th Street
                                                                                                    Minneapolis, MN 55402
                                                                                                         612-341-0400

                                                                                                          Gary F. Lynch
                                                                                                      Carlson Lynch Sweet
                                                                                                     Kilpela & Carpenter LLP
                                                                                                   1133 Penn Avenue, 5th Floor
                                                                                                      Pittsburgh, PA 15222
                                                                                                          412-322-9243

    Skye v. Equifax Inc.          1:17-cv-11742      District of                                     Theodore M. Hess-Mahan                                            thess-mahan@hutchingsbarsamian.com      Consumer
                                                    Massachusetts                        Hutchings, Barsamian, Cross and Mandelcorn, LLP
                                                  (Boston Division)                                       110 Cedar St.
                                                                                                    Wellesley Hills, MA 02481
                                                                                                          781-431-2231                                                        okurtz@gardylaw.com

                                                                                                           Orin Kurtz
                                                                                                      Grady & Notis, LLP
                                                                                                            8th Floor
                                                                                                  Tower 56, 126 East 56th Street
                                                                                                     New York, NY 10022
                                                                                                         212 905-0509
Smith et al.v. Equifax Inc. et    1:17-cv-02183   Northern District                                            Kevin H. Sharp                                              ksharp@sanfordheisler.com           Consumer      Yes by CTO - 1
              al                                      of Ohio                                               Sanford Heisler Sharp
                                                                                                                  Ste. 3100
                                                                                                            611 Commerce Street
                                                                                                            Nashville, TN 37203
                                                                                                               615-434-7001

Smith et al.v. Equifax Inc. et    4:17-cv-02939   Southern District                                     Salar Ali Ahmed                                                      aahmedlaw@gmail.com               Consumer      Yes by CTO - 1
              al                                      of Texas                                          One Arena Place
                                                                                                 7322 Southwest Frwy, Suite 1920
                                                                                                       Houston, TX 77074
                                                                                                          713-223-1300




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                                                                In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                 Case Number        Original            Local Counsel        Plaintiffs' Counsel & Contact Information                                          Email Addresses               Consumer,        Transfer
                                 & Original         Court                                                                                                                                                    Financial or      Status
                                   Court                                                                                                                                                                    Small Business
 Southwest Louisiana Credit      1:17-cv-04822   Northern District    POPE MCGLAMRY, P.C.                 Michael Lee McGlamry                                                 mmcglamry@pmkm.com               Financial
 Union v. Equifax, Inc. et al                      of Georgia                                                N. Kirkland Pope                                                   kirkpope@pmkm.com
                                                                                                           Pope McGlamry, P.C.
                                                                                                             P.O. Box 191625
                                                                                                    3391 Peachtree Road, N.E., Suite 300
                                                                                                          Atlanta, GA 31119-1625
                                                                                                               404-523-7706                                                   chrish@pittmandutton.com
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                                                                                                              Chris T. Hellums
                                                                                                               Jonathan Mann
                                                                                                      Pittman, Dutton & Hellums, P.C.
                                                                                                           2001 Park Place North
                                                                                                       Park Place Tower, Suite 1100
                                                                                                           Birmingham, AL 35203
                                                                                                                205-322-8880

 Southwick et al v. Equifax      5:17-cv-01184   Western District                                              C. Austin Reams                                                austin@reamslawfirm.com          Consumer      Yes by CTO - 1
         Inc. et al                               of Oklahoma                                                    Reams Law
                                                 (Oklahoma City                                               9208 N Kelley Ave
                                                    Division)                                              Oklahoma City, OK 73131
                                                                                                                405-285-6878

Spicer & Gutierrez v. Equifax    5:17-cv-05228   Northern District                                            Aaron Blumenthal                                                   ab@classlawgroup.com          Consumer
   Inc. and TrustedID Inc.                       of California (San                                           Amy Marie Zeman                                                  amz@classlawgroup.com
                                                   Jose Division)                                           David Michael Berger                                            davidberger@classlawgroup.com
                                                                                                                Eric H. Gibbs                                                   ehg@classlawgroup.com
                                                                                                          GIBBS LAW GROUP LLP
                                                                                                          505 14th Street, Suite 1110
                                                                                                             Oakland, CA 94612                                                  aep@girardgibbs.com
                                                                                                                510-350-9700

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                                                                                                      601 California Street, 14th Floor
                                                                                                         San Francisco, CA 94108
                                                                                                               415-987-4800
Sprecher v. Equifax Inc et al    1:17-cv-05141   Northern District                                           Kevin H. Sharp                                                   ksharp@sanfordheisler.com        Consumer
                                                   of Georgia                                           Sanford Heisler Sharp, LLP
                                                                                                      611 Commerce Street, Suite 3100
                                                                                                           Nashville, TN 37203
                                                                                                              615-343-7001




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                                                                                 Plaintiffs' Counsel Table
                                                                   In re: Equifax, Inc., Customer Data Security Breach Litigation
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       Case Name                   Case Number        Original            Local Counsel            Plaintiffs' Counsel & Contact Information                                       Email Addresses             Consumer,        Transfer
                                    & Original         Court                                                                                                                                                   Financial or      Status
                                      Court                                                                                                                                                                   Small Business
St. Clair et al v. Equifax, Inc.    1:17-cv-04792   Northern District    Evangelista Worley, LLC                     Ariana J. Tadler                                                atadler@milberg.com         Consumer
                                                      of Georgia                                                     Andrei V. Rado                                                   arado@milberg.com
                                                                                                                      Henry Kelston                                                 hkelston@milberg.com
                                                                                                                   Elizabeth McKenna                                               emckenna@milberg.com
                                                                                                                      Melissa Clark                                                  mclark@milberg.com
                                                                                                          Milberg Tadler Phillips Grossman LLP
                                                                                                           One Pennsylvania Plaza, Suite 1920                                        david@ewlawllc.com
                                                                                                               New York, NY 10119-0165                                                jim@ewlawllc.com
                                                                                                                      212-594-5300                                                   kristi@ewlawllc.com

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                                                                                                                 James M. Evangelista
                                                                                                               Kristi Stahnke McGregor
                                                                                                               Evangelista Worley, LLC
                                                                                                            8100 A Roswell Road, Suite 100
                                                                                                                  Atlanta, GA 30350
                                                                                                                     404-205-8400



  Stabenow et al v. Equifax,        8:17-cv-02289   Middle District of                                                    Jay P. Lechner                                           lechnerj@thefllawirm.com      Consumer      Yes by CTO - 1
            Inc.                                        Florida                                                          Jason M. Melton                                            jason@thefllawfirm.com
                                                                                                                        Whittel & Melton
                                                                                                                    200 Central Ave Ste 400
                                                                                                                    St. Petersburg, FL 33701
                                                                                                                          727-822-1111

Stanfield et al. v. Equifax Inc.    3:17-cv-01102   Southern District                                                  Kenneth J. Brennan                                          kbrennan@thlawyer.com         Consumer      Yes by CTO - 1
                                                       of Illinois                                                       Tor A. Hoerman                                               tor@thlawyer.com
                                                                                                                        Tyler J. Schneider                                           tyler@thlawyer.com
                                                                                                                      TorHoerman Law LLC
                                                                                                                      210 South Main Street
                                                                                                                      Edwardsville, IL 62025
                                                                                                                          618-656-4400




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                                                                  In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                  Case Number        Original               Local Counsel              Plaintiffs' Counsel & Contact Information                                         Email Addresses              Consumer,        Transfer
                                  & Original         Court                                                                                                                                                           Financial or      Status
                                    Court                                                                                                                                                                           Small Business
 State Employees Federal          1:17-cv-05109   Northern District                                                         Stacey P. Slaughter                                       sslaughter@robinskaplan.com       Financial
Credit Union et al v. Equifax                       of Georgia                                                              William H. Stanhope                                       wstanhope@robinskaplan.com
            Inc.                                                                                                                James Kitces                                            jkitces@robinskaplan.com
                                                                                                                             Sam E. Khoroosi                                          skhoroosi@robinskaplan.com
                                                                                                                               J. Austin Hurt                                            ahurt@robinskaplan.com
                                                                                                                             Michael J. Pacelli                                        mpacelli@robinskaplan.com
                                                                                                                               Susan Brown                                             sbrown@robinskaplan.com
                                                                                                                               Michael Ram                                               mram@robinskaplan.com

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                                                                                                                              Minneapolis, MN                                           sam@turkestrauss.com
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                                                                                                                           613 Williamson Street
                                                                                                                            Madison, WI 53703
                                                                                                                               608-237-1776

                                                                                                                               David A. Reed
                                                                                                                            Reed & Jolly, PLLC
                                                                                                                            3711 Millpond Court
Stewart et al. v. Equifax Inc.    4:17-cv-02433   Eastern District of                                                        F i f PRO
                                                                                                                                     VASE22033                                             no email provided           Consumer      Yes by CTO - 1
            et al.                                    Missouri                                                                  James Stewart
                                                                                                                                Eileen Stewart
                                                                                                                             6634 McCune Ave.
                                                                                                                            St. Louis, MO 63139
                                                                                                                                314-398-5403

 Stiles v. Equifax Inc. et al     3:17-cv-00144    Western District     Boehl Stopher & Graves, LLP                   Jeremy Heisler                                                  jheisler@sanfordheisler.com      Consumer      Yes by CTO - 1
                                                    of Kentucky                                                       Andrew Melzer                                                   amelzer@sanfordheisler.com
                                                                                                              SANFORD HEISLER SHARP, LLP                                               ksharp@sanfordheisler.com
                                                                                                                 1350 6th Avenue, Floor 31
                                                                                                                   New York, NY 10019
                                                                                                                       646-402-5650                                                     wsullenger@bsgpad.com

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                                                                                                                        615-343-7001

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                                                                                                             Boehl Stopher & Graves, LLP - Paducah
                                                                                                                      410 Broadway Street
                                                                                                                      Paducah, KY 42001
                                                                                                                         270-442-4369




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                                                              In re: Equifax, Inc., Customer Data Security Breach Litigation
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     Case Name                Case Number        Original          Local Counsel   Plaintiffs' Counsel & Contact Information                                        Email Addresses              Consumer,       Transfer
                               & Original         Court                                                                                                                                          Financial or     Status
                                 Court                                                                                                                                                          Small Business
Strauchman v. Equifax, Inc.    1:17-cv-03482   Northern District                                  Christopher B. Hood                                                chood@hgdlawfirm.com          Consumer
                                                 of Georgia                                    James F. McDonough , III                                           jmcdonough@hgdlawfirm.com
                                                                                                    Travis E. Lynch                                                  tlynch@hgdlawfirm.com
                                                                                                 W. Lewis Garrison, Jr.                                            wlgarrison@hgdlawfirm.com
                                                                                          Heninger Garrison & Davis, LLC - AL
                                                                                                2224 1st Avenue North
                                                                                                Birmingham, AL 35203
                                                                                                     205-326-3336
  Summit Credit Union v.       1:17-cv-03483   Northern District                                         Stacey P. Slaughter                                      sslaughter@robinskaplan.com       Financial
      Equifax Inc.                               of Georgia                                              William H. Stanhope                                      wstanhope@robinskaplan.com
                                                                                                            James Kitces                                            jkitces@robinskaplan.com
                                                                                                           Sam Khoroosi                                           skhoroosi@robinskaplan.com
                                                                                                            Susan Brown                                            sbrown@robinskaplan.com
                                                                                                            Michael Ram                                              mram@robinskaplan.com

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                                                                                                       613 Williamson Street
                                                                                                        Madison, WI 53703
                                                                                                           608-237-1776




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                                                                             Plaintiffs' Counsel Table
                                                                   In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                   Case Number        Original            Local Counsel   Plaintiffs' Counsel & Contact Information                                          Email Addresses             Consumer,        Transfer
                                   & Original         Court                                                                                                                                             Financial or      Status
                                     Court                                                                                                                                                             Small Business
 Tada et al. v. Equifax, Inc.      2:17-cv-06666   Central District of                                      Stephen R. Basser                                                sbasser@barrack.com          Consumer           Yes
                                                       California                                            Samuel M. Ward                                                   sward@barrack.com
                                                   (Western Division                                BARRACK, RODOS & BACINE
                                                    - Los Angeles)                            One America Plaza, 600 West Broadway Suite 900
                                                                                                          San Diego, CA 92101                                                mark@ozzellolaw.com
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                                                                                                              14 Bond Street, Suite 212
                                                                                                               Great Neck, NY 11021
                                                                                                                   516-699-8890

                                                                                                            Jeffrey W. Golan
                                                                                                        Barrack Rodos & Bacine
                                                                                              3300 Two Commerce Square, 2001 Market Street
                                                                                                        Philadelphia , PA 19103
                                                                                                             215-963-0600


Taenzer et al. v. Equifax, Inc.    4:17-cv-00349   Southern District                                  Roxanne Barton Conlin                                                     roxlaw@aol.com            Consumer      Yes by CTO - 1
            et al.                                     of Iowa                                   ROXANNE CONLIN & ASSOCIATES
                                                                                                     3721 SW 61ST St., Suite C
                                                                                                    Des Moines, IA 50321-2418
                                                                                                           515-283-1111

                                                                                                       Richard M. Hagstrom                                                 rhagstrom@hjlawfirm.com
                                                                                                   HELLMUTH & JOHNSON, PLLC
                                                                                                        8050 W 78TH St.
                                                                                                        Edina, MN 55439
                                                                                                          952-941-4005




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                                                                In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                 Case Number        Original           Local Counsel   Plaintiffs' Counsel & Contact Information                                           Email Addresses               Consumer,        Transfer
                                 & Original         Court                                                                                                                                               Financial or      Status
                                   Court                                                                                                                                                               Small Business
Tanks and Dixon v. Equifax,      3:17-vc-01832   Southern District                                    Tammy Gruder Hussin                                                  tammy@hussinlaw.com            Consumer
           Inc.                                  of California (San                                        Hussin Law
                                                      Diego)                                        1596 N. Coast Highway 101
                                                                                                       Encinitas, CA 92024
                                                                                                          877-677-5397

                                                                                                          Helen Irene Zeldes                                                helen@coastlaw.com
                                                                                                        Coast Law Group LLC
                                                                                                      1140 South Coast Hwy 101
                                                                                                              Suite 2050
                                                                                                         Encinitas, CA 92024
                                                                                                            760-942-8505

  Tate et al v. Equifax, Inc.    3:17-cv-00555    Western District                                         Robert L. Burchette                                             rburchette@jahlaw.com          Consumer      Yes by CTO - 1
                                                 of North Carolina                                          Martin L. White                                                 mwhite@jahlaw.com
                                                                                                        Johnston, Allison & Hord
                                                                                                         1065 East Morehead St
                                                                                                          Charlotte, NC 28202
                                                                                                             704-332-1181

 Tepfenhart et al v. Equifax,    1:17-cv-03571   Northern District                                         Eric J. Artrip                                                artrip@mastandoartrip.com        Consumer
            Inc.                                   of Georgia                                         Mastando & Artrip, LLC
                                                                                                     301 Washington Street, NW
                                                                                                        Huntsville, AL 35801                                                 rrouco@qcwdr.com
                                                                                                           256-532-2222                                                     rweaver@qcwdr.com
                                                                                                                                                                            twarren@qcwdr.com
                                                                                                       Nicolas M. Stanojevich
                                                                                                         Richard P. Pouco
                                                                                                         Robert M. Weaver
                                                                                                           Tessa Warren
                                                                                         Quinn, Connor, Weaver, Davies & Rouco, LLP - AL
                                                                                                  2 - 20th Street North, Suite 930
                                                                                                      Birmingham, AL 35203
                                                                                                           205-870-9989


Thomson et al v. Equifax Inc.    3:17-cv-02468   Northern District                                      Eric W. Buether                                                  eric.buether@bjciplaw.com        Consumer      Yes by CTO - 1
                                                     of Texas                                          Brian A. Carpenter                                               brian.carpenter@bjciplaw.com
                                                                                                       Christopher M. Joe                                                  chris.joe@bjciplaw.com
                                                                                                  Buether Joe & Carpenter LLC
                                                                                                 1700 Pacific Avenue, Suite 4750
                                                                                                       Dallas, TX 75201
                                                                                                         214-466-1271

   Tipping v. Equifax Inc.       3:17-cv-01273   Middle District of                                    Benjamin C. Aaron                                                 baaron@nealharwell.com           Consumer      Yes by CTO - 1
                                                    Tennessee                                           Charles F. Barrett                                               cbarrett@nealharwell.com
                                                                                                      Neal & Harwell, PLC
                                                                                                1201 Demonbreun Street, Suite 1000
                                                                                                       Nashville, TN 37203
                                                                                                          615-238-3535




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                                                                         Plaintiffs' Counsel Table
                                                               In re: Equifax, Inc., Customer Data Security Breach Litigation
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     Case Name                Case Number        Original            Local Counsel   Plaintiffs' Counsel & Contact Information                                       Email Addresses         Consumer,        Transfer
                               & Original         Court                                                                                                                                      Financial or      Status
                                 Court                                                                                                                                                      Small Business
Tirelli & Merino v. Equifax    7:17-cv-06868   Southern District                                          Javier Luis Merino                                         jmerino@dannlaw.com       Consumer
Information Services, LLC                        of New York                                                  Dann Law
                                                (White Plains                                           1 Meadowlands Plaza
                                                   Division)                                                   Suite 200
                                                                                                       E. Rutherford, NJ 07073
                                                                                                            216-373-0539

  Tomlin et al. v. Equifax     2:17-cv-00158   Eastern District of                                      Miles N. Clark                                                                         Consumer
Information Services, LLC                          Kentucky                                           Matthew I. Knepper                                              rac@cliffordlaw.com
                                                  (Covington                                         Knepper & Clark, LLC
                                                   Division)                                10040 W. Cheyenne Avenue, Suite 170-109                                   bflick@dannlaw.com
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                                                                                                              P.O. Box 6031040
                                                                                                             Cleveland, OH 44103
                                                                                                                216-373-0539

                                                                                                          Brian D. Flick
                                                                                                Mills, Mills, Fiely and Lucas, LLC
                                                                                                    632 Vine Street, Suite 305
                                                                                                       Cincinnati, OH 45202
                                                                                                          216-373-0539

                                                                                                         George Haines
                                                                                                     Haines & Krieger, LLC
                                                                                                8985 S. Eastern Avenue, Suite 350
                                                                                                     Henderson, NV 89123
                                                                                                         702-880-5554



Tomlinson v. Equifax Inc.      3:17-cv-00087   Eastern District of                                         PRO SE                                                      no email provided       Consumer      Yes by CTO - 1
                                                   Kentucky                                           Cole T. Tomlinson
                                                                                                  Dutton & Associates, PLLC
                                                                                                       513 Main Street
                                                                                                        P.O. Box 967
                                                                                                    Shelbyville, KY 40065
                                                                                                        502-633-0504




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                                                                           Plaintiffs' Counsel Table
                                                                 In re: Equifax, Inc., Customer Data Security Breach Litigation
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      Case Name                 Case Number        Original            Local Counsel   Plaintiffs' Counsel & Contact Information                                           Email Addresses                Consumer,        Transfer
                                 & Original         Court                                                                                                                                                 Financial or      Status
                                   Court                                                                                                                                                                 Small Business
Torrey v. Equifax Informaton     1:17-cv-01922   Northern District                                     Jason R. Bristol                                                      jbristol@crklaw.com            Consumer
       Services, LLC                                 of Ohio                                          Joshua R. Cohen                                                        jcohen@crklaw.com
                                                   (Cleveland                                         Ellen M. Kramer                                                          emk@crklaw.com
                                                    Division)                                        James B. Rosenthal                                                         jbr@crklaw.com
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                                                                                                            418 Hoyt Block Bldg.
                                                                                                            700 St. Clair Ave., W.
                                                                                                            Cleveland, OH 44113
                                                                                                                216-781-8700
Trevino v. Equifax Inc et al.    2:17-cv-07180   Central District of                                     Tina Wolfson                                                   twolfson@ahdootwolfson.com          Consumer      Yes by CTO - 1
                                                    California                                          Theodore Maya                                                     tmaya@ahdootwolfson.com
                                                                                                        Bradley K. King                                                   bking@ahdootwolfson.com
                                                                                                         Robert Ahdoot                                                   rahdoot@adhootwolfson.com
                                                                                                  AHDOOT & WOLFSON, PC
                                                                                                     10728 Lindbrook Drive
                                                                                                  Los Angeles, California 90024
                                                                                                         310-474-9111

   Turner v. Equifax Inc.        3:17-cv-02041   Southern District                                     Alexander Schack                                                  alexschack@amslawoffice.com        Consumer      Yes by CTO - 1
                                                   of California                                        Shannon Nocon                                                  shannonnocon@amdlawoffice.com
                                                                                                      Natasha N. Serino                                                 natashaserino@amslawoffice.com
                                                                                           LAW OFFICE OF ALEXANDER M. SCHACK
                                                                                              16870 West Bernardo Drive, Suite 400
                                                                                                     San Diego, CA 92127
                                                                                                         858-485-6535

 Tweeddale v. Equifax, Inc.      6:17-cv-01936   Middle District of                                    Lewis S. Eidson, Jr                                                    mike@colson.com               Consumer      Yes by CTO - 1
                                                     Florida                                             Julie B. Kane                                                        julie@colson.com
                                                                                                        Curtis B. Miner                                                       curt@colson.com
                                                                                                   COLSON HICKS EIDSON
                                                                                                  255 Alhambra Cir., Penthouse
                                                                                                    Coral Gables, FL 33134
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                                                                            Plaintiffs' Counsel Table
                                                              In re: Equifax, Inc., Customer Data Security Breach Litigation
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    Case Name                 Case Number        Original            Local Counsel           Plaintiffs' Counsel & Contact Information                                          Email Addresses              Consumer,       Transfer
                               & Original         Court                                                                                                                                                      Financial or     Status
                                 Court                                                                                                                                                                      Small Business
  Vice v. Equifax Inc.         1:17-cv-04250   Northern District   Robbins Geller Rudman &                         C. Jacob Gower                                              dcharest@burnscharest.com       Consumer
                                                 of Georgia              Dowd, LLP                                Burns Charest, LLP
                                                                                                                      Suite 1170
                                                                                                                   365 Canal Street                                              jherman@rgrdlaw.com
                                                                                                                New Orleans, LA 70139
                                                                                                                    504-799-2845

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                                                                                                            Susman Godfrey, LLP-TX
                                                                                                           901 Main Street, Suite 5100
                                                                                                             Dallas, TX 75202-3775
                                                                                                                 214-754-1900

                                                                                                                John C. Herman
                                                                                                   Robbins Geller Rudman & Dowd, LLP - GA
                                                                                                           Suite 1650, Monarch Plaza
                                                                                                           3424 Peachtree Road, NE
                                                                                                               Atlanta, GA 30326
                                                                                                                  404-504-6500

Vita et al v. Equifax, Inc.    1:17-cv-03484   Northern District    The Pratt Law Firm, PC                     Bradley W. Pratt                                                  bradley@prattclay.com         Consumer
                                                 of Georgia                                                  Brian C. Mickelson                                                  chuck@chuckclay.com
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                                                                                                               Atlanta, GA 30309
                                                                                                                  404-876-8100




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                                                                      Plaintiffs' Counsel Table
                                                            In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                             Case No. 1:17-md-2800-TWT
                                                                                     MDL No. 2800
    Case Name               Case Number        Original           Local Counsel   Plaintiffs' Counsel & Contact Information                                            Email Addresses                Consumer,        Transfer
                             & Original         Court                                                                                                                                                 Financial or      Status
                               Court                                                                                                                                                                 Small Business
   VonWiller v. Equifax      3:17-cv-01839   Southern District                                     Jack Fitzgerald                                                    jack@jackfitzgeraldlaw.com        Consumer      Yes by CTO - 1
Information Services, LLC                    of California (San                                     Trevor Flynn                                                     trevor@jackfitzgeraldlaw.com
                                                  Diego)                                        Melanie R. Persinger                                                melanie@jackfitzgeraldlaw.com
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                                                                                              HAINES & KRIEGER, LLC
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                                                                                              KNEPPER & CLARK, LLC
                                                                                         10040 W. Cheyenne Ave Suite 170-109
                                                                                                Las Vegas, NV 89129
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                                                                                                 Las Vegas, NV 89123
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                                                                                Plaintiffs' Counsel Table
                                                                 In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                                  Case No. 1:17-md-2800-TWT
                                                                                          MDL No. 2800
      Case Name                  Case Number        Original             Local Counsel               Plaintiffs' Counsel & Contact Information                                          Email Addresses              Consumer,       Transfer
                                  & Original         Court                                                                                                                                                           Financial or     Status
                                    Court                                                                                                                                                                           Small Business
Walker et al. v. Equifax, Inc.    5:17-cv-01527   Northern District                                                 Dennis A. Mastando                                                  tony@mastandoartip.com         Consumer        Yes
                                                    of Alabama                                                          Eric J. Artrip                                                  artip@mastandoartip.com
                                                   (Northeastern                                                    D. Anthony Mastando
                                                     Division)                                                  MASTANDO & ARTRIP, LLC
                                                                                                               301 Washington Street, Suite 302
                                                                                                                    Huntsville, AL 35801
                                                                                                                        256-532-2222


Washburn et al. v. Equifax,       1:17-cv-03451    Northern District Doffermyre Shields Canfield &                    Kenneth S. Canfield                                                kcanfield@dsckd.com           Consumer        Yes
          Inc.                                        of Georgia            Knowles, LLC               DOFFERMYRE SHIELDS CANFIELD & KNOWLES, LLC
                                                  (Atlanta Division)                                          1355 Peachtree Street, NE Suite 1900
                                                                                                                      Atlanta, GA 30309
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                                                                                                                       Chicago, IL 60602
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                                                                         Plaintiffs' Counsel Table
                                                                In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                                 Case No. 1:17-md-2800-TWT
                                                                                         MDL No. 2800
      Case Name                 Case Number        Original          Local Counsel   Plaintiffs' Counsel & Contact Information                                          Email Addresses              Consumer,        Transfer
                                 & Original         Court                                                                                                                                            Financial or      Status
                                   Court                                                                                                                                                            Small Business
   Washington Gas Light          1:17-cv-05301   Northern District                                     James A. Kitces                                                sslaughter@robinskaplan.com       Financial
  Federal Credit Union v.                          of Georgia                                          Michael F. Ram                                                    mram@robinskaplan.com
          Equifax                                                                                    Stacey P. Slaughter                                              skhoroosi@robinskaplan.com
                                                                                                       Susan T. Brown                                                  sbrown@robinskaplan.com
                                                                                                     William H. Stanhope                                                 ahurt@robinskaplan.com
                                                                                                        Sam Khoroosi                                                    lbeane@robinskaplan.com
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                                                                                                          Lisa Beane                                                    jkitces@robinskaplan.com
                                                                                                       Michael Pacelli                                                wstanhope@robinskaplan.com
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Weaver et al v. Equifax, Inc.    1:17-cv-00268    Western District                                      Katherine Langley                                              klangley@burtlangley.com        Consumer      Yes by CTO - 1
                                                 of North Carolina                                   BURT LANDGLEY, P.C.
                                                                                                       149 South Lexington
                                                                                                       Asheville, NC 28801
                                                                                                          828-367-7090




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                                                                         Plaintiffs' Counsel Table
                                                                In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                                 Case No. 1:17-md-2800-TWT
                                                                                         MDL No. 2800
      Case Name                 Case Number        Original          Local Counsel   Plaintiffs' Counsel & Contact Information                                         Email Addresses              Consumer,        Transfer
                                 & Original         Court                                                                                                                                           Financial or      Status
                                   Court                                                                                                                                                           Small Business
   Washington Gas Light          1:17-cv-05301   Northern District                                         Stacey P. Slaughter                                       sslaughter@robinskaplan.com       Financial
  Federal Credit Union v.                          of Georgia                                              William H. Stanhope                                       wstanhope@robinskaplan.com
          Equifax                                                                                              James Kitces                                            jkitces@robinskaplan.com
                                                                                                            Sam E. Khoroosi                                          skhoroosi@robinskaplan.com
                                                                                                              J. Austin Hurt                                            ahurt@robinskaplan.com
                                                                                                            Michael J. Pacelli                                        mpacelli@robinskaplan.com
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                                                                                                              Michael Ram                                               mram@robinskaplan.com

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                                                                                                              David A. Reed
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                                                                                                           3711 Millpond Court
Whipper et al v. Equifax Inc.    1:17-cv-00248   Western District                                           F Jeremy
                                                                                                               i f VA   22033
                                                                                                                     Heisler                                         jheisler@sanfordheisler.com      Consumer      Yes by CTO - 1
           et al                                 of Pennsylvania                                     Andrew Melzer                                                   amelzer@sanfordheisler.com
                                                                                             SANFORD HEISLER SHARP, LLP
                                                                                                1350 6th Avenue, Floor 31
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                                                                                                  Washington, DC 20009
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                                                                               Plaintiffs' Counsel Table
                                                                     In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                                      Case No. 1:17-md-2800-TWT
                                                                                              MDL No. 2800
       Case Name                    Case Number        Original            Local Counsel   Plaintiffs' Counsel & Contact Information                                           Email Addresses             Consumer,        Transfer
                                     & Original         Court                                                                                                                                              Financial or      Status
                                       Court                                                                                                                                                              Small Business
 White et al. v. Equifax, Inc.       2:17-cv-07991   Central District of                                      Christopher T. Aumais                                          caumais@girardikeese.com        Consumer      Yes by CTO - 1
                                                        California                                              Robert W. Finnerty                                           rfinnerty@girardikeese.com
                                                                                                                Thomas V. Girardi                                             tgirardi@girardikeese.com
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                                                                                                       Coconut Grove, FL 33133
                                                                                                             305-358-6200
Whitfill et al v. Equifax Inc. et    4:17-cv-00771   Northern District                                   Shane F. Langston                                                   shane@ langstonlawyers.com      Consumer      Yes by CTO - 1
                al                                       of Texas                                         Jason L. Nabors
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                                                                                                        Southlake, TX 76092                                                    smaxwell@galyen.com
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                                                                                                       100 of 103
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                                                                                Plaintiffs' Counsel Table
                                                                    In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                                     Case No. 1:17-md-2800-TWT
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      Case Name                  Case Number        Original             Local Counsel              Plaintiffs' Counsel & Contact Information                                             Email Addresses               Consumer,        Transfer
                                  & Original         Court                                                                                                                                                              Financial or      Status
                                    Court                                                                                                                                                                              Small Business
Whittington v. Equifax, Inc.      1:17-cv-04940   Northern District     Evangelista Worley, LLC                        Carin L. Marcussen                                                  david@ewlawllc.com             Consumer
                                                    of Georgia                                                        Federman & Sherwood                                                   jim@ewlawllc.com
                                                                                                                    10205 N. Pennsylvanis Ave                                              kristi@ewlawllc.com
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  Wilkins v. Equifax, Inc.        1:17-cv-03972   Northern District Robbins Ross Alloy Belinfante                       Lisa L. Heller                                                    lheller@robbinsfirm.com         Consumer
                                                    of Georgia          Littlefield, LLC -Atl          Robbins Ross Alloy Belinfante Littlefield, LLC -Atl
                                                                                                             999 Peachtree Street, N.E., Suite 1120
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                                                                                                                    280 King of Prussia Road
                                                                                                                       Radnor, PA 19087
                                                                                                                         610-667-7706
  Williams v. Equifax Inc.        1:17-cv-06591   Eastern District of                                              Edward B. Geller                                                           epbh@aol.com                Consumer      Yes by CTO - 1
                                                      New York                                                EDWARD B. GELLER, ESQ., P.C.
                                                                                                                   15 Landing Way
                                                                                                                   Bronx, NY 10464
                                                                                                                    914-473-6783

Williams v. Equifax Inc. et al    1:17-cv-02803       District of                                                  Herbert V. McKnight, Jr.                                            vmcknight@sandfordheisler.com      Consumer      Yes by CTO - 1
                                                      Maryland                                               SANFORD HEISLER KIMPEL, LLP
                                                                                                             1666 Connecticut Ave. NW, Suite 300
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                                                                                                                  101 of 103
                                                                                                             Case 1:17-md-02800-TWT Document 94-1 Filed 01/10/18 Page 103 of 104




                                                                               Plaintiffs' Counsel Table
                                                                   In re: Equifax, Inc., Customer Data Security Breach Litigation
                                                                                    Case No. 1:17-md-2800-TWT
                                                                                            MDL No. 2800
      Case Name                   Case Number        Original            Local Counsel            Plaintiffs' Counsel & Contact Information                                             Email Addresses                  Consumer,        Transfer
                                   & Original         Court                                                                                                                                                              Financial or      Status
                                     Court                                                                                                                                                                              Small Business
Williams v. Equifax Inc. et al     2:17-cv-13307   Eastern District of                                         Richard H. Hagstrom                                                     rhagstrom@hjlawfirm.com             Consumer      Yes by CTO - 1
                                                       Michigan                                            HELLMUTH & JOHNSON PLLC
                                                                                                               8050 West 78th Street
                                                                                                                 Edina, MN 55439
                                                                                                                  952-941-4005


Wiltz et al v. Equifax, Inc. et    4:17-cv-02778   Southern District                                               Jeremy Heisler                                                     amelzer@sanfordheisler.com           Consumer      Yes by CTO - 1
               al                                      of Texas                                                    Andrew Melzer                                                      jheisler@sanfordheisler.com
                                                                                                          SANFORD HEISLER SHARP, LLP
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                                                                                                                   615-434-7001
    Wolf v. Equifax, Inc.          1:17-cv-03450    Northern District Webb, Klase & Lemond, LLC                    E. Adam Webb                                                            adam@webbllc.com                Consumer           Yes
                                                       of Georgia                                              G. Franklin Lemond, Jr.                                                   flemond@webbllc.com
                                                   (Atlanta Division)                                      WEBB, KLASE & LEMOND, LLC
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                                                                                                           Bloomfield Hills, Michigan 48304
                                                                                                                    248-971-2500

 Wong v. Equifax, Inc. et al       1:17-cv-00489   District of Rhode       Alger Law LLC                           Melody A. Alger                                                       malger@algerlaw.com               Consumer      Yes by CTO - 1
                                                         Island                                                     Alger Law LLC
                                                                                                            400 Westminster Street, Suite 401
                                                                                                                 Providence, RI 02903
                                                                                                                    401-277-1090
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                                                                                                                 Nashville, TN 97203
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                                                                                    Plaintiffs' Counsel Table
                                                                     In re: Equifax, Inc., Customer Data Security Breach Litigation
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                                                                                              MDL No. 2800
       Case Name                  Case Number        Original                Local Counsel               Plaintiffs' Counsel & Contact Information                                         Email Addresses               Consumer,        Transfer
                                   & Original         Court                                                                                                                                                              Financial or      Status
                                     Court                                                                                                                                                                              Small Business
Woods et al v. Equifax, Inc. et    4:17-cv-00660   Eastern District of                                                  Shane F. Langston                                                                                  Consumer      Yes by CTO - 1
              al                                         Texas                                                           Jason L. Nabors
                                                                                                                  LANGSTON & LANGSTON, PLLC                                               shane@langstonlawyers.com
                                                                                                                        1161 La Mirada Ct.                                                jason@langstonlawyers.com
                                                                                                                       Southlake, TX 76092
                                                                                                                          601-969-1356

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                                                                                                                   1300 Summit Avenue, Suite 650
                                                                                                                       Fort Worth, TX 76102
                                                                                                                           817-276-6000
    Young v. Equifax Inc.          2:17-cv-00538   Middle District of                                                 Christopher J. DeCosta                                                 chris@hmdlegal.com            Consumer      Yes by CTO - 1
                                                       Florida                                                     HOLTZ MAHIE DECOSTA, PA
                                                                                                                     1560 Matthew Dr., Suite E
                                                                                                                       Ft. Myers, FL 33907
                                                                                                                           239-931-7566

Zamora v. Equifax, Inc., et al.    2:17-cv-07085    District of New                                                        Philip L. Fraietta                                                pfraietta@bursor.com          Consumer           Yes
                                                         Jersey                                                       BURSOR & FISHER, P.A.
                                                                                                               888 Seventh Avenue, New York, NY 10019
                                                                                                                            646-837-7150

 Zribi v. Equifax, Inc. et al.     3:17-cv-01710       District of       Koskoff, Koskoff & Bieder, PC                     Kevin Sharp                                                    ksharp@sanfordheisler.com        Consumer      Yes by CTO - 1
                                                      Connecticut                                               SANFORD HEISLER SHARP, LLP-TN
                                                                                                                   611 Commerce St., Suite 3100
                                                                                                                       Nashville, TN 37203                                                   csmith@koskoff.com
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                                                                                                                KOSKOFF KOSKOFF & BIEDER, P.C.
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                                                                                                                      Bridgeport, CT 06604
                                                                                                                          203-336-4421

Zweig et al v. Equifax Inc. et     7:17-cv-07090   Southern District                                                      Jeremy Heisler                                                  jheisler@sanfordheisler.com      Consumer      Yes by CTO - 1
              al                                     of New York                                                          Andrew Melzer                                                   amelzer@sanfordheisler.com
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                                                                                                                    611 Commerce St., Suite 3100
                                                                                                                        Nashville, TN 37203
                                                                                                                           615-434-7001
    Zweig v. Equifax, Inc.         1:17-cv-05366   Eastern District of                                                  Samuel H. Rudman                                                    srudman@rgrdlaw.com            Consumer
                                                       New York                                              ROBBINS GELLER RUDMAN & DOWD LLP
                                                       (Brooklyn                                                  58 South Service Road Suite 200
                                                        Division)                                                       Melville, NY 11747
                                                                                                                           631-367-1173



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